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1                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
2                          SOUTHERN DIVISION

3    IN RE: KBR, INC.,                  Civil No.    RWT-09-md-2083

4    BURN PIT LITIGATION                Greenbelt, Maryland

5                                       March 13, 2017

6                                       9:00 a.m.

7    --------------------------/

8                      TRANSCRIPT OF MOTIONS HEARING
                    BEFORE THE HONORABLE ROGER W. TITUS
9                      UNITED STATES DISTRICT JUDGE

10   APPEARANCES:

11   For the Plaintiffs:        FRED BAKER, ESQUIRE
                                JAMES LEDLIE, ESQUIRE
12                              LISA SALZBERG, ESQUIRE
                                ELIZABETH SMITH, ESQUIRE
13

14

15   For the Defendant:         ROBERT MATTHEWS, ESQUIRE
                                BENJAMIN RAZI, ESQUIRE
16                              DANIEL RUSSELL, ESQUIRE
                                CHASE JOHNSON, ESQUIRE
17                              MARIANNE KIES, ESQUIRE

18

19   Court Reporter             Lisa K. Bankins RMR FCRR
                                United States District Court
20                              6500 Cherrywood Lane
                                Greenbelt, Maryland 20770
21

22   Proceedings recorded by mechanical stenography,
     transcript produced by notereading.
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1                              P R O C E E D I N G S

2                THE COURT:    You may proceed, Mr. Matthews.

3                MR. MATTHEWS:    Good morning, Your Honor.      Always

4    a pleasure to be back in front of this court --

5                THE COURT:    I bet you're happy you weren't

6    scheduled for tomorrow.

7                MR. MATTHEWS:    Well, I was just going to say I'm

8    looking forward to completing this by no later than rush

9    hour.   Maybe sooner than that.      Maybe we can all get out

10   of Dodge.

11                Before we proceed to present KBR's closing

12   argument, we would like to take the opportunity as

13   provided by the court late in the day on Friday to submit

14   our counter-designations to plaintiffs' witnesses.          And to

15   that end, Ms. Marianne Kies is going to make that

16   presentation.     With the Court's permission, we'll proceed.

17               THE COURT:    You may.

18               MS. KIES:    Good morning, Your Honor.

19               THE COURT:    Good morning.

20               MS. KIES:    On Friday, as Mr. Matthews

21   referenced, plaintiffs' counsel directed this court's

22   attention to and made an argument regarding portions of

23   the deposition testimony of Wes Bennett, James Loehrl,

24   David Palmer and Damon Walsh.        And KBR at this time would

25   like to direct the court's attention to key testimony from




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1    these witnesses that was referenced in KBR's designations.

2    And in addition, KBR would like to direct the court to

3    testimony from General Kirk Vollmecke whom plaintiffs

4    originally listed as a live witness and KBR was prepared

5    to cross-examine.

6                My presentation is not an exhaustive list with

7    KBR's designations for these witnesses and we have

8    complete transcripts containing all of the designations

9    for the court's convenience which I would be happy to

10   provide.

11               THE COURT:    Well, thank you.    If you could do

12   that, it will be very helpful.

13               MS. KIES:    Beginning with Mr. Loehrl, Mr. Loehrl

14   was the executive director of Rock Island Contracting

15   Center.    Mr. Loehrl confirmed that the military made the

16   jurisdictionally dispositive decisions in this case.

17               First, although plaintiffs suggested that Mr.

18   Loehrl did not know who decided the method of waste

19   disposal, Mr. Loehrl did confirm that it was the military.

20   He testified that the military assigned KBR the burn pit

21   mission and he has no knowledge of KBR ever operating any

22   burn pit without authorization.       And directing the court's

23   attention in particular to page 148, lines 11 to 14.           When

24   asked of any personal knowledge that KBR operated a burn

25   pit in an unauthorized manner, he answered no, I do not.




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1                To the contrary, Mr. Loehrl personally directed

2    KBR to continue to use burn pits as late as 2010.          That's

3    KBR Exhibit 59, which this court has previously seen a

4    letter from Mr. Loehrl to KBR instructing KBR to continue

5    operating the burn pits.

6                The military decided if and when to bring

7    incinerators into theater.       When asked whether KBR has the

8    discretion to unilaterally decide to purchase an

9    incinerator and bring it into the theater, he answered no.

10               In fact, another key point of testimony from Mr.

11   Loehrl explaining the incinerator issue is that military

12   efforts to bring incinerators into theater were delayed

13   because the U.S. government violated federal procurement

14   laws.

15               Finally, with respect to the integration point,

16   plaintiffs themselves quoted Mr. Loehrl's testimony that

17   KBR had to be connected and integrated in with the

18   military so that "all were moving in the same direction."

19               The next witness is Lieutenant Colonel Damon

20   Walsh who was the DCMA commander for northern Iraq.

21   Lieutenant Colonel Walsh testified that DCMA translated,

22   communicated General Sanchez's orders to KBR.         He also

23   like Mr. Loehrl confirmed that the military made the key

24   decisions, including the decision to use burn pits.          And

25   we would direct the court's attention to page 12, lines 1




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1    to 10 of Lieutenant Colonel Walsh's testimony.          When asked

2    based on his experience as a DCMA commander, if he had an

3    understanding of whether it was the military or a

4    contractor who decided which method of waste disposal to

5    use, he answered yes.      And when asked what is that

6    understanding, he said it is the military's responsibility

7    to decide what the waste disposal method is at all

8    locations.

9                In light of that decision, Lieutenant Colonel

10   Walsh explained no additional authorization was necessary

11   for KBR to use burn pits.      That's pages 127 and 131.

12               Testimony as to location the military decided as

13   to incinerators, the military decided.        When asked to

14   describe the conversations that Lieutenant Colonel Walsh

15   personally had regarding incinerators, he explained and

16   again speaking as a DCMA commander, in some cases we

17   approved it and in some cases, we didn't, depending on the

18   circumstances for the individual count.         That's at page

19   3725 to 3814.

20               Finally, the military decided which services KBR

21   was to perform and where including when and where KBR

22   provided waste management services.

23               The next witness is General Kirk Vollmecke.            He

24   was a theater DCMA commander.       Like Colonel Walsh, he is

25   not aware of KBR offering any burn pit without




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1    authorization -- apologies.       Like Mr. Loehrl.    He

2    confirmed that the military made the jurisdictionally

3    dispositive decisions, including use, including location,

4    including incinerators.

5                The next witness is David Palmer.       Mr. Palmer

6    was a KBR employee.      He was a theater contracts manager

7    confirming that the military made the key decisions in

8    this case.    The military directed KBR to use burn pits.

9    Like several other witnesses, Mr. Palmer is not aware of

10   any instance where KBR operated a burn pit without

11   authorization.

12               Directing the court's attention to page 111,

13   line 16 to 23, when asked if he is aware of any instance

14   where KBR operated a burn pit without the government's

15   knowledge, he answered no, that absolutely would not

16   happen.    With funding streams, funding reporting, quality

17   assurance reporting, that could not have occurred.          That

18   was Mr. Palmer's testimony.       Location, the military

19   decided.    Incinerators, the military decided.

20               Finally, Mr. Wes Bennett, another DCMA employee.

21   He was an administrative contracting officer or ACO.           Mr.

22   Bennett explained that as an ACO, he provided feedback to

23   KBR when he believed KBR was not "meeting contractual

24   requirements."     He also discussed KBR's close working

25   relationship with the military.       In particular, that KBR




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1    "provided the services while also using the services while

2    living hand in hand with the military."         That's at page

3    108, line 19 to 109, line 3.

4                Finally, like the other witnesses, Mr. Bennett

5    confirmed that the military made the jurisdictionally

6    dispositive decisions.      Again, those are use, location.

7    And finally, that the contract itself authorized KBR to

8    use burn pits.     And that completes my presentation.

9                THE COURT:    All right.   Thank you very much.

10               MR. MATTHEWS:    Your Honor, one other and final

11   matter before we proceed to the closing presentations.             We

12   would like to at this point request that the court

13   formally resolve our motion to strike on the issue of the

14   declarations.     I wish to say a word or two about that.

15               We did hear from counsel last week, I believe it

16   was on the second day that plaintiffs have now said they

17   don't believe those declarations are relevant.          There was

18   a qualifier about that's because the court must accept the

19   allegations of noncompliance as true.        That is not so.

20   There's no factual or legal support for that proposition.

21   They are not one in the same.       But the fact is the court

22   concluded that these were not relevant.         That is correct.

23   And we think in order to ensure that the record is clear

24   on these issues, that an order should issue that recites

25   that point, that recites that plaintiffs were given the




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1    opportunity to make another submission by last Tuesday in

2    an effort -- if they so chose to convince the court that

3    there was relevant and nonhearsay testimony.         Plaintiffs

4    did not do so.     The record should reflect that.       So the

5    record should reflect in fact the court's observation

6    based on the examples that were provided by both parties

7    on this issue that the declarations were pure hearsay.             I

8    don't know if this is first or last, but the record should

9    reflect that more than anything else, the 700-plus

10   declarations violated the court's rule on 20 witnesses and

11   the court's admonition that 20 means 20.

12               For all those reasons, Your Honor, we

13   respectfully request that there be some formal resolution

14   of our motion to strike so the record is clear on those

15   points.    And we have prepared a revised proposed order.

16   We haven't prepared.      We had prepared, but apparently, it

17   got lost on the printing room floor.        So we are prepared

18   to submit a revised proposed order.

19               THE COURT:    Well, we can print things for you

20   here if you need to have something printed.

21               I made my position I think clear about this when

22   we had the proceedings the week before last with you and

23   Mr. Ledlie.    These are declarations that have been filed

24   in the case, but not filed necessarily in support of or in

25   opposition to the motion that's before me except in a




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1     footnote on one page of the plaintiffs' opposition.          I was

2     shown excerpts from several of these declarations.          I

3     expressed skepticism that they were relevant.         I also made

4     it clear that some of the information was clearly hearsay.

5     Some of it had -- and the vast bulk of it had nothing to

6     do with any issues before the court in this case.

7                I, therefore, directed counsel for the

8     plaintiffs if they wanted to in fact rely upon any of

9     these declarations, they should give me a list of which

10    declarations they want to rely upon and which paragraphs

11    so I could make a determination whether to do so.          They

12    have not done so.

13               And if I recall the statement made at the

14    beginning of this proceeding last week, it was that they

15    are not really relevant.      Well, if they're not relevant

16    and they've never given me anything about it, I'm simply

17    not going to consider them.      I have given the plaintiffs

18    the opportunity to identify which declarations they want

19    to rely upon and what paragraphs so that I can make a

20    determination.    But I'm not going to go on a hunt through

21    page after page after page of declarations, most of which

22    deal with matters not germane to the purely jurisdictional

23    issues before me or the fact issues on the pure

24    jurisdiction questions and in the absence of anything new

25    from the plaintiffs, I'm not going to consider those




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1     declarations.    Anything that the plaintiffs want to say in

2     response to that?

3                MR. LEDLIE:    Yes, Your Honor.     The Kerns case

4     governs the fact that the -- the fact that given the

5     procedural posture of the case, Your Honor, the fact that

6     we were not afforded any meaningful discovery as to the

7     violations at the various bases, that at this juncture,

8     Your Honor, you are required to accept the plaintiffs'

9     allegations of violations as true for purposes of

10    resolving the motions before the court today.

11               THE COURT:    That doesn't help me on the question

12    about the declarations.      That may be your position on how

13    I resolve the jurisdictional question.        But I asked you to

14    give me which declarations you wanted me to look at and

15    which matters that were properly before me in a sense that

16    they weren't rank hearsay and properly before me in the

17    sense that they related to something germane to the issues

18    before the court today and you didn't do it.

19               MR. LEDLIE:    I understand, Your Honor.      I'm

20    responding to counsel's argument that you're not required

21    to accept those allegations as true for the purposes of

22    this hearing.    It is legal support for it.       I just wanted

23    to direct Your Honor's --

24               THE COURT:    Whether there's a breach or not a

25    breach is not germane to the issues before the court




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1     today.

2                MR. LEDLIE:    That's untrue, Your Honor.

3                THE COURT:    Well --

4                MR. LEDLIE:    The violation of the contract, Your

5     Honor, shows a lack of control.       That's been our --

6                THE COURT:    Well, then you need to tell me which

7     declarations you want me to look at.        I've told you that

8     before.

9                MR. LEDLIE:    I understand, Your Honor.      We

10    understand Your Honor's ruling --

11               THE COURT:    And you haven't done it.      So if you

12    haven't done what I've asked you to do, I can't look at

13    declarations that have not been identified as to which

14    ones you want me to look at and what portions of them

15    because there's a large number of declarations with

16    hundreds and hundreds of pages that have huge amounts of

17    information that's either hearsay or not relevant to the

18    case.    So you need to tell me which ones even under your

19    theory of relevancy as to why you think it's relevant and

20    you haven't done it.

21               MR. LEDLIE:    If Your Honor hasn't identified

22    whether you're going to follow the Kerns case or not and

23    accept our allegations as true, if you do, they're

24    completely irrelevant, Your Honor.       We agree because we

25    don't need to prove that.      But we've stated our position




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1     and that's why it's in a footnote that that is the law

2     that controls this case and because we don't believe that

3     they are relevant because you must accept those

4     allegations as true, we understand Your Honor's ruling.

5                MR. MATTHEWS:     Your Honor, I don't think this is

6     the proper time.     We want to get on to the closing.

7                THE COURT:    All right.    Well, let's get on with

8     the closing argument and I'll further consider it later.

9                MR. MATTHEWS:     Thank you, Your Honor.

10               Your Honor, I'd just like to give you a brief

11    roadmap of how we are going to proceed.        We are going to

12    proceed in multiple steps.      I think it will be as

13    efficient for the court as we could possibly be.         So we've

14    broken it down as follows.      We will first address the key

15    legal principles and case law, the precedence underlying

16    these proceedings.     And on those issues, Mr. Russell will

17    get up in a minute and make that presentation.

18               After that, we're going to summarize what we

19    consider to be the salient facts that are applicable in

20    these proceedings that speak to ultimately the two

21    threshold issues before the court, the political question

22    and combatant activities.      Mr. Chase Johnson will deliver

23    that presentation.

24               We'll then proceed to try to synthesize the law

25    and the facts as they apply to the political question




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1     doctrine.    I will be making that presentation.

2                 We'll do the same, synthesizing the law and the

3     facts for Combatant Activities Preemption.         Mr. Russell

4     will return to the podium and make that presentation.          And

5     then finally, we'll have a few closing observations to

6     share with the court and Mr. Ben Razi will delivers those

7     comments.

8                 With that, Your Honor, may we proceed?

9                 THE COURT:   You may.

10                MR. MATTHEWS:    Thank you.

11                MR. RUSSELL:    Good morning, Your Honor.      We have

12    a slide presentation that we intend to use today.          I've

13    got a copy of my slides for the court as well as a

14    complete copy of all the slides that will be presented to

15    the court.    Can I approach?

16                THE COURT:   Yes, you may.

17                MR. RUSSELL:    Your Honor, at this point the

18    court has received an enormous amount of evidence,

19    extensive briefing, extensive documentary evidence,

20    extensive witness testimony over the last few days.          And

21    let me say we very much appreciate the Court's time in

22    allowing both sides to present their evidence on KBR's

23    motion.

24                At the outset today, we wanted to provide just a

25    brief overview of the legal landscape within which KBR's




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1     two defenses reside.     We recognize the court is familiar

2     with several of these key principles.        We recognize that

3     these issues have been briefed extensively.         But in light

4     of some of the arguments that were raised by plaintiffs

5     last week in light of some of the questions this court

6     asked, we thought it would be useful not to cover all of

7     the case law in detail, but to point out a few key

8     take-aways and relevant portions from the universe of case

9     law relevant here.

10                So to begin with, I just have one slide on an

11    overview of our two defenses and as we would note, these

12    two defenses, they arise from different constitutional

13    origins and rationales, but they very much are two

14    different ways to the same place and they have different

15    fundamental rationales, but the same central theme as

16    applied in this case.

17                Our first defense is the political question

18    doctrine.    As Your Honor is aware, this is a doctrine that

19    arises from the Constitution's separation of powers, the

20    fundamental design of our government.        And as applied to a

21    battlefield contractor suit such as these, the primary --

22    a primary purpose of the political question doctrine is to

23    avoid inappropriate judicial scrutiny of sensitive

24    military judgments.     And, Your Honor, that's a phrase that

25    you hear quite a bit in the case law.        I think you'll hear




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1     quite a bit today and it's really at the heart of both of

2     these defenses.    This notion that there are sensitive

3     military judgments that are committed and reserved to the

4     political branches of government and to the federal

5     government and I'll turn on that point to our preemption

6     defense, which is rooted in a separate, but equally

7     fundamental concept of our government.        Federalism, the

8     supremacy clause of the Constitution.        And the notion that

9     under our federalism design, the federal law is the

10    supreme law of the land and insofar as state law would

11    conflict with federal law or federal interests, state law

12    is preempted.

13               And as applied here in the contractor

14    battlefield realm, one of the key goals of the Combatant

15    Activities Preemption defense as set forth in the case law

16    is to avoid state tort law touching, impacting, affecting

17    sensitive military judgments.       Again, this is a matter

18    that the courts have made clear that is exclusively

19    reserved at the federal level and the imposition of any

20    non-federal duties in this realm is inherently at odds

21    with these uniquely federal interests.

22               And so we would capture the unifying theme here

23    as both of these fundamental constitutional doctrines are

24    designed to avoid interference with sensitive military

25    judgments which our Constitution tells us, the case law




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1     tells us, these are matters that must have a single

2     arbiter, a single boss and that is the executive and

3     political branches as well as the federal government.

4                Turn now quickly to the legal standards

5     applicable to these defenses.       As Your Honor is aware,

6     KBR's 12 -- political question doctrine defense arises

7     under Rule 12(b)(1).     It is the plaintiffs' burden to

8     establish this court's subject matter jurisdiction.          As to

9     our preemption defense, that motion is brought under Rule

10    56.   It is black letter law.     KBR has the initial burden

11    having brought forth evidence to establish its entitlement

12    to judgment as a matter of law.       Of course, that burden

13    shifts to the plaintiffs to show a genuine dispute.

14               And we'd just note again for the court that, of

15    course, we are not moving for summary judgment on the

16    merits.   We're not moving for summary judgment on say

17    breach of contract.     We are moving for summary judgment as

18    to an affirmative defense, which is separate and apart

19    from the merits and is centered on these notions of

20    control and integration, which Your Honor chartered a

21    course long ago to resolve independent of merits issues.

22               So I want to run through some of the key cases

23    that are cited by the parties.       I won't dwell on these I

24    hope any longer than necessary and I will be placing

25    particular emphasis on two cases.       The Carmichael case and




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1     the Saleh case.    But let me just list for the court the

2     key cases that are cited by the parties and then I'll walk

3     through them spending a little more time on some than

4     others.

5                And, Your Honor, I want to note before I get

6     into the case law, of course, the court should be guided

7     by these precedents, but make no mistake, Your Honor,

8     there has never been a state tort suit, a set of lawsuits

9     like those here.     These cases are truly unprecedented.

10    And unlike any other previous battlefield contractor case,

11    these lawsuits, 60-plus lawsuits, 800-plus named

12    plaintiffs, these present a challenge to the very manner

13    and methods by which the military directed and performed

14    basic life support functions throughout two war theaters

15    across nearly a decade.      It's an observation that this

16    court made long ago and it remains very, very true.          And

17    in light of the evidence that's been presented, I would

18    submit that it's even more significant, the breadth and

19    scope and nature of the claims here unlike any other.

20               So I'll turn now to a quick summary of the key

21    take-aways from the case law.       I'll begin with the

22    Carmichael case.

23               The background of the Carmichael case you're

24    aware it's a convoy accident, but I want to point out a

25    few things.    One is the Carmichael lawsuit arose out of




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1     the LOGCAP III contract, just like this one.         The basic

2     contract principles, the basic contract provisions that

3     are applicable here are the very same provisions that were

4     applicable in Carmichael.

5                Also wanted to note that the Eleventh Circuit in

6     Carmichael recited some of these overarching regulations

7     that govern the relationship between contractors in the

8     battlefield and the military.       And if these regulations

9     look familiar, it's because they've been presented in this

10    case.   And I would just note for Your Honor that these are

11    not new regulations.     This is not new doctrine, but in

12    fact these are doctrines and policies that have been in

13    place and have been discussed by all of these -- the

14    courts in all of these cases.

15               And the last note by way of background in

16    Carmichael is that the court noted there that, of course,

17    KBR had a contract under which there were regulations and

18    provisions that applied and the court even made reference

19    to this concept of performance standards which has been

20    made an issue in this case.      And, of course, in that case,

21    the LOGCAP III contract governed KBR's performance and

22    there were performance standards in that case.

23               The Eleventh Circuit also noted this provision

24    in KBR's contract that states that KBR had responsibility

25    for supervising employees.      Again that's a provision that




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1     applied in every single LOGCAP III case.        And I summarize

2     the background here with the core allegation which is

3     really it's a one day, one time allegation of failing to

4     comply with standards and the allegation that KBR's

5     negligence caused injuries there.

6                So turning from the background and I'll just

7     cover this very briefly.      But the Carmichael case earlier

8     on in the jurisprudence surrounding these sort of recent

9     wave of battlefield contractor suits summarized kind of

10    how you look at the basic political question doctrine in

11    this context and said, yes, you have to do this

12    discriminating inquiry.      You have to look at the precise

13    facts of the case and beyond that, you have to look at the

14    precise facts, the precise posture and look at how the

15    case would be tried, how the claims would be presented,

16    how the defenses would be raised and you have to determine

17    looking forward whether a political question will emerge.

18               And in other words, what is said here, which is

19    very fundamental is the court can't limit itself to high

20    level doctrine, it can't limit itself to policies that

21    might apply in any -- in all context.        The court must look

22    past that to the specific facts, the specific context, the

23    specific claims and defenses and really dig in on those

24    facts to determine whether a political question will

25    emerge.




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1                The next point on Carmichael that I wanted to

2     emphasize is again this notion of sensitive military

3     judgments and in this case, the Eleventh Circuit began

4     with the finding that looking at the key decisions

5     governing the challenged conduct, the military made those

6     decisions.    These include at the date and time of the

7     convoy, speed, route, et cetera.

8                And the court went on -- the Eleventh Circuit

9     went on to make two very critical findings.         The first is

10    that each of those critical decisions, each of those

11    decisions was made exclusively by the military.         And the

12    second is that not only were these decisions exclusively

13    made by the military, but they are uniquely military

14    decisions.    They are specific to and can be exclusively

15    made by the military because they require military

16    expertise and military judgment.

17               And then the bottom line conclusion is the

18    Eleventh Circuit then looked at the facts in Carmichael

19    and held that the circumstances of that case were so

20    thoroughly pervaded by these military judgments, these

21    military decisions, that it would be impossible to make a

22    determination regarding KBR's potential negligence without

23    bringing those essential military judgments and decisions

24    under searching judicial scrutiny.

25               In addition, the Carmichael court found that




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1     given the very uniquely military character of the events

2     at issue, the fact that the military dimension of the

3     underlying events was so utterly central, that these types

4     of facts, these types of circumstances were very again

5     uniquely military and the court said we, courts, we lack

6     standards with which to review many basic questions that

7     are traditionally entrusted to the military.

8                 I want to turn now to several of the arguments

9     that the plaintiffs in Carmichael made back when we

10    litigated these cases or -- I'm sorry -- this case.          And

11    the first argument that I wanted to flag that was made by

12    the Carmichael plaintiffs is this notion that commanders

13    cannot give direct orders to KBR.       That very argument was

14    made in Carmichael.     Here is the quote from the case.

15    "The plaintiffs emphasized that the driver couldn't

16    receive orders directly from the military."         The Eleventh

17    Circuit looked at that fact and said that's irrelevant.

18    The fact that the military order was conveyed through a

19    conduit says the Eleventh Circuit, that's a distinction

20    without a difference.     It's really irrelevant to the

21    analysis.

22                The next argument that was made by the

23    Carmichael plaintiffs is that KBR had control and they

24    said, look, the way you look at control is down in the

25    weeds.   You look at the KBR driver.      He's driving the




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1     truck.   He can turn the wheel.      He's the one in control.

2     And the Eleventh Circuit considered that position, looked

3     at the wealth of evidence in that case, pointing to the

4     pervasive military decisions and the Eleventh Circuit said

5     that's beside the point.      That doesn't matter.     It's a

6     little more than a play on the words "control" and

7     "responsibility."     It doesn't change the fact that KBR in

8     that case was operating at all times under orders and

9     determinations that were made by the military.

10                And finally, the last argument that the

11    plaintiffs in Carmichael made was this argument that they

12    were only challenging KBR's conduct because it was KBR's

13    negligence alone so said the plaintiff that caused their

14    injuries.    And in fact the plaintiffs pointed to evidence

15    in that record that suggested the KBR driver was at fault.

16                The Eleventh Circuit considered that argument,

17    again considered the wealth of evidence showing the

18    pervasive military decisions and judgments involved in the

19    circumstances at issue and the Eleventh Circuit said

20    there's no way, it is impossible for the plaintiffs in

21    this case to show that KBR was the sole cause and that as

22    a result, the court would need to consider pivotal

23    military judgments and that that was not permitted by the

24    political question doctrine.

25                Turning now, Your Honor, to the Fourth Circuit's




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1     Taylor decisions.     Some quick background.     Again another

2     LOGCAP III contract.     Another case in which the same basic

3     contract provisions, the same overarching regulations

4     applied and the Fourth Circuit recited those regulations.

5                Again the core allegation in Taylor had to do

6     with a maintenance worker turning on a generator on one

7     day at one time.     And this is important.     The allegation

8     which was accepted by the Fourth Circuit was that KBR had

9     acted directly contrary to a military directive.         And the

10    quote here from the Fourth Circuit shows that that

11    allegation was, you know, considered by the Fourth Circuit

12    and ultimately, of no consequence to the political

13    question ruling.

14               And I note just real quickly that one of the

15    provisions in the LOGCAP III contract that was cited in

16    Taylor sort of basic safety provision was equally

17    applicable in the Carmichael case.       But because the court

18    was conducting a discriminating inquiry, it considered the

19    relevance of that provision in light of the facts.          And so

20    in Taylor, when it did its analysis, which I'll turn to in

21    a minute, it considered some provisions in the contract of

22    some consequence to the Taylor discriminating inquiry

23    analysis, whereas the Carmichael court looked at the same

24    provisions and didn't think they were relevant at all.

25               The Taylor court set forth those two factor




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1     tests that we're all very familiar at this point, which

2     centers on these notions of control under the first Taylor

3     factor and under the second Taylor factor whether national

4     defense interests were closely intertwined with the

5     military decisions governing KBR's conduct.

6                And applying those factors to the Taylor case,

7     the Fourth Circuit found, first of all, that the military

8     didn't exercise plenary control over that conduct and that

9     was the maintenance of a generator under a specific work

10    order on one day.     However, the Fourth Circuit quickly

11    turned within a sentence or two to find nonetheless,

12    there's no way we could try this suit without having to

13    review, assess, second guess these sensitive military

14    judgments.

15               And the sensitive military judgments in that

16    case for which the Fourth Circuit found there were no

17    discoverable or manageable standards for evaluating, that

18    the ones that the Fourth Circuit specifically focused on

19    had to do with how you set up an electric power system on

20    a military base, how you provide a basic core support

21    function to a military base.      And the Fourth Circuit said

22    we, courts, relax standards to assess such matters.          These

23    are matters committed to the executive political branches

24    of government and if we were to inject ourselves here, it

25    would show a lack of respect for the executive branch.




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1                Turning from there to the Harris case from the

2     Third Circuit.    Again a quick background slide.       Another

3     LOGCAP III contract, another case in which the court

4     recited these overarching regulations, these overarching

5     doctrines governing contractors in the battlefield.

6                In that case, again we had an allegation that on

7     one day under a single work order or more than one work

8     order, KBR had failed to comply with certain standards and

9     again the allegation was that that failure was the cause

10    of plaintiff's injuries.

11               Turning to the holding in Harris.        One of the

12    parts of the Harris decision that is often overlooked,

13    Your Honor, because it's in a footnote is that the Third

14    Circuit reaffirmed that where plaintiffs seek to directly

15    call into question strategic military decisions, where

16    they do that, the political question doctrine plainly bars

17    those claims.    And in fact, this was such, I suppose, such

18    an obvious point, such an undisputed point that it was

19    relegated to a footnote in the opinion.        The Third Circuit

20    cited the liability theories that directly called into

21    question strategic military decisions there and they

22    included the failure to warn, the failure to provide

23    alternative remedies.     And the Third Circuit sort of gave

24    the back of the hand to those arguments and said no,

25    there's no way that those could get past this political




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1     question doctrine, they are barred.

2                It went on to say, of course, that as to the

3     narrower claims involving installation or maintenance of a

4     single pump under a work order, the Third Circuit held

5     those may be justiciable.      It didn't hold they were.      It

6     said it may be.    And, of course, the Third Circuit held

7     that there was a requisite choice of law analysis to make

8     that determination.

9                I turn now very quickly to the burn pit case.              I

10    won't belabor this.     I know Your Honor is very familiar

11    with this.    But just for the sake of completeness, the

12    analysis from the Fourth Circuit in the remand opinion

13    focused very much on who made these key decisions and who,

14    the military or KBR, for example, decided to use burn

15    pits, et cetera.

16               I'll shift then to a more recent Fourth Circuit

17    case, the Al Shimari decision of 2016 and briefly discuss

18    this.   First of all, by way of background, I think it's

19    clear from the Al Shimari opinion from the facts

20    underlying that case that it's a case of a very different

21    nature to the one we have here.       It involves allegations

22    that are a world apart from the allegations here.          But I

23    would say this is the most recent example in which the

24    Fourth Circuit has addressed the political question

25    doctrine in the context of a battlefield tort suit.          I




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1     would also note that that case involved allegations of

2     breach of contract and so there is certainly useful

3     guidance from the Fourth Circuit in the Al Shimari

4     opinion.

5                And turning to that holding, first of all, this

6     isn't particularly useful here, but the court pointed out

7     that unlawful conduct is justiciable irrespective.          And I

8     think that quote is perhaps cut off, but it's not

9     particularly relevant here.      What is relevant is what the

10    court said about conduct that's not unlawful, sort of

11    simple negligence, simple breach of contract claims.

12               What the Fourth Circuit said in Al Shimari was

13    claims that -- challenged conduct that was not unlawful,

14    those claims are shielded from judicial review when either

15    they are committed and occurred under the actual control

16    of the military or they involved sensitive military

17    judgments.    So again this is the most recent exposition by

18    the Fourth Circuit on the political question doctrine as

19    applied to battlefield contractors.

20               Turning now to a few cases on preemption, the

21    seminal case here is the Saleh case.        It is the Saleh case

22    provides the preemption test that was adopted by the

23    Fourth Circuit and will be applied by this court.          So I'll

24    spend a little bit of time on Saleh.

25               The basic backgrounds in Saleh, again this is a




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1     different type of animal I suppose, allegations of

2     torture, et cetera.     But one point about Saleh that I did

3     want to point out is the procedural history of Saleh.

4                Saleh, the D.C. Circuit had before it claims

5     against two different contractors and the district court

6     judge had dismissed claims against one contractor, but not

7     against the other.     It found that some claims were

8     preempted and others were not.       And what it focused on to

9     make that distinction was the contractor's ability to

10    supervise its own employees.      The district court pointed

11    to the army regulation 715-9, which has been cited in this

12    case and pointed out that, you know, under general policy,

13    under army policy, contractor personnel are not given

14    direct orders by the military.       And again it pointed to a

15    provision in the contract in that case that said the

16    contractor is responsible for providing supervision for

17    contract personnel.     And the D.C. district court thought

18    that was relevant.     The D.C. Circuit disagreed.      The D.C.

19    Circuit found it doesn't matter.       It doesn't detract

20    meaningfully from the military's operational control.          In

21    other words, it's a distinction without a difference.

22               The key fact according to the D.C. Circuit,

23    which adopted the preemption test at issue here, the key

24    fact was were these employees melded into the military

25    mission, were they performing a common mission.         Again,




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1     it's not were they being given direct orders by the

2     military.    It's were they performing a common mission.

3                 And so Saleh sets forth this very broad

4     battlefield preemption rule and I have a few quotes from

5     that decision here and I would just note for the court

6     that this language cited at the top of this slide that

7     "the federal government occupies the field," that's

8     language that echoes -- comes back in the burn pit

9     decision from the Fourth Circuit.       It's quoted, it's cited

10    and it is adopted by the Fourth Circuit as applied here.

11                Turning to the specific test Saleh set forth, of

12    course, during wartime where the contractor is integrated

13    into combatant activities over which the military retains

14    command authority, the tort claims arising out of that

15    engagement shall be preempted.       That's the test this court

16    will be applying.     And I want to jump ahead a little bit

17    here because there's certainly some questions that this

18    test raises and the Fourth Circuit answered some of them.

19    And it said what does this mean, integration, control,

20    command, authority?     What does that mean?     And the Fourth

21    Circuit said by focusing on whether the contractor was

22    integrated, the Saleh test ensures that the FTCA will

23    preempt only state tort laws that touch the military's

24    wartime decision making.

25                And so as the Fourth Circuit interpreted this,




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1     the key indicia of integration, the key indicia of command

2     authority is whether state tort law would touch military

3     wartime decision making.      And so when you're trying to

4     determine where you draw the line, where is integration

5     sufficient, where is command authority sufficient, we

6     would submit the answer is not in a dictionary.         The

7     answer is in looking at the claims, looking at the record

8     evidence and asking if these claims were allowed to

9     proceed, would state tort law touch military decisions?

10    That's the preemption test adopted by the Fourth Circuit.

11               One last point on Saleh, the plaintiffs'

12    arguments there included this notion that the government

13    itself had openly condemned the behavior at issue and as

14    the plaintiffs argued, the contractor there, so said the

15    plaintiff, breached its contract, the military lacked

16    authority to discipline Titan employees.        That was of no

17    consequence.    Those issues were immaterial to the

18    preemption analysis.

19               Just a couple of other cases on preemption, Your

20    Honor.    The Harris case really just two points to make

21    there.    One is as I referenced earlier, the broad claims

22    that challenge military decisions, those weren't at issue

23    in Harris.    Its preemption holding didn't address such

24    claims.   It's preemption holding did address these narrow

25    claims.   And the finding of the Third Circuit in Harris




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1     was that KBR had discretion in fulfilling individual work

2     orders and that as a result of that discretion, the

3     preemption defense did not apply.

4                 And the last case I have here again for the sake

5     of completeness is the Fourth Circuit preemption holding,

6     which we have distilled really this notion of control and

7     integration, which, of course, the Fourth Circuit found to

8     be very much related concepts, a very much overlapping set

9     of facts.    And this notion of control is distilled into

10    the question of who made the key decisions.         And this

11    notion of the extent of integration is really gets down to

12    are these challenged activities ones that stem from

13    military decisions or is the plaintiff in the case

14    challenging matters that are within the sole discretion of

15    KBR?

16                And, Your Honor, we submit the take-away from

17    the Fourth Circuit and what's left for this court to

18    decide is really distilled into those two questions and

19    again it gets back to sensitive military judgments and

20    whether or not state tort law would touch, affect, impact

21    those judgments.

22                Your Honor, that closes my discussion of the

23    preemption case law.     Very briefly, I wanted to touch on

24    the Kerns case that the plaintiffs have raised.         Just to

25    make a few points about Kerns if I could.




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1                Your Honor, I think this is an issue that this

2     court long ago recognized.      That this court chartered a

3     course to avoid.     This court entered a case management

4     order a long time ago in which it said "these issues of

5     control and integration, that's in one silo.         These issues

6     of breach violations, it's in another silo.         You all so

7     said the court, you're free to do discovery on either of

8     these things.    But at the end of the day, the issues that

9     are up for grabs in our motion --"

10               THE COURT:    But what's your response to their

11    contention that the breach question is relevant to the

12    question of control or lack of control?        You've got an

13    out-of-control contractor breaching the contract all over

14    the place.    That's as I understand their position.        I

15    should consider it insofar as it relates not to the merits

16    of the case, but to the question of control.

17               MR. RUSSELL:    The first answer, Your Honor, is

18    that's not how the Fourth Circuit framed the issue and the

19    second answer, Your Honor, is that if that were the case,

20    two things would be true.      One is the plaintiffs on remand

21    should have told this court that this whole exercise would

22    be an exercise in futility because I don't know why we're

23    here if the proposition they begin with is you have to

24    accept breach and having accepted breach, we win.          And

25    relatedly, I really think it conflates the merits with the




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1     jurisdictional issue and if adopted, one would be contrary

2     to all of the prior case law, which involved allegations

3     of breach, but nonetheless found cases were barred.          But

4     also it would require KBR to defeat the plaintiffs' claims

5     on their merits to establish that this court in fact has

6     no jurisdiction.     And we suggest -- submit to the court

7     that there's no support in the case law for that, it's an

8     irrational rule and again, it's not how the Fourth Circuit

9     framed the issue.

10               THE COURT:    All right.

11               MR. RUSSELL:    Thank you, Your Honor.

12               THE COURT:    Thank you.

13               MR. RUSSELL:    If there is no other questions,

14    I'll turn it over to my colleague, Mr. Johnson.

15               THE COURT:    All right.    Mr. Johnson?

16               MR. JOHNSON:    Good morning, Your Honor.

17               Your Honor, I suspect if we were in a

18    non-electronic world, we would have had to wheel box

19    trucks of banker boxes of documents to your chambers in

20    this case.    And as a result, I do want to just focus the

21    court's attention on some evidence that was presented

22    during the course of this hearing and in the record.          It's

23    by no means meant to be exhaustive.       It is, of course, an

24    opportunity to answer any questions the court has about

25    the record that the defendants have created.




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1                Initially, of course, I have some slides that

2     we'll go through.     Mr. Razi is bringing up to the court's

3     attention.

4                So, Your Honor, the evidence in this case as in

5     the record as was presented in this witness stand in the

6     course of the last two days of hearings makes clear that

7     the military, starting with General Sanchez in 2003,

8     carrying forth well into 2010, decided to use burn pits

9     during the conduct of Operations Enduring Freedom and

10    Iraqi Freedom.

11               When General Sanchez arrived at the Baghdad

12    International Airport in 2003, he not only was conducting

13    a combat operation, he was also facing a health crisis.

14    He described overflowing latrines, he described trash.

15    And his concerns that, of course, you can't fight a war

16    with sick service members and their health is paramount to

17    his ability to conduct a military operation.         And this is

18    exactly what he told you and it's what you see here on

19    this screen before you, which is that within 48 hours of

20    arriving, he mandated the use of burn pits.         And he was

21    asked what he expected to be burned in those burn pits and

22    he said the things that a deployed force produces.

23               And he made that decision not based on, you

24    know, some sort of hasty thought process, but based on his

25    understanding of the operational environment of his




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1     requirements of his resource limitations and that was the

2     order that he implemented and he was the only person who

3     had the type of information to have made that type of

4     analysis as he said in the next slide.

5                And I don't want to go through all of his

6     hearing testimony here, but the point of this reference

7     from March 9th at page 85 is that he's going through this

8     risk benefit calculus.     And this is really key to

9     understanding the process is that it requires General

10    Sanchez from his aptitude and with his ability to

11    understand the political situation and the operational

12    situation and the resource situation, to weigh all these

13    risks and benefits and decide how he is going to keep his

14    service members safe and that's exactly what he told the

15    court on Thursday.

16               Of course, General Vines sat in the same witness

17    box and he testified that when he was the commanding

18    general of Multi-National Corps, Iraq in 2005, he reached

19    the same conclusion, that he continued the use of surface

20    burning that had been employed and he talked about the

21    factors that he considered.      He was an infantry officer in

22    the United States Army, a three-star lieutenant general

23    and he told this court that the kinetic environment in

24    Iraq in the spring of 2005 was the most violent he had

25    ever seen.    He talked about vehicle-borne IEDs exploding




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1     in convoys.    He talked about how every movement outside of

2     the wire was a combat operation.       He talked about the

3     delicate, tenuous political process of trying to

4     transition an entire country's government from a coalition

5     force to the ministry of Defense and the ministry of the

6     Interior in the Iraqi government and within that

7     complicated calculus, he made the determination that using

8     surface burning and using burn pits was the best method of

9     waste disposal.    And so waste disposal continued.

10               And he said that, you know, he was aware that

11    they were -- he said as he flew in -- you heard him -- he

12    saw burn pits operating.      This wasn't a secret to him.

13    Right?   That he spent ten hours in the course of his time

14    as the commander thinking about waste management issues

15    and he decided to make no changes.

16               And, of course, the court has also already

17    referenced General Petraeus' letter to Congress from 2008

18    where he tells Congress that there is and there will

19    continue to be a need to use burn pits during contingency

20    operations.    The court also has Mr. Loehrl from DCMA, his

21    2010 letter directing that KBR should continue to use burn

22    pits, right, particularly focusing on the use of burn pits

23    in the CENTCOM environment.      And the court has the

24    Department of Defense reports of Congress also from 2010

25    where the Department of Defense talks about the continued




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1     need to use burn pits in theater.

2                And I would note within the excerpt in front of

3     the court here from KBR Exhibit 58 that it specifically

4     says that it's about balancing combat risks against other

5     risks such as environmental exposures.        Again it's this

6     process of commanders of military leaders making risk

7     benefit analyses that only they are capable of making and

8     then implementing those decisions.

9                And so, Your Honor, that record is clear and the

10    court actually alluded to that on Friday when it was sort

11    of giving its instructions to the parties about what it

12    wanted to discuss.     And plaintiffs have presented no

13    contrary evidence to suggest that the military commanders

14    did not make these decisions.       They weren't cross-examined

15    about not making these decisions.       And so that part of the

16    record speaks for itself.

17               The thing that requires I think a little bit

18    more clarification unless the court has questions about

19    the military's decision to use and locate burn pits is the

20    question of how that military intent becomes action, how

21    KBR begins performance.

22               And the evidence is clear that once that

23    military commander issues a direction and makes a

24    decision, DCMA serves as a conduit to take that intent and

25    ensure that KBR performs accordingly.        DCMA is not a




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1     medium that shifts the commander's intent because that

2     would be inconsistent with the type of risk benefit

3     calculus that we just discussed.       So the first step in the

4     process is that the commander makes this analysis.

5                And Your Honor has the LOGCAP 101 document in

6     the record.    You see the citation here and it describes

7     the different roles that everybody plays in this LOGCAP

8     process.   And, of course, if you look at the supported

9     unit section, which is the commander, right, it's General

10    Sanchez, it's General Vines, they're the ones who define

11    the operational needs, they're the ones who conduct the

12    mission analysis.     And without going through all of the

13    other, you know, 42-odd check marks on this page, nowhere

14    else in any of these other columns does any other entity

15    have the responsibility for conducting that analysis and

16    making that commander's intent.

17               And, of course, what happened in this case.

18    Again the generals told you that they considered service

19    members' health, they considered the effect on military

20    operations and logistics and expediency and costs and the

21    local population.     And you heard about some of the

22    specific injects that they had.       Right?   You heard from

23    Dr. Postlewaite who told you that the military had a

24    robust program of evaluating the environmental and health

25    situation in Iraq and Afghanistan and that that




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1     information was fed to commanders.       He says at KBR's

2     Exhibit 14, lines 121-2 to 122-4, that we probably knew

3     more about the environmental conditions in Iraq than we

4     did about many places in the United States.         And you've

5     seen some of those documents and they're attached to KBR's

6     statement of facts as Exhibits 124 to 133 that reflect the

7     type of analysis the military was conducting.         And you

8     heard from the generals both in their declarations and

9     their depositions and their testimony that they were aware

10    of those risks and those evaluations and they were part of

11    the process.

12               But if you look at KBR's Exhibit 120, which is

13    the MNC-I Environmental SOP at page 4, paragraph 4(d), it

14    says explicitly that the environment is subordinate to

15    operations.    Right?   These operational considerations are

16    what drive a commander's decision making.        And so again

17    and again what conclusion did the commanders reach?          They

18    reached the decision to continue to use burn pits.

19               So having made that decision, what happens next?

20    DCMA receives that instruction.       And they instruct KBR to

21    accomplish the commander's intent.

22               And there is very important testimony from

23    General Sanchez and General Vines about not necessarily

24    the technical process here which we'll describe in a

25    moment, but the substantive process, right, which is the




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1     DCMA's mission is the same as the military's mission.

2     KBR's mission is the same as the military's mission.          But

3     if we take a step back and we remember the historic

4     context for LOGCAP III and for the use of contractors on

5     the battlefield, these are individuals and institutions

6     that are there to provide the functions that the military

7     otherwise would provide.      It's what General Vines talked

8     about.   He said the military doesn't have the organic

9     ability to provide all of these services for the duration

10    that needs to be provided.      So it's inherent in that that

11    the provision of those services aligns those services with

12    the overall military mission.

13               So even though these are to varying degrees and

14    in varying ways that we can discuss different

15    institutions, the goal that they are seeking to achieve is

16    the same and that mission is defined by the commander,

17    right, whether that's General Sanchez or whether that's

18    General Vines.    And that's exactly why General Vines told

19    you, Your Honor, and we have the hearing transcripts in

20    front of you that DCMA or the Army Material Sustainment

21    Command could not change the commander's intent because

22    they don't have the ability to go and conduct that risk

23    benefit analysis that the commander conducted.         Right?

24    And he says it right here.      Says it right at lines 28 to

25    29 in his transcript.     Well, the reason they can't do it




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1     is because it has effects, right, because the commander

2     has to conduct an analysis of how those decisions are

3     going to affect the military operations.        And DCMA,

4     despite being part of the Department of Defense, is not

5     the commander.

6                Colonel Damon Walsh who you didn't hear from,

7     but whose deposition testimony at lines 139-9 to 13

8     addresses this issue, talked about how even though again

9     General Sanchez is not within the Defense Contracting

10    Management Agency, it was the Defense Contracting

11    Management Agency's responsibility to convey and

12    communicate his orders to that institution.

13               Now there is, of course, the contracting piece

14    which plaintiffs spent most of their opening talking

15    about.   And so without belaboring every task order and

16    every statement of work and every ACL and LOTD, I do want

17    to give the Court a high level overview and point the

18    court to the relevant documents for review.

19               So the first step in this process, of course, is

20    LOGCAP III itself and I just pulled a couple of excerpts

21    here by way of example for the court to show that the

22    LOGCAP III original base contracts has these very high

23    level general provisions that don't in and of themselves

24    provide particular guidance.      Right?    It's been referred

25    to in some circumstances as a menu or a set of




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1     requirements.

2                 What happens is that the DCMA issues task orders

3     and statements of works.      And this is an important place

4     to pause.    And actually, Your Honor, if I may approach

5     with a copy of KBR's Exhibit 4, it's worth a little bit of

6     consideration.    Your Honor, Exhibit 4 is a declaration

7     from Mary Wade who is a 30(b)(6) witness for KBR.          And I

8     want to focus the court's attention specifically if it

9     flips to page 4 to paragraph 15 because it talks about

10    where statements of work and task orders sort of fit in

11    this contracting process.      And in particular, if you look

12    at the very end of the paragraph, it says that task

13    orders, statements of work along with the notice --

14                THE COURT:   Give me that paragraph number again,

15    sir.

16                MR. JOHNSON:   Yes, Your Honor.     It's paragraph

17    15.    It's in Section 3, page 4.

18                THE COURT:   Okay.   I got it.    Thank you.

19                MR. JOHNSON:   And she describes this whole

20    process.    She describes how the task order and the

21    statement of work are actually created.        And then she says

22    at the end that that is the document that initiates KBR's

23    performance.

24                And Your Honor obviously was tracking this exact

25    same issue because you asked Roger Singleton this question




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1     after his testimony ended and the transcript is at page

2     130.   Right?   And you said in other words, it would not be

3     a surprise to you if a task order didn't say operate the

4     burn pit and it simply said waste management and

5     Mr. Singleton responded to your question and said correct.

6     And then you asked and the form of that waste management

7     would be a military determination and he said Yes, Your

8     Honor.

9                 So again the first step in this process is to

10    look at the task orders and statements of work.         And

11    there's a little bit of context to be had there as well,

12    which is as this war continued on from Afghanistan 2001,

13    Iraq 2003 and as these task orders and statements of work

14    evolve, KBR is already performing these services.          Right?

15    So as a new task order arises, it doesn't necessitate that

16    KBR restart the process.      Right?   The process continues

17    with whatever modifications the military and DCMA and KBR

18    have agreed to.

19                If I could direct the court's attention as well

20    to Defense Exhibit 20, which is the declaration of Damon

21    Walsh from DCMA.     And he says at paragraph 24(b) that

22    DCMA's role in creating task orders and statements of work

23    is to translate the military's requirements into contract

24    language.    So again there is that idea that the

25    commander's intent.




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1                Moving directly into the contract documents.

2     And then he says at paragraph 24, Charlie, in the

3     statement of work that leads to the -- he said the

4     statement of work leads to a base-by-base analysis of the

5     services KBR would provide.      So again there we have the

6     statement of work as the initial document that provides

7     that base-by-base guidance for KBR to begin specific

8     performance.

9                I would also note, Your Honor, that at Defense

10    Exhibit 26 at page 127-12 to 18, Damon Walsh also talks

11    about the fact that there's no specific authorization

12    required to use a burn pit because as he says at 131, the

13    presumption is that you were going to burn it.

14               So that's how the contracting process begins the

15    implementation of taking the commander's intent and

16    converting it into KBR performing an action on the ground.

17    It could be that KBR's taking over a process the military

18    is performing itself.     It could be that KBR is continuing

19    something that KBR had already been doing.         It could be

20    that KBR is starting new work.       Right?   But it is that

21    statement of work contract document that drives the

22    process.

23               Now I do want to address administrative change

24    letters and letters of technical direction, even though I

25    don't want to overstate their importance as I believe




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1     plaintiffs' counsel did during opening argument.

2                The administrative contract letters and letters

3     of technical direction are contract documents that shape

4     the performance KBR is already engaging in.         So these are

5     contract documents that can be issued by administrative

6     contracting officers to direct KBR to change the manner of

7     its performance or to start some service that's permitted

8     under statement of work that wasn't previously being used.

9                So Your Honor has this CD and if you look at

10    this map, these are all interactive links and you can

11    click on them and it will bring you to the actual contract

12    documents.    But back to our truck full of bankers boxes.

13    Instead of going through all of them, we will just go

14    through a couple.

15               So we'll start with FOB Echo here on the map.

16    And this is just an example of the type of granularity and

17    specific control that could potentially be in an LOTD or

18    an ACL.   So here KBR is directed specifically to build a

19    second burn pit adjacent to an existing burn pit and to

20    alternate the burning in those burn pits.        Right?    So the

21    base commander at FOB Echo for whatever reasons that

22    particular base decided that the manner he wanted his burn

23    pit operated in was to have two of them side by side and

24    to have them burn one and then the other because it might

25    potentially reduce smoke which is the issue identified in




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1     this document slide.

2                If we turn to Camp Taji, for example, we have a

3     June 2005 memo where the base commander specifically

4     instructs KBR to burn animal carcasses completely to ash

5     at the existing burn pit.      So at Camp Taji, there's a

6     specific issue that requires the commander to reach out to

7     KBR and say this is a service I want you to perform.

8     They're obviously already operating a burn pit, but I want

9     you to burn this specific item.

10               So what's important about these documents?

11    What's important about these documents is that they do

12    reflect, of course, that KBR was authorized to conduct

13    burn pit operations at whatever base these are for even

14    though they are not the base authorization documents.          But

15    they also give us a good window into how the military

16    controlled KBR's burn pit operations because, of course,

17    you don't have ACLs and LOTDs for most bases for most

18    periods of time.     Even though we, of course, know that KBR

19    was performing burn pit operations and that they were

20    being evaluated and that's because if KBR was performing

21    in a way that the military deems sufficient, it didn't

22    require additional documentation.       It didn't require a

23    follow-on ACL or LOTD because KBR could simply continue to

24    perform in the manner that they had been performing.

25               And that's consistent with what General Vines




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1     told you about how when he landed in country, burn pits

2     were already being used and he didn't have to issue a new

3     order.   Right?   At a high level, he could just continue to

4     use burn pits because burn pits were being used.

5                So the next step in this four-step process of

6     converting the commander's intent into actions that KBR

7     actually executes.     And of course, the reason we're here

8     is that we know that KBR did in fact implement the

9     commander's intent because they did operate burn pits on

10    behalf of the military in Iraq and Afghanistan.         There's,

11    of course, some dispute about exactly when and where.          But

12    for purposes of the jurisdictional questions before this

13    court, KBR did in fact operate burn pits for the United

14    States military during Operations Iraqi Freedom and

15    Enduring Freedom.

16               And then this brings us to the last point which

17    I do think is important to understand in light of

18    plaintiffs' authorization argument.       Once KBR begins

19    performing a service for the military, DCMA immediately

20    begins reviewing it and you heard from many different

21    witnesses who talked about this.       At the very lowest

22    level, you heard from our charismatic Commander Hersch who

23    sat in the witness box and he told you about his stick and

24    how he got in the burn pit and he poked around at the

25    trash bags.    Now he had his checklist.      Right?   He was the




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1     Mayor of Bucca.    I'm sure we were -- sheriff.       Excuse me.

2     Sheriff of Bucca.     I mean we could probably all picture

3     him, right, in the burn pit without his badge, but

4     nonetheless, with his flack and his Kevlar out there

5     poking around.    That's the base level of review of KBR's

6     services.    Right?   Quality assurance representatives like

7     Commander Hersh and contracting officers representatives

8     who are actually uniform service members, members of the

9     military who were out there reviewing KBR's performance.

10                And then it rolls up through the administrative

11    contracting officers and this court, you know, has heard

12    testimony from Wes Bennett and Augusta Fehn.         And, of

13    course, KBR is there and this court has heard testimony

14    from David Palmer and from Roger Singleton and from Mike

15    Mayo.

16                And then the operational units themselves also

17    have oversight over KBR's performance.        You heard me ask

18    General Vines about his staff judge advocates and the

19    liaison he had in the fore and his contracting officers

20    and these are individuals who are tasked with ensuring

21    that KBR is performing not necessarily so much according

22    to the terms of the contract, but according to the

23    commander's intent.

24                And I want to draw the court's attention

25    specifically to two witnesses that I don't think have been




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1     mentioned in the course of this hearing yet and yet, are

2     very important and they are Jim Morris and Mary Sheridan,

3     Defense Exhibits 144 and 145.

4                Now the reason I draw the court's attention

5     specifically to these declarations as well as the

6     associated depositions is that Ms. Sheridan and Mr. Morris

7     were the agency 30(b)(6) representatives in the course of

8     this litigation and they gave these declarations and they

9     were deposed.

10               And if you start with Exhibit 144, which is Mary

11    Sheridan's exhibit and you turn to paragraphs 9 and 10 of

12    her declaration, she specifically talks about the award

13    fee process and she talks about the people we just named,

14    the administrative contracting officers, quality assurance

15    representatives, QARs, property administrators, the LOGCAP

16    support office, contracting officer representatives,

17    contracting officer technical representatives and the

18    process of not just overseeing KBR, but specifically as

19    she says in paragraph 10 of overseeing KBR's performance

20    of non-hazardous solid and liquid waste management and

21    disposal services, including burn pit services based on

22    the results of DCMA's monitoring and inspections as well

23    as the criterior in the LOGCAP III award fee plan.

24               So here's the Defense Contract Management Agency

25    telling us exactly how they oversaw KBR's performance once




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1     it began implementing the commander's intent.         And

2     similarly at Exhibit 144, if I could direct Your Honor's

3     attention to paragraphs 7 and 10 --

4                THE COURT:    144 or 145?

5                MR. JOHNSON:    144, Your Honor.     The first one

6     was 145.   That was Ms. Sheridan.      And 144 is Mr. Morris.

7                THE COURT:    Okay.   I got you.

8                MR. JOHNSON:    So Mr. Morris at paragraphs 7 and

9     10, he again talks about QARs and ACOs and he talks about

10    how statements of work are the applicable task order

11    documents.    And then he talks about all the realtime

12    inspections, right, and the mechanisms that DCMA had to

13    control KBR.

14               THE COURT:    And what were those paragraph

15    numbers again?

16               MR. JOHNSON:    7 and 10, Your Honor.

17               THE COURT:    7 and 10.    Okay.   I got it.

18               MR. JOHNSON:    Yes, sir.    And, of course, the

19    result of all of this is as you've seen in the record and

20    as you've heard is that KBR's performance is evaluated at

21    performance evaluation boards and every six months --

22    every -- monthly at performance evaluation boards and

23    every six months at award fee evaluation boards.          And

24    there are many PEBs and AFEBs in the record and I would

25    direct your attention specifically to Defense Exhibit 4




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1     which is Mary Wade's declaration which has several PEBs

2     and AFEBs attached to it.      But just for the purposes of

3     the demonstrative, I have attached Appendix B to Defense

4     Exhibit 145.

5                And again, right here is the Defense Contract

6     Management Agency.     This time under Task Order 159

7     specifically evaluating KBR's performance of burn pit

8     operations under the task order.       And these documents move

9     through time through the different task orders.         This is

10    just meant to sort of demonstrate to the court what the

11    documents look like.     But at regular intervals, as you see

12    in 144 and 145, starting in 2003 and carrying on

13    throughout the process, DCMA from Commander Hersch all the

14    way up to Damon Walsh, the Commander of DCMA, right, this

15    process of careful and regular oversight of KBR is

16    occurring.

17               Now one other way to consider this and I'll move

18    through this demonstrative quickly is to consider sort of

19    the cycle of how the commander's intent and direction

20    becomes a KBR action on the ground.       So the first step, if

21    you look at the bottom of our rope here, right, the

22    statement of work defines what needs to happen and that

23    statement of work is drafted with consultation between the

24    supported unit, what their needs are, with DCMA and KBR.

25               Then once the statement of work exists, that




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1     supported unit, here represented in green identifies the

2     need which we've discussed.      Then DCMA issues a project

3     planning request to KBR which you see depicted there in

4     tan.    Then KBR prepares a project planning estimate which

5     is depicted there in red.      Then you go through the review

6     boards, the CARB and the JARB who look at that estimate.

7     Then the unit itself, the supported unit ensures that it

8     can actually afford whatever task it's requested.          If the

9     unit agrees and can secure funding, then DCMA instructs

10    KBR to proceed and then KBR begins performance.         And again

11    all the colors are represented here because once KBR

12    begins performance, DCMA and the military are overseeing

13    that performance.

14               And then of, course, if the military wants to

15    tweak, if the commander of the supported unit wants to

16    change the method of KBR's provision of those services, it

17    can through LOTDs and ACLs.      So the process begins anew,

18    right, whether it's a new task order or a new statement of

19    work.

20               And the reason I bring this up is not to get

21    deep into the weeds on some of these technical aspects of

22    the process.    The reason I bring this up is to show that

23    once the unit identifies the need, that need doesn't

24    change.   Once General Sanchez says burn pits, nowhere in

25    this process, nowhere in the process I've just described,




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1     nowhere in the evidence, nowhere in any of the plaintiffs'

2     documents or from the mouths of any witnesses has anybody

3     said that DCMA then has the authority to change that

4     commander's intent.

5                Your Honor asked specifically to receive some

6     information about the water issues in this case and so I

7     do want to direct the court's specific attention to some

8     parts of the record.     There's not really any dispute, of

9     course, that the military controlled and directed

10    provision of water for soldiers.       I mean you heard General

11    Sanchez talk about what an essential issue water is to

12    commanding troops in combat.

13               The specific documents that I would point the

14    court to, first of all, these are all described in the

15    defense's statement of facts, particularly paragraph 44.

16    But if we want to walk through sort of how the documents

17    nest, the first thing that happens is you have a task

18    order and by way of a demonstrative, I would point the

19    court to Exhibit 9 within Mary Wade's declaration which is

20    Exhibit 4 to the defense statement of facts and that's

21    Task Order 59 from 14 November 2003.

22               Within that task order, in Section D, Delta, 10,

23    it specifically identifies what you have here on your

24    screen which is TB Med 577 and TB Med 577 is a military

25    guidance document that describes the method of water




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1     production and the method of measuring and evaluating

2     water production and actually in that same paragraph, in

3     paragraph D-10 of Task Order 59, you'll see other

4     performance requirements.      And just again by way of

5     example, it says that the water has to have between three

6     and four parts per million of chlorine per unit.         So these

7     very specific water production requirements, the use of a

8     reverse osmosis water purification unit, for example.           And

9     so Your Honor will see that.

10               And the thrust of the water issue is that it's

11    another example of clear military control.         I mean the

12    commander controls the provision of water for service

13    members.   There's no dispute about that.       Then LOGCAP III

14    at the highest level permits KBR to provide water services

15    for the military.     These task orders turn on those

16    services as you see in Task Order 59 that I just mentioned

17    and then within those task orders or in the related

18    reference documents, KBR is instructed on how to perform.

19    And as you'll see in the defense statement of facts, the

20    military reviewed KBR's performance, evaluated it through

21    the DCMA process we described and KBR was compensated for

22    those services.

23               So it bears taking I think a quick step back to

24    where we started on Thursday morning just to think about

25    the rest of the evidence that has or has not been




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1     presented to this court.      The plaintiffs have conceded by

2     not cross-examining the generals and by not presenting

3     contrary evidence that the military decided to use burn

4     pits.   We heard it in this court.      And so instead they

5     focused their inquiry on contract documents and they say

6     this is where the court should be focused.

7                And again they focus on Section 8.8 and

8     depending on the task order, right, saying that this is

9     where the court should conduct its discerning inquiry into

10    what the contract required.

11               But the inquiry does require a little bit more

12    discussion.    There's been a lot of reference to

13    regulations in this case.      And there are some issues

14    associated with that.     First, LOGCAP III was not a

15    contract that only applied to the contingency environments

16    of Iraq and Afghanistan and you can see that.         Again look

17    at Exhibit 4 for Mary Wade, you'll see the master contract

18    for LOGCAP that's attached there.

19               So the reference to various provisions in that

20    contract don't necessarily implicate the use of that

21    particular provision in Iraq or Afghanistan.         For example,

22    the Overseas Environmental Base Guidance document that you

23    see referenced on top specifically says in Section C-133

24    that it doesn't apply in contingency operations and in

25    hazardous areas and in hostilities, any of which would, of




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1     course, define Iraq and Afghanistan.        Now it might apply

2     to Bahrain or it might apply to Kuwait.        Right?   But it

3     doesn't apply to Iraq and Afghanistan.        And, of course,

4     there's been no evidence, right, no expert, no DCMA

5     commander, no person to say that somehow this rather plain

6     language applies.

7                OSHA, of course, which is also mentioned by

8     plaintiffs doesn't apply extraterritorially with the

9     exception of some of the places mentioned here in 29 USC

10    653(a).   Again, no reason to believe that OSHA somehow now

11    applies in Iraq and Afghanistan merely because it's

12    referenced in a contract that applies much more broadly

13    than Iraq and Afghanistan.      That's also true of RCRA which

14    the plaintiffs have referenced.

15               And I note, too, that there was some reference,

16    Plaintiffs' Exhibit 2002 to the 2009 MNC-I SOP.         That's

17    also slightly misleading because that 2009 MNC-I SOP is

18    not actually ever incorporated into any of the task

19    orders.   That 2006 MNC-I SOP is, but it has very different

20    discussions about burn pits.      So to reference the 2009

21    version and say that it creates a standard when it

22    explicitly was never adopted is misleading.

23               So what witnesses did we hear from and how do

24    they affect the issues before this court?        In the

25    beginning, plaintiffs told you you were going to hear from




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1     from Mr. Robbins.     And, frankly, I'm not sure that what

2     Mr. Robbins had to offer really has much bearing on this

3     court's decision.     If anything, I think the biggest

4     take-away from Mr. Robbins' testimony is that his sighting

5     of a burn pit next to the existing burn pit at Camp Echo

6     is exactly consistent with the process we've been, you

7     know, talking about here for the past 25 minutes, which is

8     that DCMA directed KBR to create a new burn pit.         A KBR

9     site manager senior to Mr. Robbins instructed him where to

10    build it within an 800 by 800 meter box adjacent to the

11    other burn pit, not on this side of the road and then to

12    start performance.

13               Now he doesn't understand the contracting

14    process more broadly.     That's fine.    That wasn't his

15    responsibility.    But taking his testimony at face value,

16    it nests perfectly within the process that has been

17    presented to this court through other witnesses.

18               And, of course, as far as this issue of

19    violations goes, he doesn't actually offer any testimony

20    that KBR committed any violations or breaches of contract

21    because he has no idea what the contract requires.          He

22    just personally subjectively interpreted some of the

23    things being burned to be problematic.

24               You also read I know late into the night, you

25    know, hopefully, with a glass of Scotch or something the




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1     deposition testimony of Mr. Lockhart.        And the take-away

2     from Mr. Lockhart is that Mr. Lockhart is essentially a

3     microcosm for plaintiffs' evidence.       Mr. Lockhart talks a

4     lot about things being burned in burn pits.         But when you

5     drill down on the important jurisdictional issues, he

6     makes two points.     The first is that he's unequivocal that

7     the military owned the use of land on bases.         Right?   They

8     decided where everything went and we got four citations to

9     his deposition transcript here.

10               He also talked about how the military directed

11    him when to operate burn pits.       He had to burn less

12    because of flight operations or burn less because of

13    security reasons.     So again on the issues before this

14    court, on the factual issues that matter to this court,

15    Mr. Lockhart supports KBR's position.

16               And you heard 52 minutes of video testimony from

17    Augusta Fehn.    Again to the main point that I have been

18    focusing on through this factual discussion, she focused

19    on the fact that KBR was following the military's request.

20    Right?   That they worked together, but the goal was always

21    to accomplish what the military wanted to do.

22               She stated again as I've already talked about

23    earlier, the statements of work were the primary document

24    for directing KBR.     And, of course, she had just as no one

25    has had, she had no testimony about somehow KBR not being




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1     authorized to perform burn pits.

2                So it bears brief note that, of course, no

3     witnesses took the stand or, you know, had or deposed that

4     testified to any sort of the key points in plaintiffs'

5     opening.   First, not a single witness from DCMA or from

6     the military or from the supported unit or from KBR came

7     in and said that once a commander's intent is issued, such

8     as General Sanchez saying to operate a burn pit, the DCMA

9     can change that intent.      You did hear from General Vines

10    very clearly that they might come back and say they can't

11    do it and that's fine if the contract doesn't permit that

12    service to be provided.      But you never heard that DCMA

13    could change the commander's intent and have KBR perform

14    something other than what the commander directed.

15               Again, you never heard a single witness,

16    including ACOs and QARs and CORs to come into this

17    courtroom or testify in a deposition that KBR actually was

18    unauthorized to operate the burn pits that it operated.

19               Everybody was consistent about the fact that the

20    military determines land use, right, from the generals all

21    the way on down to Mr. Lockhart at the lowest level.          The

22    testimony is very consistent that the decision on where to

23    locate things on bases is a purely military decision and

24    it makes sense that it's a purely military decision for

25    the same reasons that only commanders can conduct the type




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1     of risk benefit analysis that we talked about earlier.

2                And then this idea that somehow the military's

3     direction on how to operate burn pits applied only to the

4     military and not KBR.     It's a confusing idea and concept

5     because again focusing on the risk benefit analysis, why

6     would a commander have the military using burn pits, for

7     example, when resource constraints are one of the driving

8     factors in that decision and then on the other hand, have

9     KBR shipping incinerators into country running into those

10    same resource problems?      Right?   It would affect the same

11    operation and the same mission.       So bifurcation is not

12    consistent with the method of operation of wars in the

13    contingency environment in the first instance.         But in the

14    second instance, there's just been no testimony or

15    evidence to suggest that somehow the manner in which the

16    military operated burn pits was different than the manner

17    in which KBR operated burn pits.

18               So at the end, this sort of authorization

19    argument just comes down to the idea that the generals

20    authorized the use of burn pits.       Nobody disputes that.

21    DCMA had an obligation to instruct KBR to operate

22    consistent with the commander's intent.        Nobody disputes

23    that.   KBR operated burn pits in Iraq and Afghanistan as

24    instructed by the commanding generals of the coalition

25    forces in those theaters.      Nobody disputes that.




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1                The issue seems to be this idea that somehow

2     when DCMA was instructing KBR to perform, it didn't know

3     that KBR wasn't authorized to operate burn pits or that

4     the hundreds of staff judge advocates in General Vines'

5     staff didn't know that KBR was unauthorized.         That seems

6     to be the implication, but there's been no evidence of

7     that.   The story is much simpler.

8                The evidence that KBR has presented is simply

9     that having evaluated all of the complex factors that have

10    to get evaluated in making wartime decisions, the

11    commanding generals and the Department of Defense elected

12    to use burn pits as an expedient and perhaps messy way of

13    disposing of wastes and they continued to reinforce those

14    decisions for the years and years and years after 2003.

15    And that DCMA tasked KBR in certain instances to operate

16    those burn pits through statements of work and then at a

17    more granular level through ACLs and LOTDs.         That evidence

18    is unrefuted in this case and KBR believes as our

19    colleagues will discuss that when those facts are applied

20    to the law, these cases should be dismissed for the

21    reasons discussed.     Does the court have any factual

22    questions that KBR can answer?

23               THE COURT:    No.   It's very helpful.     Thank you.

24               MR. JOHNSON:    Thank you, Your Honor.

25               THE COURT:    Before your next colleague addresses




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1     the court, I want to acknowledge the presence in our

2     courtroom of a new group of visitors that just came in

3     from Ripon College being escorted by my colleague, Judge

4     Peter Messitte, whose son is president of that institution

5     and that's why we're being watched and welcome, Judge

6     Messitte, and the visitors from Ripon College.         You may

7     proceed.

8                 MR. MATTHEWS:    Thank you, Your Honor.     Judge

9     Messitte.

10                Your Honor, I proceed at my peril in correcting

11    anything Mr. Johnson said.      Perhaps the court has already

12    figured out based on his high and tight, based on his

13    posture, based on his use of words like 24 Charlie and 24

14    Delta, that Mr. Johnson is actually Major Johnson, United

15    States Marine Reserve, who is about to become a judge in

16    the United States Marines I would point out.         So I tread

17    lightly when I correct Major Johnson.        But in fact, Mary

18    Wade was not a 30(b)(6) --

19                THE COURT:   Chief Magistrate Judge Connelly of

20    this court also acted as a military judge.         So he can tell

21    you what you're in for.

22                MR. MATTHEWS:    Thank you, Your Honor.

23                Mr. Russell noted that as we move on to the

24    political question doctrine, which is the issue I'm going

25    to address that the plaintiffs bear the burden of




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1     establishing subject matter jurisdiction.        Major Johnson

2     has just summarized the facts that when combined make it

3     clear that these claims simply are non-justiciable.

4                I thought we would try to break that down, Your

5     Honor, and look at each of the claims that plaintiffs have

6     made and try to sort out exactly how the facts apply to

7     the law.

8                So plaintiffs essentially have made four

9     arguments that I can discern.       The first is that it was

10    KBR and not the military that made all the key decisions

11    regarding waste management and water production.         And

12    second, that the military told KBR what to do, although

13    that sounds like military direction, but not how to do it.

14    Third, that KBR violated the contract and that's what

15    caused the injuries.     And fourth, although a variant of

16    the compliance issue, the violation issue, that KBR

17    operated burn pits without authorization as Mr. Johnson

18    just referred to.

19               So let me first address the key decisions

20    issues.    What are the key decisions?      Interestingly

21    enough, plaintiffs complaint aligns closely with what the

22    Fourth Circuit thought were the key issues.         So

23    plaintiffs' complaint includes the use of the burn pits,

24    the location of the burn pits.       The notion of incinerators

25    and recycling I think is just the flip side of the method




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1     because they're either using one or the other.         And then

2     also plaintiffs allege that KBR burned plastics and other

3     prohibited items.     As I said, that aligns pretty perfectly

4     with what the Fourth Circuit thought were the key issues

5     that would be outcome determinative on the control issue

6     and those were essentially who decided to make the key

7     decisions, who decided to use burn pits, who decided where

8     to locate burn pits.     And as this court knows, the Fourth

9     Circuit concluded more evidence was necessary and so we've

10    gone out and obtained that evidence.

11               And what we have heard over and over again from

12    the witnesses, be they KBR witnesses or witnesses

13    designated by the plaintiffs is that it was indeed the

14    military who made the decision on use, who made the

15    decision on location, who made the decision on

16    incinerators, what would be burned and as you've heard,

17    how all of that was put together through a risk analysis.

18               It is interesting to note, if you go to the next

19    slide, that of these many, many witnesses who spoke to

20    those issues, they fell into two buckets at the end of the

21    day.   The ones who said it was the military that decided

22    and those who said I don't know.       Now among those are

23    both, as I said, KBR and plaintiff witnesses and I did

24    want to point out to the court that of the six witnesses

25    that KBR presented at last week's hearing, Dr.




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1     Postlewaite, Commander Hersh and Mike Mayo, all three of

2     those witnesses were not only presented as witnesses by

3     KBR -- as witnesses on whom KBR relies, but they were also

4     on plaintiffs' list of witnesses on whom plaintiffs rely.

5     So their testimony essentially has been adopted by the

6     plaintiffs.    And they own the testimony from those three

7     witnesses on the method and use issues.

8                 We have witnesses from the general side, if you

9     will, the supported unit side that are reflected here as

10    well as from DCMA and again they concluded either that

11    they didn't know when they didn't know or that it was the

12    military.    None of them said it was KBR.

13                Let's just look at a few of those.       I think at

14    this point I'm going to run through these quickly because

15    I think we've covered this fairly well.        We had General

16    Sanchez who said yep, I issued that order, it came from my

17    headquarters.

18                And then on the next slide, there is actually an

19    important related point.      It not only came from his

20    headquarters, but consistent with this notion that in the

21    era of the all volunteer army, KBR was performing, not

22    just something generally referred to as logistical support

23    services.    That's what it was.     But these were mission

24    critical services and General Vines made clear that

25    without KBR's assistance, this war could not have been




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1     effectively fought.

2                And he's essentially saying in his own words

3     that these were sensitive military judgments because the

4     decision on these critical services was critical to the

5     success of the mission.

6                I had a reference to testimony from General

7     Sanchez.   Actually, Mr. Johnson covered that.        This is his

8     testimony at page 85, line 25 through page 86, line 22 and

9     again at page 88-1 through 19.       I won't repeat all that

10    had been covered, but it is important that to reflect on

11    what he was talking about, health and welfare, security,

12    the pace and tempo of the war, the realities of the war,

13    the counter-insurgency, the risks of putting a landfill

14    outside the wire because every time you step outside the

15    wire, it was a combat mission.       The use of resources for

16    one purpose degrading the ability of the army to fight and

17    to deploy combat resources and so on.        So all of that

18    testimony I think has been fairly captured.

19               Another point that's been made is this issue

20    about the base footprint and who got to decide what went

21    there.   We heard both from General Sanchez.

22               Interestingly enough, Mr. Singleton, KBR

23    employee, talked just from personal experience about

24    participating in base camp planning processes and sitting

25    and listening with his security clearance to the military




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1     discuss as they were about to expand I think it was

2     Salerno -- it is Salerno -- what was going to go where,

3     where in the expanded base various services would go.          I

4     think the court has heard substantial and compelling

5     testimony on that issue.

6                And then another issue that we've addressed --

7     and I have to admit when I saw this this morning that the

8     highlighting is not necessarily in the right place -- but

9     Dr. Postlewaite was asked are there policies, D.O.D.

10    policies, about what can and cannot be burned in

11    contingency environments and he said absolutely D.O.D.

12    issues those policies.     And when I asked him were they

13    theater-wide, he said yes and then he corrected himself.

14    He said they apply internationally.       So we see each of

15    these key decisions, method, method used, incinerators

16    versus burn pits versus landfills, location, what

17    substances could or could not be burned.        In each and

18    every case, these quintessential military decisions that

19    are critical to the engagement and prosecution of the war

20    that were made on the basis of risk considerations, both

21    health and operational risk considerations were made by

22    the military and that testimony is uncontroverted.

23               Turning to what the plaintiffs have to offer on

24    these points, they largely abandon their prior witnesses.

25    You heard I think from Mr. Razi at the opening about the




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1     seven witnesses that were identified in the Fourth

2     Circuit's opinion.     Five of whom did not reappear in the

3     current proceedings and two of whom at the end of the day

4     did not offer testimony that essentially asserted that KBR

5     was responsible for decisions on methods or on location.

6     And this can't be overstated because the Fourth Circuit

7     really did zero in on what it characterized as contrary

8     evidence that this court in the view of the Fourth Circuit

9     should have considered more carefully and yet, here we are

10    on remand and none of that contrary evidence is now before

11    the court.    The plaintiffs have failed to produce

12    so-called contrary evidence.

13                Mr. Johnson did cover -- I was going to say

14    something about the witness the court did hear from.          I

15    think Mr. Johnson covered that.

16                But in general, there's nothing to refute the

17    generals.    There's nothing to refute Dr. Petraeus.        There

18    is no evidence that has been brought on through documents,

19    through direct examination, through cross-examination that

20    challenged the fact that only the military could fund and

21    bring incinerators into theory, that challenged the notion

22    that there was no recycling facilities available or that

23    challenged the notion that if you go outside the wire,

24    you're on a combat mission.

25                I do want to focus on one remarkable development




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1     that did occur.    And if we go to the next slide?       It

2     appears plaintiffs have abandoned their claim that KBR

3     chose the location.     This is not a small point because in

4     fact from the first complaint filed in 2008 right through

5     the master complaint, the allegation that KBR was

6     responsible for choosing the location of burn pits, which

7     is a critical issue when we think about what the, you

8     know, exposures may have been as a result of placing a

9     burn pit in the right or wrong location, it has been, you

10    know, bedrock plaintiff allegation that it was KBR.           The

11    Fourth Circuit thought that was a pretty important issue.

12    It picked up on that and identified it as one of the

13    issues that needed further discussion, that needed further

14    discovery in fact.

15               Plaintiffs' opposition to KBR's motion to

16    dismiss, this comes in in I believe in early February in

17    response to KBR placing -- in response to KBR's position

18    that it was the military, the plaintiffs have placed that

19    issue of location into dispute.       And as recently as the

20    prehearing conference order in late February, plaintiff

21    said nope, KBR made the decisions challenge in this case

22    and certainly one of those is the location decision.

23               We've now included on this slide, Your Honor,

24    the statement from counsel from last week calling this a

25    red herring issue.     It's not a red herring issue, Your




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1     Honor.    It has been a core allegation of plaintiffs since

2     day one and now like their witnesses, it's gone.         I think

3     we are entitled to proceed on the understanding that

4     plaintiffs have withdrawn their allegation that KBR was

5     responsible for locating burn pits at forward operating

6     bases.

7                So in lieu of actual evidence on these key

8     points, plaintiffs have attempted to erect an alternative

9     universe, how the military operates on a forward operating

10    base, that is.    The two silo theories we heard.       That you

11    have the commanders and you have DCMA.        Again and I think

12    I heard something like, you know, when it comes to making

13    waste disposal, the decisions, it's not up to them.

14    Mr. Johnson covered all of that.       It's clear that they're

15    not two silos.    DCMA has part of the military.       And to be

16    sure, commanding generals can make battlefield decisions.

17               DCMA is a conduit.     If we go to the next slide?

18    Again I think we've seen some of this testimony already.

19    But we've made the point again and again that DCMA are the

20    conduit.   They implement the commander's intent.        It's not

21    a separate mission.     It's the same mission.      I think we

22    had additional testimony on this point.        And I think we've

23    seen that before.     DCMA cannot change the commander's

24    intent.

25               All right.    And I guess I would point out




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1     finally in this regard, Your Honor, that it is true that

2     DCMA is in the military.      So if in fact the decision were

3     made by DCMA and if in fact, DCMA directed KBR to do or

4     not do certain things, that's military direction.          And the

5     question is from the Fourth Circuit is was there control

6     by the military?     So even under plaintiffs' theory however

7     incorrect it may be about DCMA acting as a silo, that is

8     military direction.

9                So let me summarize what we have so far on these

10    key decisions.    Plaintiffs have alleged KBR negligently

11    made key waste management decisions.        The Fourth Circuit

12    said those are going to be outcome determinative of the

13    PQD control test.     KBR has presented overwhelming and

14    essentially uncontroverted evidence that the military made

15    each and every one of those key decisions.         Plaintiffs

16    so-called contrary evidence has disappeared.

17               So based on those, I think there are some

18    inevitable legal conclusions that bear directly on the

19    issues under the political question doctrine.         If

20    plaintiffs assert that KBR made the key decisions

21    negligently, if the evidence demonstrates that the

22    military made those key decisions, then in fact plaintiffs

23    are challenging military decisions.       That, of course, is

24    impermissible under the political question doctrine.

25               And let me just say one more thing before we go




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1     to the red slide.     This irrefutable conclusion brings down

2     the hammer of the political question doctrine because the

3     court has to consider how KBR would try this case based on

4     those facts.    It's clear KBR will cite to the overwhelming

5     evidence that it was the military that made the allegedly

6     negligence decisions, which in turn would require multiple

7     trial courts to sit in judgment and to second guess these

8     sensitive military judgments.

9                So I would submit, Your Honor, right now -- I

10    love the metaphor of "the hammer falling" because that

11    fact is now in this case.      It's now and forever in this

12    case.    It cannot be extricated from this case that there

13    is a separation of powers problem.       That there is a

14    conflict if the judiciary starts to second guess military

15    decisions as it would have to do under the facts that are

16    clear.    And on this basis alone, it's clear that

17    plaintiffs have failed to meet their burden under Section

18    12(b)(1) and therefore, these cases must be dismissed.

19    And I don't know about your Latin background, Your Honor,

20    but where I come from, we call that QED.        It is thus.

21               I do want to say a word because this is an often

22    overlooked aspect of the political question doctrine.

23    Although in fact it was the very first question Your Honor

24    posed on Friday afternoon, late on Friday afternoon and

25    that is the question of the Taylor Factor 2, the national




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1     defense interest question.      That is whether national

2     defense interests are inextricably intertwined with the

3     key waste and water services that are at issue here.          And

4     as to that, Your Honor, I actually think this is a pretty

5     straightforward issue.

6                General Ricardo Sanchez was asked was KBR work

7     in your estimation important to the war effort.         Not just

8     important says he, it was absolutely essential and a key

9     component of our readiness and capacity to win.         And

10    General Vines reflected very similar thoughts.         I think

11    this is the same as the quote I had earlier, that "the

12    services provided by KBR were critical" and he includes

13    specifically both waste and water and we couldn't have

14    done this without them.      I think the question of whether

15    these national defense interests are intertwined with

16    those services has been answered directly and conclusively

17    by the generals.

18               So let me turn now to the second argument.         You

19    will recall, Your Honor, I said that we discern four

20    claims by plaintiffs.     The first being the key issues

21    which we've now addressed.      Let me turn to the so-called

22    what-not-how argument that plaintiffs have made and they

23    have made that repeatedly again in the history of this

24    case.   It's an important issue.      The Fourth Circuit

25    mentioned it as well.     But the evidence makes clear at all




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1     levels that in fact the military told KBR not only what to

2     do, but how to do it at the very broadest levels, for

3     example.    At the very broadest levels where if you look at

4     how LOGCAP III was structured, you see that the military

5     decided which services KBR would provide.        They decided at

6     which bases KBR would provide those services.         And at any

7     given base, take burn pits as an example or even the

8     ROWPUs, the water ROWPUs as examples.        You will find some

9     bases where the military is performing those services and

10    others where KBR is performing those services and rest

11    assured, Your Honor, it was the military that made that

12    decision.

13                We heard testimony from the generals.       We heard

14    testimony I think from Roger Singleton regarding this

15    issue that the military controlled the movement of men and

16    material in theater.     So at the very broadest levels, KBR

17    is being controlled by the military.

18                Sort of an intermediate level is at the key

19    decision level and on the key waste decisions -- I don't

20    want to be too redundant here -- but we see, of course,

21    that the military made the key decisions on use.         They

22    continually re-assessed and reaffirmed that determination,

23    location and the plastic water bottles issue.         And indeed

24    on incinerator, they made all of these decisions.

25                Let me just -- I'm going to go on to the more




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1     granular level of control, but let me just make this

2     observation.    On waste management, the military didn't

3     just say to KBR, conduct waste management.         It said to KBR

4     use burn pits.    On water, the military didn't just say

5     produce water.    The military said follow TB Med 577 where

6     you will find that the method of water production is these

7     reverse osmosis water purification units or ROWPUs.          So we

8     have a level of -- a degree of control that I think

9     already meets what the Fourth Circuit was looking for, but

10    indeed, the level of control is much more granular.

11               So if we go to that next level, we find control

12    through the contract directives.       Again, Mr. Johnson went

13    through this at length.      The operative points that I

14    wanted to take away and if the court recalls that nice

15    circle with weaving colors, you will recall that the

16    military was involved in the contracting process at

17    multiple steps along the way.

18               The process started with the supported unit

19    deciding what its needs were.       Critically, the military in

20    several places along that pathway decided whether it

21    agreed with the cost estimates that were provided and if

22    it didn't, that's an exit ramp.       And more importantly, the

23    military had to decide through these acronyms, JARB and

24    CARB, these acquisition review boards whether funds were

25    available.    And make no mistake, there were times when




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1     that was an exit ramp because the funds weren't or

2     somebody figured out let's not let the contractor do that,

3     let's let the military do that instead.        All of those were

4     control decisions being made by the military.

5                So we also find that the military was

6     responsible for conducting health assessments to re-assess

7     and potentially reaffirm the decisions that it makes, the

8     directions that it gave.      And in that regard, we had

9     multiple testimony.     We had Dr. Postlewaite, who made

10    clear that there were policies that required commanders at

11    the base level to follow through on these health

12    assessments and that this was a non-delegable

13    responsibility.    We had Dr. Postlewaite testifying further

14    that in fact that testing was done.       That there was

15    extensive air quality testing performed by the military,

16    assessed by the military and decisions taken on the basis

17    of those tests and their results and he indeed informed

18    the court regarding the extensive test and the

19    comprehensive testing that was done at Balad where they

20    took a long, hard look at the question of whether burn

21    pits were posing health risks.       And at the conclusion of

22    that, the military continued to direct the operation of

23    burn pits.

24               We've talked also about the oversight.        I think

25    Mr. Johnson covered this in some depth.        I'll just throw




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1     up one slide that reflects the fact that Mr. Singleton who

2     was at multiple bases if the court will recall, that he

3     was in Afghanistan at several bases and in Iraq at several

4     bases covering really almost the entirety of the period in

5     question here.    And he talked about the process.       Then he

6     said yes, there were times when the auditors, be they DCMA

7     or the supported unit technical representatives would say

8     we have found something that we want to talk about.          We're

9     not happy about it or we think that there is a different

10    or a better way.     Some of that was kind of a informal

11    process of resolving the issues.       But there was a very

12    formal process.    When the military decided we are not

13    pleased with the way KBR's performing a particular

14    service, they would issue a formal document.         It's called

15    a Corrective Action Request and those would all have to be

16    addressed and resolved.      And what Mr. Singleton said and

17    others in deposition testimony have said, yeah, if we got

18    a C.A.R. from DCMA, we resolved it.       We had to do what the

19    customer wanted.     And if we heard from DCMA that we needed

20    to change, we did.

21               And then finally, Your Honor, on this sort of

22    this granular level, you heard and saw evidence on the

23    award fee process and the military used the award fee

24    process to ensure that KBR was performing in a manner that

25    met the military's needs.      All of this from the key




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1     decisions to the most broadest level of decision making on

2     what surface to the key waste decisions and water

3     decisions down to this granular level represents a

4     pervasive level of control by the military over KBR's

5     performance of waste and water services.        And I think

6     indeed, Your Honor, that meets the Fourth Circuit's

7     concerns on those issues.

8                Plaintiffs have thrown this what-not-how

9     argument and they show a document here or there.         But they

10    kind of fall back on the very kind of semantic cataloging

11    that the courts have said is not the appropriate way in

12    which the political question doctrine issues should be

13    addressed.    They said look at the contract.       Look at the

14    army manuals.    Yes, of course, they're relevant.       But

15    plaintiffs would have the court look at these high level

16    documents and say therein lies the answer.         Well, it

17    doesn't.   What they don't want to look at what was

18    happening on the ground.      So they would say, for example,

19    that the very fact you have claims based on whether a

20    contractor has complied with this contractual duty does

21    not implicate a political question.       Well, if the mere

22    claim that a contractor violated its contract were enough,

23    none of these contractor on the battlefield cases

24    including this one would require district court much less

25    appellate review.     I think Mr. Russell covered that at




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1     length.

2                Plaintiffs would say, well, KBR is not part of

3     the military chain of command.       Well, that's true.     It's

4     true by statute.     If that were a determinative factor, why

5     are we here, why did we go through discovery?

6                They would say well, if KBR is serving as a

7     force multiplier, can't be under the plenary control of

8     the military.    Well, that's nonsense.      You know, in

9     Carmichael, we were driving convoys.        We were a force

10    multiplier.    That simply is not a real legal standard.

11    It's made up.    And there's others that are not on this

12    slide.

13               The notion that KBR's responsible for

14    supervising its employees and its subcontractors, how can

15    that possibly be outcome determinative or even relevant?

16    And I think Mr. Russell quoted at length from Carmichael

17    and there was a great quote about the fact that the fact

18    that the driver had some control over the wheel doesn't

19    mean that the military wasn't controlling that function of

20    providing convoy service.      That that service just like the

21    burn pits, just like the water service is pervaded by

22    sensitive military decisions and as a result, any

23    consideration of those issues has to be looked at at that

24    granular ground level and not left simply to this kind of

25    semantic cataloging.




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1                All right.    There's two issues left.      One will

2     be real quick.    The third issue that I identified at the

3     outset was the violations issue, what plaintiffs have

4     repeatedly called the central tenet of their claims, the

5     core of their complaint.      As often as plaintiffs have

6     tried to bring forward that issue, equally often has this

7     court said since the CMO that Mr. Russell referred to not

8     for today.    That's for another day.

9                And I just want to make the point that this

10    wasn't an arbitrated decision by the court.         There is a

11    good reason for excluding the so-called violation issues

12    because as noted on the previous slide, this by itself,

13    claims that a contractor violated its contract rendered

14    contractor on the battlefield cases justiciable, well,

15    this court and these litigants have been wasting an awful

16    lot of time and money if that were true.        And it's also

17    true that when you think about it and maybe this was the

18    point Mr. Russell was getting at.       But I'll put it my way,

19    it turns the concepts of threshold jurisdictional issues

20    on its head.    I think this is the way it goes.       In order

21    to determine whether the court has jurisdiction to

22    adjudicate the merits of a case, the court must first

23    adjudicate the merits of the case.       So the third issue of

24    being violations, we'll move past that.

25               The fourth issue that I identified, Your Honor,




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1     at the outset I think this completes plaintiffs' claims is

2     the question that Mr. Johnson addressed in part about

3     whether KBR operated without authorization, indeed in some

4     of the writings, it is stated that KBR operated without

5     the knowledge or authorization of military personnel.          And

6     again in part it's because if I can't show you this

7     document that absolutely makes clear that I'm authorized,

8     it means per force that I'm not authorized.         Unsupported,

9     contrary to the evidence.      We've shown the documents.      And

10    Mr. Johnson explained that, yes, at some bases, we have

11    these contract directive documents.       At other bases, we

12    have the task orders.     As the wars dragged on, there were

13    new and expanded services and there, you're more likely to

14    see a new contract directive document.

15                So I feel we've got a forest-in-the-trees

16    problem here, Your Honor.      Yes, it's probably true there's

17    not a specific document for every single burn pit that KBR

18    operated.    Doesn't mean that there isn't a broad contract

19    document, but there's not one for a given base camp.          I

20    would point out it was a war.       I would point out that

21    every document that was generated be it by KBR or by the

22    military did not necessarily survive the heat and

23    degradation of the environment, the missile attacks that

24    you heard testimony about.      But more than anything else,

25    Your Honor, talk about red herring issues, let's just step




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1     back because first of all, we have witness testimony

2     supporting the notion that we were authorized.         And I

3     think as Mr. Johnson just pointed out, there is a lack of

4     testimony coming from plaintiffs to the contrary and we

5     can't overlook this issue because isn't it clear, Your

6     Honor, that if in fact KBR was operating without

7     authorization, the indirect evidence, there's not a

8     document, that's where plaintiffs would come from.

9                I would have thought plaintiffs would have

10    brought to this court hard evidence, a witness that they

11    would rely on.    They were allowed to bring 20 witnesses.

12    They only relied on 19.      Not one has come forward and said

13    KBR operated without authorization.       And I would think

14    that if, you know, there's almost a decade, there's two

15    war theaters, somewhere out there in all the places they

16    said we operated as sort of a rogue operation, somebody

17    would have come forwarded and said, yes, I saw it, KBR was

18    acting without authorization.       Not a single commander.

19    Not a single battlefield soldier said so.        And it's no

20    surprise, Your Honor, because it simply is not true.

21    There is no evidence to support that baseless allegation.

22               And I have to say there is a dollop, a large

23    measure of common sense that I would bring to all of this.

24    I would say, Your Honor, that reflecting on plaintiffs'

25    allegations that we operated burn pits and they were open




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1     and notorious and that flames billowed hundreds of feet

2     into the air says they in their complaints.         Plaintiffs'

3     hypothetical is that these burn pits that were operated in

4     plain sight, that were clearly visible nevertheless went

5     unnoticed by the base commanders and by the mayor cell.

6     They went unnoticed by the ACOs and the QARs and the CORs

7     who failed to make a connection between the monitoring and

8     auditing they were performing of these services and the

9     fact that KBR was not authorized to do it.         Mr. Johnson

10    showed you the form that was used by the inspectors at

11    whatever frequency that said -- that had checklists about

12    all of this.    Somehow they failed to make this connection.

13    This notion that the absence of documentation means

14    something is a fact-free conceit that lawyers have

15    concocted to try to explain away the obvious point that

16    KBR was given military direction.       There is no factual

17    support and there is no legal support.

18               Let me tie, Your Honor, all of that back to a

19    few core political question doctrine points.         It bears

20    repeating as Mr. Russell said that this is a very unique

21    case.   Actions and policies at issue across two broad war

22    theaters, almost a decade of active war and hostilities.

23    This case is like no other.

24               It also bears repeating that plaintiffs have had

25    access to an extraordinary volume of evidence that is




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1     before the court involving contract documents and emails

2     and so on.    And despite that massive volume of evidence,

3     plaintiffs have not brought forward any evidence that

4     would support their burden of establishing subject matter

5     jurisdiction.    These evidence-free allegations and these

6     precedent-free legal theories are not a substitute for

7     evidence.

8                 And finally, to round out this analysis,

9     plaintiffs have wholly ignored the principles of the

10    separation of powers.     They ignore how this case would be

11    tried.   They ignore the tremendous burden that would be

12    placed on the military if these cases were to proceed to

13    trial.   We've had dozens of military witnesses deposed and

14    brought to testify on the threshold issue.         Imagine what

15    that number would be if they were required to testify at

16    multiple cases around the country.       And they avoid the

17    obvious point that they are in fact challenging military

18    decisions.

19                Plaintiffs argue, well, you know, KBR was doing

20    all these violations and the problem was that DCMA wasn't

21    doing its job well.     That itself is a political question

22    doctrine problem.     They are criticizing the military which

23    after all is what DCMA is.

24                Your Honor, I think at the end of the day, there

25    can be no question that just looking at the political




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1     question doctrine alone at the 12(b)(1) motion that we

2     have filed and at plaintiffs' burden, that plaintiffs have

3     failed to sustain that burden.       These cases are indeed

4     non-justiciable under the political question doctrine.

5     Thank you, Your Honor.     Pleased to take on any questions.

6                THE COURT:    No.   I'm fine.

7                MR. MATTHEWS:     Your Honor, I may have failed,

8     Your Honor, and I apologize, to hand up the slides.

9                THE COURT:    Okay.   Hand them up.     I think I got

10    them.   Do you have -- anybody else going to be presenting

11    arguments at this point?

12               MR. RUSSELL:    Yes, Your Honor.

13               THE COURT:    You're going to present them after

14    we take a 15-minute recess.

15               MR. RUSSELL:    Absolutely, Your Honor.

16               THE COURT:    All right.    Thank you.    And ignore

17    that clock.    It will be 11:25.

18               (Recess.)

19               MR. RUSSELL:    Thank you, Your Honor, and I've

20    got some slides here which I can pass up if I may.

21               THE COURT:    Okay.

22               MR. RUSSELL:    And, Your Honor, I want to turn

23    now to our argument on combatant activities preemption.            I

24    intend to be as brief as possible.         I recognize that we've

25    been taking up a lot of the court's time this morning.




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1     And so I may not cover each of these slides.         But I do

2     want to cover the main points relevant to our argument.

3                And, Your Honor, where I would begin with is the

4     Fourth Circuit opinion and the notion that our preemption

5     defense is a very broad one.      The rule of law adopted by

6     the Fourth Circuit is a broad preemption rule.         And I

7     would submit that the reason why this is a broad

8     preemption rule is that the issue properly described is

9     not really one of removing state tort law from the

10    battlefield.    It's really one of whether to inject state

11    tort law principles to the battlefield because this is an

12    arena as reflected in these quotes from the Fourth Circuit

13    opinion where there is no history of state tort law

14    existing and regulating conduct on overseas battlefields.

15    There is no history of the activities at issue in these

16    suits being subjected to state tort law concepts.

17               And so we get to further on in the Fourth

18    Circuit opinion, what is the measure of integration and

19    control?   We've covered this.      It comes down to whether

20    these activities stem from military commands.         And so the

21    question as we've distilled it here really comes down to

22    the degree of control and the extent of immigration.

23    These are related concepts as the Fourth Circuit opinion

24    recognizes.    And again, if we're asking the question

25    whether or not these challenged activities stem from




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1     military decisions or from the sole discretion of KBR, the

2     obvious starting point is what are the challenged

3     activities?    We know these well.     They are the use of burn

4     pits, the location of burn pits, whether to bring in

5     incinerators, the use of recycling services, the burning

6     of plastics.    Those are the challenged activities.

7                And very quickly, Your Honor, this is very clear

8     from the record before this court, there is no genuine

9     dispute.   The military made all the key decisions, all of

10    the conduct at issue, all of the challenged conduct stem

11    from quintessential military judgments.        That includes the

12    decisions related to burn pits as well as the decisions

13    related to the manner and methods of processing water as

14    Mr. Johnson and Mr. Matthews alluded to.

15               I have some slides that summarize as key

16    evidence on these points.      I think at this stage, Your

17    Honor, these points are very well established.         You've got

18    it in the slide deck and I'll just flip through these very

19    quickly.

20               And I want to get to -- given that I think that

21    the evidence is so clear that the military made these key

22    decisions and so clear that the challenged conduct stems

23    from these quintessential military judgments, I want to

24    get to the arguments that the plaintiffs raised in

25    opposition to our motion.      The first one which has already




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1     been dealt with here today is that KBR had no

2     authorization.    And the entirety of the plaintiffs'

3     evidence on this issue, Your Honor, is their allegation

4     that there is a lack of documentation.        There is nothing

5     else.   There is undisputed testimony.       There is testimony

6     in this case from generals, from contracting officers,

7     from the Defense Contract Management Agency itself.          Not a

8     single witness has supported this notion that KBR was

9     performing unauthorized burn pits.

10                What we have here I think Mr. Matthews described

11    it quite well as creative lawyering a decade after the

12    fact.   It is a post hoc unilateral contract interpretation

13    that has no support in the record.       And I would note, Your

14    Honor, when it came to the time for the plaintiffs to tell

15    this part of their story, what we heard, Your Honor, was

16    argument from counsel, not testimony from any witness.

17                Moving next to the -- another argument that the

18    plaintiffs raised in opposition to our preemption defense,

19    they argue that this contract was a performance-based

20    contract.    And on that ground, they say by definition, our

21    preemption defense doesn't work.

22                And I want to go back to the derivation of that

23    argument which is in the Saleh decision.        And if you read

24    Judge Silverman's decision in the Saleh decision, you'll

25    see that he wrote that there might be circumstances.          He




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1     was somewhat dubious of this.       But he said we recognize

2     that there might be a circumstance where a service

3     contractor is supplying services in such a discreet

4     manner.   He said perhaps even in a battlefield context.

5     Such a discreet manner that those services could be judged

6     separate and apart from combat activities of the U.S.

7     military.

8                 And according to the D.C. Circuit, a contractor

9     does not -- would not be entitled to the preemption

10    defense if what's going on in the lawsuit is that the

11    plaintiffs are challenging the sole discretion of the

12    contractor rather than the government's discretion.          Your

13    Honor, whatever application that potential exception to

14    the broad preemption rule has it's not here.         Here what we

15    have is a clear case in which KBR's services could not

16    possibly be judged separate and apart from the military's

17    wartime decisions.     What we have here is plaintiffs

18    directly challenging sensitive military judgments.          So we

19    would submit that whatever application this exception to

20    the broad Saleh rule has, it cannot be here.         It cannot be

21    with this massive record showing the pervasive military

22    decisions and judgments that both control KBR's conduct

23    and pervaded all aspects of the claims here.

24                Your Honor, this has been touched on, but I want

25    to address it again.     The notion that plaintiffs can




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1     defeat our preemption motion by establishing that KBR is

2     not in the chain of command.      Quite simply, that's not the

3     standard and the easiest way that we know that this is not

4     the standard is by looking at the Fourth Circuit opinion

5     which has already rejected this argument.        So says the

6     Fourth Circuit, even if government contractors can't

7     qualify as combatants, this fact is irrelevant.         The Saleh

8     test does not require private actors to be combatants.

9     And this is something of an obvious point if you think

10    about it because by law, no contractor is in the chain of

11    command.   If the Saleh court was intending to create a

12    broad preemption rule applicable to government contractor

13    activity, it would make no sense that they would require a

14    contractor to be something that by law, it could not be.

15    So that's simply not the standard.

16               Moreover, Your Honor, and I think I've alluded

17    to this, the plaintiffs' proposed exception, this notion

18    that because KBR cannot receive direct orders from a

19    military commander because KBR is not technically in the

20    chain of command, if that were the -- an exception to the

21    rule, it would apply --

22               THE COURT:    They're not in the military base

23    chain of command.     The actual base.

24               MR. RUSSELL:    I'm sorry, Your Honor?

25               THE COURT:    The KBR personnel are not in the




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1     direct chain of command of the forward operating base

2     commander.

3                MR. RUSSELL:    Correct, Your Honor.

4                THE COURT:    I understand that.     I think what

5     you're making a point is is that there's multiple chains

6     of command.    It doesn't have to be that particular chain

7     of command.    These people with the contracting authority

8     are giving orders.     I mean they are --

9                MR. RUSSELL:    They are certainly giving

10    directions to the contractor.       There is a term of art out

11    there of giving orders and by law, a contractor, a

12    civilian cannot receive an order from a military person.

13    But in effect, as Your Honor alluded to, the military

14    person, whether it's the contracting officer or if it's

15    General Sanchez through the contracting officer is

16    affecting the commander's intent, affecting the

17    commander's orders through those channels.         And if it were

18    the case that a contractor had to be in a position of

19    receiving direct orders as that term of art is used, that

20    that rule would eviscerate this defense because no

21    contractor by law can receive an order.        But as you

22    indicated, Your Honor, they certainly do receive

23    directives including, you know, most relevant here, the

24    direction to use burn pits.

25               THE COURT:    Those are directives from military




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1     in the contracting office.

2                MR. RUSSELL:    Those are directives from

3     militaries in the contracting office who are effecting the

4     intent of the military commander.       And so as Mr. Matthews

5     alluded to, one, this is just a conduit through which the

6     operational commander is conveying his order.         And, two,

7     the contracting personnel, the DCMA, the Rock Island Army

8     Sustainment Command, they are all part of the D.O.D.

9     They're all part of the military.       There's only one

10    mission here.    The contracting official who's giving those

11    directions has no business changing the commander's

12    intent.   If the commander says burn pit, there's no

13    authority to change that at the contracting level.

14               And so, Your Honor, just to getting back to this

15    notion that their exception was follow the rule, the

16    plaintiffs' counsel has acknowledged that these rules that

17    they say render our preemption defense nonapplicable,

18    these are facts that apply in all government contracts.

19    They apply to every situation where the government is

20    going to use a contractor.      So if adopted, as we state

21    here, their argument would really render this supposedly

22    broad preemption rule that the Fourth Circuit has

23    emphasized is broad, a nullity.

24               Your Honor, I think we've addressed many of the

25    core points supporting our preemption argument already and




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1     I want to turn to a few that haven't really been given as

2     much attention in the brief, but are nonetheless relevant.

3     The first is the litigation burden on the military and

4     this was a matter that the Fourth Circuit identified as

5     relevant to the preemption analysis.

6                 The Fourth Circuit said hauling government

7     contractors into court in proceedings that would question

8     military decisions, that's going to distract government

9     personnel from their tasks.      This is not a small thing.

10    In this case, Your Honor, through jurisdictional discovery

11    alone, we've seen depositions of 25 military personnel.

12    We've seen multiple Rule 30(b)(6) depositions taken of

13    government agencies.     We have seen extensive document

14    discovery against the United States government.

15                If these cases were allowed to proceed, it would

16    place an enormous burden on the government.         Moreover,

17    what would happen is that this private litigation would

18    effectively divert vital resources otherwise committed to

19    our national defense to litigating a private tort case.

20    And while we think that may not be the most important

21    reason why these cases are preempted, it is certainly a

22    data point.    It is certainly something that the Fourth

23    Circuit indicated that should be considered in the

24    analysis.

25                I have a final set of slides here.       I think one




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1     or two more.    And the first one is simply to point out

2     that preempting these lawsuits, keeping state tort law off

3     the battlefield does not leave the plaintiffs in this case

4     without remedies.

5                Now we obviously have disputes about causation

6     injuries, anything like that.       But the simple point here

7     is plaintiffs, veterans, contractors serving oversees,

8     they have -- the political branches of our government have

9     in place remedies for those individuals to the extent that

10    they have sustained injuries.       And in fact, as Your Honor

11    may be aware, there is congressional attention to these

12    matters.   There is a burn pit registry out there.         The

13    political branches are doing their job.

14               THE COURT:    There were bills introduced in

15    Congress in February.

16               MR. RUSSELL:    Yes, Your Honor.

17               THE COURT:    Bipartisan bills in both the Senate

18    and the House.

19               MR. RUSSELL:    And that, Your Honor, I would

20    submit is the political branches of our government doing

21    their job and overseeing these matters as they should.

22               And likewise, it is not as if in the absence of

23    state tort law, KBR's conduct goes completely unregulated.

24    It's not the Wild Wild West.      There are many, many

25    mechanisms.    There is an entire regulatory regime that KBR




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1     is subjected to that includes contractual, civil,

2     administrative and even criminal law sanctions where

3     appropriate.

4                And I think this is a really important point,

5     Your Honor.    There is no evidence, zero evidence in this

6     case that the military chose to utilize any of those

7     mechanisms to reprimand or remedy any of the challenged

8     conduct here and I think that only underscores how

9     inappropriate it would be for a court for the judicial

10    branch, for a state through its tort law to come in and

11    try to second guess and inject their standards on the

12    conduct at issue.     It's really a second level of a

13    political question.     It's really a second level of an

14    offense to federal interest because not only are

15    plaintiffs seeking to scrutinize the military decision to

16    say use burn pits, but they're also seeking to scrutinize

17    the military decision to sanction, authorize, approve and

18    commend KBR's services in that regard.

19               And at the bottom here I'd just note that this

20    is not an idea I came up with on my own.        This is in fact

21    language that comes from the Fourth Circuit's opinion

22    wherein it noted that allowing these claims to proceed

23    could interfere with the federal government's authority to

24    punish and deter conduct by its own contractors.         In other

25    words, let the military regulate the conduct on its own as




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1     it sees fit.

2                And my last slide, Your Honor, is just to

3     speculate on what the world would look like if the

4     plaintiffs could successfully inject state tort law in

5     this arena.    And what we would have is we would have a

6     duty for contractors to overrule the military's chosen

7     waste method.    We would have a state or a non-federal duty

8     for contractors to decide the best location for burn pits

9     on military bases.

10               You heard from the commanders.       That would

11    render the military effectiveness, it would really not

12    just hamper it, it would be incredibly detrimental to the

13    military's effectiveness in choosing how to wage war.          We

14    would have a duty for contractors to say, you know, we

15    appreciate that you don't want incinerators, but we're

16    going to bring them in any way and you're going to have to

17    pay for them.    It would institute a duty for contractors

18    to refuse burning items, such as plastics despite military

19    direction to do so in the midst of a war.

20               And at its core what this case would require if

21    these duties existed would be for private contractors

22    performing essential functions for the military inside

23    active war zones to pick and choose when a state or a

24    non-federal duty required it as a contractor to go around

25    and warn these soldiers about battlefield risks, risks




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1     that their commanders deliberately considered and

2     accepted.    And, Your Honor, we submit that that world,

3     that world does not exist.      It should not exist.     These

4     claims at their core seek to impose standards, state tort

5     standards onto conduct that stems from and in some

6     instances is in fact sensitive military judgments.          And,

7     Your Honor, we don't think that state tort law has any

8     role there and we submit that these suits are preempted.

9     I'm happy to answer any other questions.

10                THE COURT:   No.   Thank you very much.

11                MR. RUSSELL:   My colleague, Mr. Razi, has a few

12    concluding remarks to make.

13                THE COURT:   All right.

14                MR. RAZI:    Thank you, Your Honor.

15                As you can see from the thorough presentations

16    by my colleagues and the presentations over the course of

17    the last several days and indeed the extensive briefing

18    and factual submissions that have been made prior to this

19    hearing, these cases are extremely important to KBR.          I'm

20    sure they're important to plaintiffs and their counsel,

21    too.   But they are exceedingly important to KBR.

22                KBR is being accused here not by the government,

23    not by the military, but by plaintiffs and their lawyers

24    of failing to live up to its obligations to the military.

25    Serving the military is at the very core of KBR's mission.




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1                The evidence shows that KBR did that here.         KBR

2     served the military.     It acted in accordance with military

3     directives, including directives that were made and that

4     we heard about in this courtroom literally in the heat of

5     battle, in the throws of war.       KBR and its personnel

6     suffered more than 1,000 casualties doing this work with

7     the military.

8                We want to thank the court for the care and

9     attention that it has devoted to these cases, including

10    during the course of the last several days.

11               While KBR may have wished earlier in the

12    proceedings that the discovery had been less costly, less

13    burdensome, less intrusive than it was and than the court

14    ordered, I think it is fair to say that all the parties

15    and all of us now benefit from the full and complete

16    record that has been developed based on the instructions

17    and the orders of this court.

18               With all the documents, six million pages or so

19    and all the witness testimony from dozens of witnesses

20    that has been developed in response to this court's

21    orders, we, all of us, can now reach conclusions with

22    confidence.    Matters that may have seemed intuitive four

23    years ago, may have seemed to be matters of common sense

24    at the outset of these cases have now been established by

25    literally overwhelming evidence.




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1                 The plaintiffs' claim to the Fourth Circuit that

2     there was evidence that KBR was the one, not the military

3     that decided to use burn pits.       All of the documents and

4     all of the testimony emphatically refute that claim.          So,

5     too, regarding the contention about location which you've

6     heard so much about.      All the documents and all the

7     testimony disprove that contention.        So we have come quite

8     a long way.

9                 The plaintiffs have now all but abandoned the

10    arguments that they made before the Fourth Circuit.          But

11    of course, they have new arguments and those arguments

12    have been exposed as wrong during this hearing.

13                Counsel claimed in his opening statement, for

14    instance, that plaintiffs are only questioning KBR's

15    decision and he also admitted that the location issues are

16    generally controlled by the military.        But those

17    statements ignore and they are directly contradicted by

18    indeed the plaintiffs' own master complaint.         The

19    operative complaint in this case blames KBR for things

20    that we all now know having seen the evidence that were

21    military decisions.      No debate about that.

22                Likewise on the eve of the hearing and in

23    opening statement, plaintiffs contended and they continued

24    to insist this that and I'm quoting "the military never

25    gave KBR across-the-board authorization or direction to




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1     use surface burning as a means of waste disposal."          That

2     was argument.     But that's all it was.     That was lawyer's

3     argument.    But we now have evidence and the evidence at

4     this hearing actually showed the opposite.         The very first

5     witness testified quote "we issued the order to KBR and to

6     all forces in the country to use burn pits as a means of

7     waste disposal during the occupation period."         So the

8     lawyer's argument on the one side and then on the other

9     side, we have the undisputed evidence from Lieutenant

10    General Sanchez.

11                But to allow these cases to go forward, the

12    court -- it's very clear, what the plaintiffs are asking

13    the court to do is to discredit this clear and unequivocal

14    testimony and other clear and unequivocal evidence from

15    the commanding generals in Iraq and other credible

16    witnesses.

17                And before sitting down, I'll just remind the

18    court of where we began on Thursday morning and that is

19    General Vines' testimony.      He's not a lawyer.     But he

20    sensed from the questioning and from the tenor of

21    plaintiffs' approach what they were trying to do.          And

22    what he said is well known now that what he thinks the

23    plaintiffs were trying to do is to impose peacetime

24    criterior on combat operation.       Fortunately, I think we're

25    all grateful the law does not allow that.         Because these




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1     cases directly challenge sensitive military judgments

2     regarding war, the court lacks jurisdiction under the

3     political question doctrine.       Because these cases attempt

4     to impose peacetime criterior, state tort laws on a war

5     conducted in the most hostile environment halfway around

6     the world led by the military, they are preempted by the

7     combatant activities exception to the Federal Tort Claims

8     Act.   For those reasons, the cases should be dismissed.

9     Thank you, Your Honor.

10                THE COURT:    All right.   Thank you.    All right.

11    Let me hear from the plaintiffs.

12                MR. LEDLIE:    Thank you, Your Honor.

13                Your Honor, you just heard that Colonel Damon

14    Walsh said that General Sanchez was not a member of the

15    Defense Contract Management Agency, but DCMA communicated

16    General Sanchez's orders to KBR.       You heard a lot about

17    Colonel Walsh and statements about what the contracting

18    arm of the military did with respect to communicating

19    General Sanchez's orders to KBR.

20                But, Your Honor, you have been provided evidence

21    in this case and I need to show you what Damon Walsh had

22    to say because this is the keystone of their case.          That

23    General Sanchez who was there for a limited 14-month

24    period somehow gave unlimited authorizations that trumped

25    every contract document and every contract principle that




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1     exists in the military.

2                 Gina, can you pull up Walsh 139, 5 through 16 --

3     I'm sorry -- 1 through 16?

4                 And I'll note, Your Honor, that this is the same

5     citation for the premise that General Sanchez's orders

6     were communicated by DCMA to KBR.

7                 Colonel Walsh said, And if you're going to

8     correct a contractor on how to carry out a contract,

9     that's a contracting function, isn't it, and it would be

10    inappropriate for General Sanchez to tell KBR how to do

11    it, how to carry out the term of a contract, wouldn't it?

12                It would be inappropriate for General Sanchez or

13    any non-acquisition official to give directions to a

14    contractor.    His or her mechanism for doing that is

15    through the acquisition work force.

16                But they didn't include this, Your Honor, and

17    this is crucial because the contracts and the contracting

18    process, Your Honor, is the only means of control that the

19    military has over a contractor.

20                You never saw through the acquisition work force

21    authorization for burn pits?

22                I never personally saw that.      No.

23                Now this -- if General Sanchez's order was

24    really communicated through KBR through the only entity

25    that could do so, Defense Contract Management Agency,




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1     Damon Walsh is there, he doesn't recall that happening.

2     Your Honor, this is significant because you've talked at

3     times in this case about the lawyers not playing in the

4     sandbox very well.     Your Honor, there's been some

5     misrepresentations made here today and we need to correct

6     them because in order for Your Honor to properly evaluate

7     this case, you need to look at all the evidence.

8                 Gina, can we pull up the next page on page 70,

9     lines 11 through 20?

10                Colonel Walsh was asked, Do you have any -- do

11    you recall any specific instance in which you were

12    informed that KBR was authorized to use a burn pit as the

13    default method of waste disposal at a site in Iraq?

14                This is the person who said -- who they claim

15    communicated through DCMA that information.

16                No.

17                Did you ever see any written authority expressly

18    authorizing KBR to use burn pits in Iraq?

19                Colonel Walsh:    There at the time?     DCMA, the

20    contracting arm?     The commander?    No.

21                Page 81-9 through 85-22.      This is their witness

22    that they say despite the fact that the contract documents

23    which Your Honor has seen do not say use burn pits that

24    somehow, okay, no, DCMA though communicated that.

25                THE COURT:    Well, is there any question though




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1     that the military made the decision whether it may be in

2     these contract documents or not, that they wanted the use

3     of burn pit because that was in the judgment of the

4     military commanders necessary as the means of disposing of

5     waste because of battlefield conditions?         Is there any

6     dispute about that?

7                 MR. LEDLIE:    Yes, Your Honor.     Absolutely.

8                 THE COURT:    Well, tell me what fact there is in

9     this record -- not the contracts -- that indicates that

10    the military didn't want to use burn pits.

11                MR. LEDLIE:    Your Honor, let me refer you to

12    this very testimony.      First of all, Your Honor, as you

13    know, we've -- there are two silos -- and I'll get to

14    this -- between the contracting arm and the battlefield

15    commander.    And the only arm of the military that

16    instructs a contractor like KBR on what they can do, what

17    the standards are for their performance is the contracting

18    arm and that can be done through the contract documents,

19    yes, Your Honor, also through their officers, but it would

20    have been reduced to writing.

21                But I asked did DCMA and AMC specify the method

22    of performance?     So did they tell them that they should

23    use burn pits in fulfilling the military's requirements

24    and I want to understand the level of specificity or the

25    level of specificity you specify as to method of the




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1     performance of waste disposal?       And there was a

2     suggestion, Your Honor -- to answer your question, Your

3     Honor, there were -- there was a military decision that

4     was made by the combat command that when military forces

5     under the combat command were handling waste management

6     services in Iraq during certain -- during the vast

7     majority of the war, they did elect to use burn pits.

8     That is because, Your Honor, the military does have

9     limited resources and as multiple witnesses testified,

10    they don't have the corps competencies.         But when they

11    bring in a civilian contractor, a subject matter

12    specialist with greater expertise and they specify in a

13    contract what the standards are, that is the military

14    decision at issue.     Those --

15                THE COURT:    If I recall General Sanchez's

16    testimony, he indicated that in battlefield conditions,

17    the military has the capability with its own forces for a

18    period of about thirty days to provide waste management

19    and water supply services itself.        And that rather than to

20    tie up all the military personnel doing that, they then

21    bring in KBR to replicate what those military personnel

22    would be doing otherwise.      Is that correct?

23                MR. LEDLIE:    No, Your Honor.    That was General

24    Vines.

25                THE COURT:    I'm sorry.   It was Vines.     I




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1     misspoke.

2                 MR. LEDLIE:    Right but that was at a different

3     time in the war and you do have to look at timeframes

4     here.    That was after the surge when we had a much larger

5     force there.    General Sanchez actually said that during

6     his early time period in Iraq, it was the military that

7     was handling their own waste management.         In fact, he

8     couldn't tell you when at all.       I asked him can you tell

9     me when KBR ever provided any waste disposal functions in

10    Iraq and he said I really can't tell you, I don't know, I

11    don't want to -- he used the term a S.W.A.G. which I had

12    to look up.    But it's a wild guess, Your Honor.

13                And so General Sanchez, when General Sanchez's

14    order was handed down, it was handed down through his

15    military chain of command and applied to his military

16    soldiers.    He clarified that on the record when he was

17    asked.    That did it apply to KBR and the military?        And at

18    first he said, yes, but then he said I need to clarify

19    that.    It applied to all the burn pits that the military

20    controlled, the assigned forces controlled.         And at that

21    time, Your Honor, there were no KBR burn pits in Iraq that

22    General Sanchez was aware of.       There were some KBR

23    contractors and so yes, they would have been using those

24    burn pits, Your Honor.      But you have to look at -- you

25    have to look, Your Honor, at what the only government




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1     entity that directs a contractor told them.         Found in a

2     task order and the statement of work, Your Honor.

3                 And so the two entities once again, Your Honor,

4     they were asked, Did you get into that level of waste

5     management?    Is that the method of performance?        Is it a

6     what-not-how contract or did you actually tell KBR, go use

7     burn pits?

8                 I don't recall.    I don't recall ever getting any

9     detailed discussions about waste management other than

10    discussing whether or not an incinerator would be

11    authorized and this -- and the number of people that would

12    be authorized.     Beyond that, I don't recall a specific

13    discussion at all about the method of waste management.

14    So I shouldn't read this sentence to say" -- this is from

15    his declaration -- "that DCMA and AMC, Your Honor,

16    specified that KBR was authorized to use a burn pit.          You

17    should not interpret it that way, no.

18                And then he goes on to clarify that his

19    statement that burn pits was the default method comes from

20    his operational side, Your Honor, when he was a special

21    forces officer, very much forward deployed, infantry and

22    special forces.

23                And I asked him once again, there are two

24    standards here because we've covered -- there are times

25    the military does use burn pits?




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1                 Correct.   Most of the time.     Yes.

2                 And in this sentence, it's following on and

3     talking about KBR.     Are you saying that it's your

4     experience that the military asked KBR to use burn pits as

5     a default method of waste disposal?        Are you?   That's what

6     KBR is claiming.

7                 I am not because we didn't -- I don't ever

8     recall having that level of detailed discussion about

9     waste management, not at my level anyway.

10                I went on to ask him, Your Honor, contractors

11    are expected -- and Damon Walsh is so critical to their

12    case that I need to cover this, Your Honor.

13                Are LOGCAPS are expected to be force

14    multipliers?

15                Correct.

16                And they are supposed to have the technical

17    training and capabilities to perform in a manner that the

18    military directs in the terms and conditions of the

19    contract?

20                They are expected to acquire those capabilities

21    and technical expertise.      Yes.

22                And I asked him, In conformance with the terms

23    and conditions?

24                Correct.

25                The terms and conditions of the contract, Your




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1     Honor, are the military issue, the sensitive military

2     issue that was made in this case.

3                 Lieutenant Colonel Walsh, does a contractor have

4     discretion in how they carry out their job performance

5     what-not-how so long as the terms and conditions are met?

6                 He says they have minimum discretion to do so.

7                 And I said, Why do you say minimum discretion,

8     if the terms and conditions are met, how they go about

9     achieving those terms and conditions, what role does the

10    military have in that?

11                The military defines the applicable

12    specifications and regulations.

13                So do they have some discretion in performing as

14    long as it meet those?

15                Yes.    Yes, they do.   This is a what-not-how

16    contract.    The expectations of the contractor are defined

17    by the contractual terms and conditions.

18                And he goes on to say, describes -- and Your

19    Honor has got this testimony.       But, you know, with respect

20    to food, we do get into a lot of detail there.

21                And I said, Within the level of waste disposal,

22    did you see that level of specificity?

23                No.    Other than again hazardous waste.

24    Hazardous waste doesn't suppose to go in burn pits.

25                That's not what General Sanchez told you.        But




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1     general -- I'm sorry.      Lieutenant Colonel Walsh, the DCMA

2     commander, is saying we knew that HAZMATs were not

3     supposed to go anywhere near a burn pit, Your Honor.

4                 THE COURT:    Let me ask you a question.      The

5     military in various reports to Congress has over and over

6     again said we made the decision to use burn pits because

7     in contingency operations, that is necessary and they

8     balanced all these factors and so forth.         I didn't see

9     anywhere in those reports where they said KBR made that

10    decision or KBR shouldn't have done it.         How am I supposed

11    to interpret that?

12                MR. LEDLIE:    Your Honor, the reports that you're

13    referring to reference largely the CENTCOM regulations

14    from 2009, Your Honor.      And absolutely, it's true that at

15    a theater level, CENTCOM, Central Command, made a military

16    decision that under certain -- that spelled out the

17    requirements for using burn pits and contingency

18    operations.

19                But we have to go back to 2003, 2004, Your

20    Honor.

21                And to round out this area, to the best of your

22    knowledge, the terms and conditions of the base life waste

23    management do not state that KBR had to use burn pits, do

24    they?

25                No.




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1                 Were they given permission to burn anything they

2     wanted?

3                 No.

4                 There are two prongs to our case, Your Honor,

5     and a lot of this case is about whether or not KBR can use

6     a burn pit at all and we stand by that and we'll show why

7     that is still a huge part of our case.

8                 But even in the limited instances where they did

9     have contractual permission to do so, there were still

10    standards that were not adhered to.        That's another part

11    of plaintiffs' case that Your Honor is going to have to

12    grapple with.

13                So I'll ask, are there any regulations that the

14    army has on how the use of open air burning is to be

15    accomplished?     He didn't know.    But there was a contention

16    made in counsel's statements that because these contracts

17    clearly reference things like EPA standards, OEBDG, other

18    things that are terms and conditions of the contract that

19    both parties agreed to.

20                I asked him if a contract incorporates EPA

21    standards or other environmental compliance standards in a

22    task order, do those become terms of the conditions of the

23    contract that must be followed?       His answer, Your Honor,

24    is absolutely.

25                Under LOGCAP III, is KBR expected to monitor




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1     their performance to ensure compliance with any regulatory

2     standards?

3                 Absolutely.    The DCMA commander, the contract

4     command expected KBR to live up to its obligations that it

5     agreed to through the contracting process.         And to the

6     extent that they included standards from the U.S. as terms

7     of the contract with the task orders in Iraq, they do

8     apply and they must be enforced.

9                 There was further discussion and once again

10    citing to Mr. Walsh for this idea that through the ROM

11    process, Your Honor, the rough order of magnitude process,

12    that all this would have been talked about.         That while

13    the contracts don't say anything about burn pits, that in

14    fact they discourage them heavily and prohibit them

15    without an ACO approval, that everybody was talking about

16    this in the planning process, in the ROM process.          But

17    that's not what the commander at DCMA at the time that

18    this Sanchez order was handed down to the military command

19    said was going on on the contracting side because he was

20    part of that process.

21                With respect to waste disposal, were you

22    involved in the ROMs dealing with disposal at various

23    sites?    He was.

24                What level of detail did you see?       You didn't

25    see written authorizations for burn pits?




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1                 Correct.

2                 Did you see burn pits mentioned at all in the

3     ROMs?   No.   It wasn't in there.     No.

4                 What did you see?

5                 Head counts, pay levels.      HAZMAT would have been

6     a different function as I recall under the task order.

7     Beyond that, the ROMs didn't get into operational

8     employment.

9                 And do you have any personal knowledge as to

10    what those would have consisted of?

11                I have personal knowledge of almost all of those

12    conversations.     During my time, I don't recall any time

13    that we talked about specifics surrounding waste

14    management as part of the ROM review process.

15                To say that this was included and discussed and

16    while the contracts say the exact opposite, that somehow

17    they shouldn't be followed is inconsistent with the

18    commander of DCMA at the time that General Sanchez's

19    directives were being handed down.

20                The DCMA has an independent duty to determine

21    how to best meet the military need.         The need was waste

22    management, Your Honor, and the contracts speak to waste

23    management.

24                You heard from Mr. Singleton that said we would

25    get a contract for waste management, we did burn pits.




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1     But the gentleman who was involved in the discussions

2     about that said that burn pits did not come up, they did

3     not come up.

4                 The reason that this is significant, Your Honor,

5     is that the political question doctrine and separation of

6     powers do not allow the plaintiffs to judicially second

7     guess military decisions.      The political question doctrine

8     and separation of powers do not allow KBR to judicially

9     second guess military decisions.       The political question

10    doctrine and separation of powers do not allow this court

11    to judicially second guess military decisions.          And no one

12    in the courtroom gets to substitute their judgment for the

13    government's judgment and decisions as to how the military

14    through the contracting command chooses to structure the

15    manner in which it handles contracting in general and

16    contracting on the battlefield in particular or as to what

17    the military puts in its contracts.

18                The court might think that given the conditions

19    on the ground, the way the government handled contracting

20    was ill-advised.     The court might think that given the

21    conditions on the ground what the government put in the

22    contracts was ill-advised.       The government may think that

23    what KBR agreed to in the contracts was ill-advised.          But

24    no one in this courtroom, Your Honor, not even Your Honor

25    gets to second guess that.




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1                 The contracting process has meaning and it

2     cannot be second guessed because plaintiffs agree that

3     logistical support by contractors on the battlefield given

4     the military's current operational structure are

5     fundamental and vital to the health and safety of the

6     troops.    But it's necessary that what the government

7     through the contract dictates is what KBR as the

8     contractor provides and that is because contractors are

9     not part of the military.      They're not subject to the

10    same -- they're private companies, Your Honor, doing work

11    for pay and in dangerous conditions certainly.          But the

12    relationship is not one between a direct report and the

13    military.    It's between a civilian independent contractor

14    and the military and that relationship is exclusively

15    defined through the contracts.

16                Gina, could we go to Slide 1?

17                The contracting process, Your Honor, there's

18    a -- it is important to understand that the terms and

19    conditions of the contract establish the relationship

20    between the military and the government.         The contract is

21    the only legal basis for the relationship between D.O.D.

22    and the contractor.

23                And, Your Honor, if we don't honor the terms and

24    conditions of the contract, then we have stripped away the

25    only legal basis under which the government can make sure




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1     that the troops are getting the services which they've

2     been asked to provide and which the military is relying

3     upon contractors like KBR to provide.

4                 The LOGCAP program is a wartime contingency

5     environment contract.      Everybody knew that going into the

6     formation of the LOGCAP III contract and everybody knew

7     that each and every time a task order was being issued.

8     These were the standards that were applied to the

9     contractor on the battlefield.       And when you have

10    contracted support, it differs significantly from when you

11    have military troops providing the support because you're

12    not under the military chain of command.         It is

13    contractual control, not a military control.         It's bound

14    by authorities in contract law and contract policies and

15    processes and procedures that support contract law.

16                And so, Your Honor, you've asked some questions

17    to my KBR colleagues that, well, whether it's operational

18    military or this combat command, I mean the military is

19    making this decision.      Right?   They are giving KBR

20    instructions and so it's a military decision.         Well, the

21    military decision was set forth in the terms and

22    conditions of the contract.       But because the contracting

23    command knows how to respect the status of KBR as an

24    independent contractor, it does not constitute a direct

25    form of control that's necessary for a political question.




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1     Instead, you would be creating a per se rule, Your Honor,

2     that any time you have a contract in war and the

3     government is doing anything to ask for a certain type of

4     service to be provided, that that's automatically immune

5     from suit.

6                 And Your Honor, case after case says that's not

7     the type of discriminating analysis you need to engage in.

8     If the military is merely establishing terms and

9     conditions of a contract and then providing routine

10    contract management, that's not direct control.          That's

11    not integration into a command authority.         That's

12    integration into a contracting situation.         Similar to what

13    you have, yes, it's on the battlefield, but it follows the

14    same principles that you have here in the United States

15    even in the civilian context.

16                And there's a requirement that we comply with

17    all these FARs and DFARs and AFARs, Your Honor.          And that

18    means that the combatant commanders, the General Sanchezes

19    and General Vineses of the world do not actually -- and

20    they were clear about this when they took the stand.          They

21    don't set the terms and conditions of the contract.          They

22    ask for a need to be met and the contract officers are the

23    ones that determine the best way for that to be

24    accomplished using an understanding of what the civilian

25    contractors' capabilities are as opposed to the military




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1     units.

2                 Next slide, Gina.

3                 We've gone through this with Your Honor.        But

4     what I want to hit in particular, Your Honor, we have an

5     operational arm of the military.       That's the war fighters.

6     What General Vines says, what General Sanchez says to the

7     people under their command and control, their military

8     units absolutely needs to be followed without question.

9     That's the way the military works.

10                As to a civilian contractor like KBR, their

11    management and instructions comes through the contracting

12    arm using contract management principles and it does not

13    constitute direct command or control.

14                THE COURT:    Well, is it your position that KBR

15    once they got these LOGCAP III contracts to provide waste

16    management and water services should have pushed back and

17    said we're not going to operate a burn pit, it's not

18    environmentally friendly and we're not going to do it?

19                MR. LEDLIE:    Your Honor, when KBR and the

20    military sat down to negotiate and that would have been at

21    the Rock Island level because that's the entity in Rock

22    Island and KBR's upper management, we're the one -- the

23    procuring authorities under the LOGCAP.         So they did sit

24    down and negotiate out the terms of the original LOGCAP

25    contract.    But more importantly, Your Honor, that was done




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1     before the war in Iraq.

2                 But as to each and every task order, Your Honor,

3     KBR could sit down and say, look, we can't agree to that.

4     And there was a negotiation process before task orders

5     were entered and there's also the ability that's clear in

6     all the contracts.     There's an escape valve.      If you get

7     there and you discover the conditions are not such that I

8     can meet this, then you go to the contracting officer and

9     you get direction.     You say, look, I said that I'd comply

10    with all EPA regulations, I can't do it here.         What am I

11    supposed to do?

12                I'm not saying that they wouldn't have provided

13    the service.    They would have gone and gotten the proper

14    instruction, there were proper authorizations and they

15    certainly could have moved forward.

16                There were times that KBR did refuse to take on

17    work for the very reason that Your Honor said.          That they

18    looked at it and they said, look, we can't meet this

19    contractual requirement under the conditions that are

20    here.   They did that with remediating burn pits, Your

21    Honor, and said, look, that's too much liability, we can't

22    meet those standards, and the government changed the

23    standards for them and said, okay, we understand that,

24    there's a way to fix that.

25                It's not a one-size-fits-all contract.        This




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1     contract went through thousands of changes.         Changed over

2     the years in many ways.      But what it never allowed was the

3     unlimited indiscriminate use of burn pits by a civilian

4     contractor, KBR.     It was never that broad.      It was never

5     allowed.

6                 To make it clear, Your Honor, what we're dealing

7     with here and why the sensitive military decision that

8     needs to be respected is the fact that contractors are

9     managed through contracting authority, not command

10    authority.    It's not just good policy.      It's truly a

11    separation of powers concern.       The contracting authority

12    is limited only to the contracting officer because it's

13    important for the government to comply with the U.S.

14    Constitution, statutory authority and finally regulatory

15    authority as to how goods and services for the military

16    are procured and managed.

17                DCMA had the exclusive -- and Rock Island had

18    the exclusive responsibility through their contract

19    officers to set the standards of performance for KBR.           It

20    could be modified through the contracting command, but

21    only through the contracting command.

22                Command authority Your Honor asked, that was one

23    of the questions you wanted addressed.        Command authority

24    prescribed in 164 includes -- and there's a number of

25    things here.    But the big test, Your Honor -- and we'll




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1     get to this in the cases later.        But the real question is

2     is KBR being treated as an independent contractor with

3     their own management and day-to-day services trying to

4     figure out how they're going to meet their contractual

5     terms through their own chain of command or under the set,

6     the unique set of cases that we'll see were their forces

7     merely labor that was loaned to the military for a

8     military mission or were they combined into a military

9     mission for a limited purpose, such as convoy operations

10    which are the exception not the rule, Your Honor.

11                And it is important to note that GCCs -- that's

12    geographic combatant commanders, Your Honor -- General

13    Vines, General Sanchez, do not have their own contracting

14    authority.    They're not authorized to order contractors in

15    the terms and conditions of a contract.         And that's for

16    the good of the mission, Your Honor.

17                I need to note that General Vollmecke and I

18    think I alerted Your Honor that he had a health condition,

19    I would now that defendants have offered into evidence

20    their portions of his deposition counter with our

21    designations for General Vollmecke in response because

22    that was not something that we anticipated, but we simply

23    for the record to be clear would like for our designations

24    to be considered in context as well, Your Honor.

25                THE COURT:    All right.    When can you give those




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1     to me?    Can you do it today or --

2                 MR. LEDLIE:    Yes.   We can do that today, Your

3     Honor.

4                 THE COURT:    Okay.   That's fine.    We can make

5     copies for you if you wish to.

6                 MR. RUSSELL:    Your Honor, sorry to interrupt.

7     We've provided to the court a copy that has both our

8     designations as well as the --

9                 THE COURT:    Well, it's already there?      Oh, okay.

10                MR. RUSSELL:    The highlights are in there.        Yes.

11                THE COURT:    Well, just make sure you agree with

12    that and then I can see what you're talking about.

13                MR. LEDLIE:    Thank you, Your Honor, and thank

14    you, Mr. Russell.

15                But General Vollmecke explains that it is

16    necessary to separate command authority from contracting

17    authority for the overall good of the military mission

18    because there's a need to keep them separate.         The war

19    fighter needs to have an independent and informed person

20    to deal with a civilian contractor.        Military officials

21    are not all versed in contracting law and contracting

22    principles.    The integrity of the process and of the

23    fiscal process of the United States are why these commands

24    are separated.     They work together, but the contracting

25    command maintains the independence, Your Honor, to set the




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1     standards.

2                 Even in a war zone, General Vollmecke went on to

3     explain that command authority, even if someone is a head

4     of a particular unit, but has command authority, they have

5     no warrant and no ability to unilaterally change the

6     contract terms.     They do not and I remind them it's

7     actually spelled out in the service supplements to the FAR

8     and it makes it crystal clear, especially in the D.O.D.

9     FAR supplement, that responsibility.

10                And does that fact, the fact that it's a

11    contingency operation doesn't evaporate that distinction?

12                No.   It's exempt from that distinction.

13                So, Your Honor, the combat commanders do seek

14    support in operations from contractors.         They identify a

15    need like waste management.       But the contracting command

16    delineates the standards that apply to a contractor like

17    KBR.   In consultation with that contractor, they're

18    reduced to contract documents which form the basis of the

19    relationship.     That forms the military decision that Your

20    Honor must respect.

21                The contracting officer through the contracting

22    command is the only government official with the authority

23    to modify a contract or determine the terms and conditions

24    of a contract, Your Honor.

25                It's well established that the contractual rules




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1     applied to the LOGCAP contracts in war zones.         This is

2     Plaintiffs' Exhibit 8, Your Honor, LOGCAP 101 which

3     explains that the administrative contracting officer is

4     the government official in theater with the legal

5     authority to direct the LOGCAP contractor to perform a

6     mission.    Only the ACO or the PCO can direct the

7     contractor.    It may even be considered an anti-deficiency

8     act violation if another party directs the LOGCAP

9     contractor.    This is a very bad idea.      That is why both

10    General Vines and General Sanchez said that while they did

11    have an understanding that burn pits would be used for

12    their command, that they did not interfere with the

13    contracting process.      They did not set the terms and

14    conditions.    They didn't know what those contracts

15    required.    But they did expect the contractor to meet

16    those obligations and if changes were needed to seek that

17    out through the contracting process, Your Honor.          That's

18    consistent not just with the military's understanding.

19    That was consistent with KBR's own understanding as to how

20    this entire process needed to work in theater.

21                Mary Wade who was referenced earlier, KBR's

22    contracts manager and senior contracts manager for LOGCAP

23    III said that regardless of what the operational military

24    or the mayor cell on a base may want on the military side,

25    they had to get it through the contract process at Rock




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1     Island and the contract process would rely upon subject

2     matter experts who look at the capabilities of a

3     contractor, look at the realities of the military and say

4     this is what best conforms, this is the standards.          And

5     once those standards were set, that's the military

6     decision, Your Honor.

7                 Steve Zamparelli, another DCMA commander, made

8     it clear that the standards you're looking at, Your Honor,

9     whether or not KBR is authorized to do an unlimited

10    burning of waste at burn pits, you got to look to the

11    contract documents, the procuring documents and the

12    administration of that contract in the field.         And when

13    you do that, Your Honor, you will see that there was never

14    blanket authorization for KBR to use burn pits anywhere

15    and everywhere.     It had to be done at the direction of the

16    ACO.   Over time, the contracts changed and it did become

17    an allowed form of waste management, but only when proper

18    direction was received from the contract officer and only

19    when the performance standards that applied in that

20    situation were adhered to.       So contract violations, Your

21    Honor, are a very much a part of our case.         They do go to

22    the control or lack of control over the contractor.

23                The central tenet of KBR's presentation here

24    today, Your Honor, has been that in all cases, in

25    Operation Enduring Freedom and in Operation Iraqi Freedom,




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1     Iraq and Afghanistan, including burn pits operated by KBR,

2     the military decided which method of waste disposal was

3     viable and consistent with the military's objectives.

4                 But when you look at the individuals that they

5     cite in support of that premise, they are the first ones

6     to admit that they don't know that what the contracts

7     required, what the contracting command placed as the

8     obligations that applied to KBR.       They're speaking from

9     their military knowledge in other context, Your Honor, or

10    they simply don't have knowledge, a lot of them didn't

11    have knowledge as to what the contract required at all.

12                General Sanchez while his testimony, as I stated

13    to Your Honor earlier, is clear that he did issue an order

14    that was handed down through his command at a time that in

15    his own words, he doesn't believe KBR was even doing any

16    waste disposal, for the military to use burn pits, he

17    agreed that when it came to the contracting process, the

18    terms and conditions of the contract, that his command

19    authority is distinct from contracting authority, that

20    only the LOGCAP contract officers had contracting

21    authority, that military officers cannot direct or

22    supervise KBR, Your Honor.       That he nor his command ever

23    dictated the terms of any contract.        That's not what

24    combatant commanders do.      They identify a need that needs

25    to be met like waste disposal, like water services and




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1     then they turn that over to the contracting arm to

2     determine how to best get those services that they need in

3     theater, Your Honor.

4                 General Sanchez doesn't know if KBR was in

5     compliance with the LOGCAP contract during his tenure.              He

6     admits that he absolutely expected them to comply with

7     whatever those standards were and that he never authorized

8     them to deviate from any of their contractual

9     obligations --

10                THE COURT:    He also said he didn't know what was

11    in the LOGCAP contract, didn't he?

12                MR. LEDLIE:    He did say that he didn't know what

13    was in the LOGCAP contract --

14                THE COURT:    That's not his job to draw up those

15    contracts.    Right?

16                MR. LEDLIE:    Absolutely.    It's not his job to

17    draw up those contracts, Your Honor.        But he never

18    authorized any deviations from it.        In fact it would be

19    inappropriate in his opinion, Your Honor, for him or his

20    subordinates and he said I never did that.         Didn't happen.

21                His time period in Iraq, Your Honor, was limited

22    to 14 months.     The beginning of 2003 when military forces

23    were primarily handling all logistic functions, he said it

24    took a very long time before that changed and he admits

25    that after he left in July of 2004, he doesn't have any




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1     personal knowledge as to whether the military or DCMA

2     talked to KBR with respect to waste disposal.         His

3     knowledge is limited and as demonstrated through the

4     testimony of Lieutenant Colonel Walsh, it's not accurate

5     to claim that DCMA took a blanket burn pit order and

6     contractually turned that into an instruction to KBR.           It

7     didn't happen.     He was the DCMA commander.      He was

8     involved in those discussions and he said that didn't

9     happen.    It was what not how.     If you look at the

10    contract, it says waste management in accordance with all

11    U.S. laws and conditions.      That was the standard, Your

12    Honor.    And we can't second guess that.

13                We know that that was the standard, Your Honor,

14    because if KBR had blanket permission that had been

15    communicated from the contracting arm to KBR, why in the

16    world in 2004 were 41 incinerators being delivered to

17    bases in Iraq?

18                Your Honor asked about the incinerators.        The

19    incinerator claim is a little long in explanation.          But

20    the important point here, Your Honor, is any suggestion

21    that the military was happy with burn pits that they had

22    made a command decision that everybody, contractors,

23    military, everybody use burn pits, that's the only thing

24    you should use, never use anything else.         That is not

25    factually accurate, Your Honor, because in reality by




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1     2004, 41 incinerators -- this comes from the testimony of

2     Gerry Vincent which is in our brief, Your Honor.          Gerald

3     Vincent.    Forty-one incinerators had been delivered and

4     were in the process of being installed.

5                 KBR was not the fastest in dealing with that

6     situation, which relates to part of our claim, Your Honor.

7     However, there was a stop work order sent down and

8     that's -- nothing they could do about that.         We don't

9     contest that.

10                But following that, that stop order was lifted

11    in 2006.    Many years of the involvement of Iraq continued

12    after 2006.    The military finally could use those

13    incinerators again.      But KBR had not kept them up and the

14    military had a very difficult time tracking down where

15    they were, where the parts were and all the time that they

16    were trying to sort this out, burn pits continued to need

17    to be used because the incinerators could not be brought

18    online.

19                So, yes, that is part of our claim.       It remains

20    part of our claim.     It also completely obliterates the

21    suggestion that burn pits were the only thing that the

22    military ever wanted in theater, the only thing that was

23    reasonable, the only thing that was achievable.          Simply

24    not true, Your Honor.

25                General Vines was another witness that Your




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1     Honor heard from that supports our claim.         He agreed that

2     the terms and conditions of the contract is the way the

3     military controls the contractor.        It's not command

4     authority.    It's contractual authority.       He agrees that

5     the contracting officer is the only government official

6     with the authority to modify the contract and that is

7     adhered to even in the theater of war, Your Honor, which

8     is transcript at page 42, 10 through 17.

9                 He agreed that the contractor sets forth the

10    performance standards.      The contractor sets forth the

11    performance standards and defines what the contractor

12    needs to do in the field.      They're expected to comply with

13    their contractual requirements.       In order for KBR to be a

14    force multiplier, we don't expect General Vines, we don't

15    expect General Sanchez to know every detail of that

16    contract.    They've got folks that they rely upon for that.

17    That's the contracting command who sets the standard and

18    the contractor is the first line quality assurance

19    representative, the subject matter expert that's supposed

20    to figure out how to best adhere to that standard in

21    theater.

22                If they have difficulties, Your Honor, there is

23    a process.    It was used routinely by KBR and by the

24    military to tweak a contract as necessary.         But he admits

25    that he never superseded the contracting channels and




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1     ordered KBR to do anything and he expected KBR themselves

2     to manage their personnel as to their performance on a

3     day-to-day basis.     They were force multipliers because the

4     military was no longer performing that function.          They

5     were relying upon KBR to do so and to do so in conformance

6     with the contract.     That's what the generals both told

7     you.

8                 And he agreed that any suggestion that there was

9     a blanket order for anything and everything to be placed

10    in a burn pit and indiscriminately burned during his

11    tenure was not the case.      He knew that hazardous materials

12    were not authorized to be placed in burn pits and that KBR

13    to the extent they were using a burn pit was expected to

14    segregate and sort out those materials and make sure it

15    didn't make it in there because that is a health risk to

16    soldiers, Your Honor, and that's what he knew about the

17    contract.

18                And by no means was General Vines the only

19    witness in this case to confirm that KBR or anyone for

20    that matter operating a burn pit was not authorized to

21    burn toxic substances in burn pits.        Gerald Vincent never

22    gave permission to burn prohibited items in burn pits as

23    he explained in his deposition.       Colonel Frank Steinbugl

24    from DCMA was unaware of any authorization to burn

25    batteries or other toxic substances.        General Vines, of




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1     course, we've just spoken about.       Colonel Walsh, KBR was

2     not given permission.      Even KBR's witnesses.     David Palmer

3     who you heard briefly from from plaintiffs agreed that

4     there were hazardous waste collection points and that that

5     mattered and that they should -- those items should never

6     be placed in a burn pit.      Those were the contractual

7     standards, Your Honor.      And just the mere fact that a burn

8     pit in certain instances was authorized for KBR didn't

9     obligate them of their requirement to make sure that

10    whatever ended up in that burn pit adhered to the terms

11    and conditions of the contract.

12                General Radin was the commanding general of Army

13    Sustainment Command.      That's on the army material side.

14    He's the overall two-star general that was in charge of

15    the LOGCAP contract, Your Honor, and he had no personal

16    knowledge of KBR being given permission to burn anything

17    at a burn pit.

18                Charlie Williams, similar testimony, Your Honor.

19    And ACO Wes Bennett never gave KBR any permission to burn

20    lithium batteries, petroleum oil, lubricating products.

21    These things were not supposed to end up in burn pits,

22    Your Honor.    They weren't supposed to be burned, no matter

23    what else.    Those were hard and fast rules the military

24    expected to be adhered to.       And plaintiffs' contention and

25    there's evidence in this case that they were not.




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1                 One example, and Your Honor heard from

2     Mr. Robbins about his experience, his lack of supervision,

3     his total lack of military oversight at all except on very

4     rare occasions for five minutes at a time.         This is not a

5     situation, Your Honor, where the military had its thumb on

6     KBR and how they were carrying out their day-to-day job

7     functions.    This was a situation where the military was

8     relying upon KBR to be that force multiplier and to adhere

9     to the contract they agreed to honor.

10                That's made clear by the testimony of Wes

11    Bennett, the administrative contract officer, who said

12    that if KBR had a responsibility and there was an issue

13    with waste management, it's their responsibility to fix

14    that issue whether or not somebody noticed it, whether or

15    not he as an ACO noticed it.       The first line

16    responsibility was on the contractor to adhere to the

17    contract, Your Honor.

18                If the statement of work required KBR to follow

19    particular standards, then yes, they would be required to

20    follow them whether or not somebody noticed that they

21    weren't following them.      It's from his deposition, Exhibit

22    43 to our brief, Your Honor.

23                So, Your Honor, how does this discussion of burn

24    pits and the contracts and the standards that apply to

25    KBR, how does it actually relate to the two questions that




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1     Your Honor asked us to be prepared to decide here today?

2                 The first question, Your Honor, is whether a

3     contractor, in this case, KBR, was under the plenary or

4     direct control of the military during the waste and water

5     functions.    And the answer to that, Your Honor, will be

6     made clear that they were not under that test, direct and

7     plenary control.     Those are very specific terms with a

8     very specific meaning.      And you need to do a

9     discriminating inquiry into the precise facts and postures

10    of the particular case under Baker to decide whether the

11    duty asserted can be judicially identified and the breach

12    determined.

13                So let's look at what plenary and direct control

14    look like, Your Honor.      The Carmichael case was discussed

15    at length earlier.     In the Carmichael case, we had a true

16    military mission, a military convoy in which you had the

17    front vehicle was a military gun truck that was commanded

18    by the convoy commander who had the ultimate say on the

19    entire performance of that mission.        Interspersed between

20    the military gun trucks, you did have KBR in this case

21    fuel trucks and in each cab of each truck the military

22    assigned a soldier, a shooter to actually sit side by side

23    with the KBR driver and be part of a joint mission to get

24    from point A to point B at the direction of the convoy

25    commander.




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1                 But the convoy commander, not the -- this is the

2     exception under the LOGCAP contract, the force protection

3     exception which was included as an actual term of the

4     contract said if you're in this situation, if you're in a

5     convoy, you do submit to the direction of the military in

6     everything that you do.      You still have a KBR convoy

7     commander, but all he's doing is serving as a conduit.

8                 But look at what we see here, Your Honor.        The

9     convoy commander at the front set the speed, 50 to

10    60 miles an hour.     He said the vehicles would be spaced a

11    hundred yards apart.      He said we're going to take this

12    route even though I know it's dangerous, it's the best

13    route we can go on.      And we're going to go through some

14    S-shaped curves, Your Honor, at high speeds, but in my

15    military decision making that's the best thing for us to

16    do to reduce the risk to you for me to help protect you.

17    That's what direct and plenary control is, Your Honor.

18    The military has truly taken KBR in that instance under

19    its de facto command because the KBR truck spaced between

20    military trucks is going to do exactly what is directed

21    and for its own safety.      It's going to comply, Your Honor.

22    But we have a high degree of complete and utter control of

23    every facet --

24                THE COURT:    Well, isn't a military base in a

25    forward -- a forward operating base in a war zone




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1     something that's heavily controlled by the military in

2     every respect?

3                 MR. LEDLIE:    Yes, Your Honor.     In many respects.

4     However, the relationship between the military and the

5     contractor on the base is much different than what you see

6     in the convoy cases because -- and let's go to the next

7     slide.    Then we can help parse this out a little bit, Your

8     Honor.

9                 The contracts are very much unlike the convoy

10    situation because the military is not giving direct

11    instructions to the individual contractor employees.

12    Doesn't do that.     They are not dictating every facet of

13    every day, every operation.       They are not that involved,

14    Your Honor.    They perform contract management.        They check

15    on the performance of the contract.        But they don't get

16    involved in how KBR orders their affairs.         They don't get

17    involved in how KBR determines exactly the best way to

18    meet the contractual requirements.        That's the difference.

19                Plenary control is direct control.       It means

20    that when you ask KBR who they answer to in the convoy

21    situation and the declarations in that case that you see

22    from the KBR personnel is that they knew full well that

23    they answer in that situation to the C.C., the convoy

24    commander.    The military convoy commander is who set

25    everything that they were doing.       They had no choice and




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1     wouldn't dare of dreaming of doing anything different.

2                 You talk to the people that we heard at the burn

3     pits and they say no, I was answering to KBR's management.

4     They were the ones that were giving me any instruction.

5     The military was not telling me what to do on a day-to-day

6     basis.    It's not plenary control.      It's not direct

7     control.    It's contract management.      It's completely

8     different, Your Honor.      You need to do the discriminating

9     analysis.

10                How do we know this?     Well, there are other

11    LOGCAP III cases out there other than Carmichael.

12    Carmichael was in a force protection convoy situation.

13    There was direct and plenary control there.         But in the

14    Taylor case, Your Honor, the court in Taylor looked at the

15    first prong of Taylor -- I'm sorry -- the first prong of

16    political question and said, well, let's look at the

17    contract.    Was KBR under the direct and plenary control of

18    the military?     No.   By looking at just the contract terms,

19    we can see that the contractor shall be responsible for

20    the safety of their employees and base camp residents and

21    have exclusive supervisory authority and responsibility

22    over their employees.      That is giving the contractor

23    discretion in determining how they're going to meet that

24    standard.    And in that situation the court said that's not

25    direct and plenary control.       That's not a political




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1     question under prong 1.

2                 They moved on to prong 2, which Your Honor did

3     not tee up for today's hearing.       We will respond to your

4     questions on that as best we can, but it hasn't been --

5                 THE COURT:    Well, I wasn't trying to narrow your

6     argument at all.     I just said some things I wanted to make

7     sure you all covered.      So you say anything you want.

8                 MR. LEDLIE:    Oh, yes, Your Honor.     No.   I wanted

9     to clarify that the two issues that you put up for today's

10    hearing, Your Honor, were the extent of control and the

11    integration question, Your Honor.

12                You are now asking some questions about the

13    second Taylor factor which plaintiff did not understand

14    that the court would be entertaining.        KBR raised it in

15    their brief and so we did respond and we will get to

16    Taylor 2, Your Honor.      But the short answer there is it's

17    not ripe for the court's consideration at this time and it

18    wasn't something that was discussed as being at issue for

19    today's hearing.

20                But Harris is another LOGCAP III case.        I should

21    point out, Your Honor, the very language that Taylor found

22    determinative as to whether or not Taylor Factor 1 was at

23    issue, the very same language is contained in the LOGCAP

24    task orders at issue in this case.

25                Harris was another LOGCAP III case.       If contract




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1     administration, Your Honor, was sufficient to trigger

2     direct and plenary control, we wouldn't have Taylor

3     advancing on Factor 1.      We wouldn't have Harris advancing

4     on Factor 1.    You wouldn't have any of these cases.        But

5     it's not a per se rule, Your Honor.        You've got to look at

6     the precise facts.

7                 In Taylor, the precise facts were KBR sent out

8     some electricians.     They had their own electricians.         They

9     got there in their own truck.       They did their work.     There

10    was a question about them doing that work, whether they

11    complied with the contract terms and conditions.          The

12    court said on that they were self-managed.         They had their

13    own reasons for hiring the electricians they did and for

14    doing the work they did.      If they complied or not is not a

15    political question.

16                THE COURT:    Well, isn't there a significant

17    difference between analyzing something as simple as that

18    one discreet incident under the circumstances you've just

19    described and making the same assessment over a decade

20    long period of time in two vast countries and theaters of

21    war?   Isn't it a bit different?

22                MR. LEDLIE:    Very different, Your Honor.      But

23    simply because the task is difficult, it doesn't give this

24    court the ability to abrogate its duty to decide

25    justiciable questions.




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1                 Harris LOGCAP III is another LOGCAP III case,

2     Your Honor.    It was brought under Task Order 139, one of

3     the task orders at issue in this case, Your Honor.          It was

4     a maintenance function under that contract, not waste

5     management.    But there, once again, the entire structure

6     of the LOGCAP program, when it comes to the on-FOB

7     provision of support services gives KBR significant

8     discretion in how to complete their work.         Where

9     plaintiffs' claims are based solely on whether KBR

10    satisfied its contract duties, that Taylor Prong 1, direct

11    and plenary control factor is not satisfied.         That is a

12    justiciable case that moves on to whether or not there is

13    some other reason why the case cannot go forward.          But it

14    is a justiciable case in controversy, Your Honor.          The

15    same thing is true here.      The same terms are true here.

16                Here's Task Order 89 has work site safety.

17    Making sure that -- the same language from Taylor, Your

18    Honor, as well as 1.1.2, there was a question about OSHA.

19    OSHA was a required term in the contract, Your Honor.

20    Right there in Task Order 139.       And this makes clear that

21    KBR is being the one that's being tasked with the job of

22    making sure that their work, the work that they are

23    performing under the contract is safe for their employees,

24    but also for the base camp residents during all contractor

25    operations in accordance with the statement of work and




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1     the army and OSHA safety regulations as applied to the

2     Iraq theater of operations.       So extraterritorial OSHA,

3     yes, specifically mentions applying it in the Iraq theater

4     of operations, Your Honor.

5                 This is probably the most important provision in

6     the LOGCAP III contract, Your Honor, with respect to both

7     direct control under the Taylor test as well as command

8     authority under the Saleh test and it's provision 1.1.1 of

9     Plaintiffs' Exhibit 2 and it states that the contractor

10    shall have the exclusive supervisory authority and

11    responsibility over its employees.        The government shall

12    manage the contract, but will not exert control or

13    supervision over contractor employees.        That was the

14    standard as written in the contract.        It was also the

15    standard as administered in the field, Your Honor, and

16    because of that, this case does not present a situation

17    where the court doesn't have discernible standards or

18    whether despite the existence of discernible standards,

19    the military so thoroughly overtook KBR's movements and

20    operations at the job site that it creates a political

21    question or triggers the Saleh combatant activities

22    exception, Your Honor.      And I'd like to explore that

23    further.

24                Task Order 139, Your Honor, gave KBR operational

25    control in the context of the statement of work, so in the




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1     terms and conditions of the contract, the contractor is

2     fully responsible for performing the function, service or

3     capability specified by the government.         The contractor

4     shall report its performance outcomes to the responsible

5     and accountable government official in charge.          But the

6     contractor, not the military commander shall maintain

7     supervisory control over all contractor employees.

8                 Every witness that took the stand -- they were

9     mainly KBR witnesses -- understood that KBR was not

10    integrated into -- we didn't have a situation where the

11    military was running a burn pit and they just assigned

12    some KBR guys to go work for a sergeant commanding that

13    operation in day to day.      They weren't taking their

14    day-to-day instruction from the military.         They were

15    taking their day-to-day instruction from their own

16    management and their own management was determining how

17    they would exercise operational control over that site to

18    adhere to the contract requirements, Your Honor.

19                THE COURT:    Mr. Ledlie, are you at a point where

20    we could take a break?

21                MR. LEDLIE:    I am, Your Honor.

22                THE COURT:    Because I'm looking at your slides

23    and I'm saying, hmm, he's not going to be done in 15

24    minutes.

25                MR. LEDLIE:    This would be a good transition




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1     point, Your Honor.     If I could just go over this one point

2     and then --

3                 THE COURT:    No.   Finish your thought.     I don't

4     want to interrupt your thought.       But I thought we would

5     take a break for lunch.      Then you could wrap it up then.

6                 MR. LEDLIE:    Sure.   Well, let me just leave you

7     with this, Your Honor, for the lunch break.         Direct and

8     plenary control we know from Carmichael is the military

9     taking complete ownership over that particular mission on

10    those -- if this case was about a convoy stopping on the

11    side of the road and creating a burn pit and everybody

12    camping around it for the night and moving on, we wouldn't

13    be here, Your Honor.      Because in that situation, the

14    convoy commander has complete control of that mission.

15    The mission is not the war effort in Iraq, Your Honor.

16    The mission is that specific function being followed.            In

17    that case, convoy.     In this case, waste management and

18    water functions.     And in that situation, the management

19    and control of contractors is significantly different than

20    the command and control of soldiers and the Department of

21    Army civilians.     That's from the field manual, Contractors

22    on the Battlefield, Your Honor.       I understand.     And I,

23    too, would like a lunch break, Your Honor.         So if this

24    would be a good transition point --

25                THE COURT:    Well, ignore that clock.      We'll take




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1     a break until 2 p.m. and by the time you get back, that

2     clock will be fixed.

3                 (Luncheon Recess.)

4                               AFTERNOON SESSION

5                 THE COURT:    You may resume, Mr. Ledlie.

6                 MR. LEDLIE:    Thank you, Your Honor.

7                 Your Honor, as I discussed earlier, neither the

8     plaintiffs, the defendants nor the court under the

9     political question doctrine and separation of powers

10    principles is allowed to second guess sensitive military

11    judgments that were expressed through the contracting

12    process set up by the United States military for use in

13    contracting on the battlefield.       That's what this case

14    involves and the operative standards are set forth in the

15    actual contracts.     And the contracts must be given the

16    weight that they deserve as the determinations by the

17    United States military as to what KBR was obligated to

18    perform in order to adhere to their contractual

19    obligations that they agreed to meet.

20                Mr. Baker in his opening and during our evidence

21    portion walked Your Honor through a number of these

22    contracts and I just want to highlight a few of the

23    significant facts.

24                Primarily, Your Honor, that when you look at

25    these contracts, particularly under the political question




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1     doctrine looking at whether they directly controlled or

2     plenary control, what is made clear through the contracts

3     is that they afforded KBR as the subject matter expert the

4     discretion to determine how it would achieve the

5     standards.    They set tasks and performance standards.         But

6     they did not dictate every minutia as to how KBR was to

7     perform waste management or water services.

8                 We're not going to go in detail, Your Honor, but

9     you'll notice, for instance, in Task Order 59 and the

10    timeframe in this would have been in October of 2004, Your

11    Honor, that the contractor shall provide, operate and

12    maintain a waste management system.        It doesn't say burn

13    pit.   It doesn't say exactly how they are to set that up.

14    It doesn't say they're going to interact with a army

15    environmental officer in coming up with their system.           The

16    contractor is given that responsibility.         The contractor

17    is expected to know how to do their job as a subject

18    matter expert.     But in doing their job, they do have to

19    adhere to the performance standards of meeting army

20    regulatory guidance and supporting the population and

21    function of the base camp.       The contract specifically

22    states that the contractor, KBR, is responsible for

23    collecting and storing HAZMAT, HAZ waste generated by

24    their internal operations and utilizing DRMS to transport

25    and dispose.    HAZMAT was a separate category of waste that




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1     needed to be dealt with in an appropriate fashion.

2                 And even in 2004, the United States military was

3     making it clear in the contractual requirements that

4     HAZMAT needed to be placed in a HAZMAT disposal area.

5                 THE COURT:    Would that include water bottles?

6                 MR. LEDLIE:    Your Honor, in 2004, the definition

7     of HAZMAT or HAZ waste would be governed by army

8     regulatory standards.      And as Your Honor has specifically

9     held off discovery on violations, the language in the

10    contract doesn't speak to that specifically, Your Honor.

11    But it does make clear that military units are responsible

12    for establishing their own hazardous waste areas, but the

13    contractor shall utilize the military's hazardous waste

14    storage area for disposal and collection of HAZMAT at

15    those locations where it has been established.

16                On the plastics issue though, Your Honor, I

17    would point out that once again KBR, if you look at their

18    evidence, is conflating military operations, military burn

19    pits with contractor-run burn pits.        If KBR had specific

20    permission to dispose of plastic water bottles, you would

21    find that in the contracting process, in the contracting

22    documents, Your Honor.      And you don't see that in 2004.

23                Instead at this time, this was before any stop

24    work order or anything of the sort, the contractor was

25    required to incinerate using a contractor-acquired




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1     incinerator and as we discussed, Your Honor, these were in

2     fact ordered and shipped.      That was the army's initial

3     plan.   All solid waste to include medical waste, but

4     excluding recyclables.

5                 The intention of the contract documents make

6     clear that recyclables were something which would include

7     plastic water bottles, Your Honor, that KBR was to deal

8     with, to segregate, to separate.       And they go on to talk

9     about the ensure the products of combustion.         It's talking

10    about the incinerator there, Your Honor.         But that doesn't

11    remove the fact that these contracts did set forth army

12    regulatory guidance that applied to how waste was to be

13    handled including a requirement that certain products be

14    segregated out and disposed of in a different channel of

15    disposal.    In fact, notwithstanding any other provisions

16    in this statement of work, the contractor shall comply

17    with all U.S. laws.

18                There is a clear contract term, Your Honor, that

19    allows for in case of any inconsistencies like we don't

20    have an incinerator right now, what should we do?          The

21    contractor shall contact the administrative contract

22    officer, identify the inconsistency and seek guidance.

23    All performance shall meet army regulatory standards

24    unless otherwise stated.

25                In performing their work, KBR agreed to be




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1     responsible for the safety of its employees and base camp

2     residents during all operations in accordance with army

3     and OSHA safety regulations and guidance.

4                 Once again, 1.4, Your Honor.      These were not

5     one-size-fits-all contracts.       This was not a

6     one-size-fits-all contracting process.        This was not the

7     army's first time going to battle with contractors as a

8     support element.     That's been true throughout the history

9     of the United States Army.       In fact going back to before

10    this even was a country when we were in the revolutionary

11    battles, contractors have always supported orders on the

12    battlefield.    The army has a long history of knowing that

13    that can be done.     And that in order for it to be done

14    effectively and to be done in a way that actually serves

15    the army's mission, they need to know that the contractor

16    is going to get them what they need and the way that they

17    determine that process is through the contracting process

18    and the contracting documents.

19                And once the army, the military has set forth

20    those standards in writing to the contractor in clear and

21    unambiguous terms, Your Honor, this court cannot second

22    guess the wisdom of the army's decision making in this

23    area.   The army knew what it wanted.       It said what it

24    wanted.    It didn't get what it should have gotten.

25                The army said knowing that this was a task




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1     order, you can see up here under LOGCAP statement of work,

2     Multi-National Force, Multi-National Corps Iraq Sites.

3     The army knew that it was in Iraq when it issued this task

4     order.    And it said the contractor shall adhere to the

5     Overseas Environmental Baseline Guidance Document in the

6     performance of this statement of work unless otherwise

7     directed by the ACO as determined to be in the best

8     interest of the U.S. government.       And when you look at

9     that OEGBD, Your Honor -- did I say it right?

10                THE COURT:    We'll draft you into the military

11    sooner or later with all these alphabet soup terms.

12                MR. LEDLIE:    Well, Your Honor, I should note

13    that I am a veteran.      I'm a former armor officer and a

14    former JAG officer.       So I've had a little bit easier time

15    with some of the terminology.       But OEBGD, something about

16    that term in particular is a tongue twister for me.          I

17    think it was for Ms. Burke as well.

18                If we can go to the next slide, Your Honor?

19                Once again, this is not a -- this was

20    specifically included in this Iraq statement of work.            It

21    comes from the Department of Defense.        March of 2000.      And

22    certainly, these contracting officers at the Rock Island

23    division of the Army Sustainment Corps at that point would

24    have known what this document said.        One of the terms is

25    that open burning will not be the regular method of solid




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1     waste disposal.     That's what the military said in their

2     considered judgment as applied to Task Order 139 -- Task

3     Order 59.    This was a very early document, Your Honor.

4     2004.   And that is what the military has said.

5                 But in considering the facts of this case, in

6     giving the discriminating analysis which Baker requires,

7     we aren't dealing with, unfortunately for Your Honor, just

8     one timeframe and the standards did change over time.

9                 In 2006, once again a LOGCAP statement of work

10    for Iraq, we see new language in the non-hazardous solid

11    waste management and disposal program.        There is still a

12    requirement that the contractor come up with a waste

13    management system and program to include containers and

14    dumpsters, separation, collection and removal of gray

15    water to -- and black water to meet army regulatory

16    standards and the master statement of work or MSOW.

17                The contractor shall conduct non-hazardous

18    waste, solid waste management activities in accordance

19    with the order of precedence below.        So this only applies

20    to nonhazardous solid waste.       But with respect to those

21    items, the contract required that the contractor shall

22    conduct recycling in accordance with the LSO and at the

23    direction of the ACO incineration, if possible, landfills.

24    The contractor shall provide new and utilize

25    uncontaminated existing landfills in coordination with the




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1     LSO and at the direction of the ACO and the Multi-National

2     Corps C-7 Environmental SOP.       Even in 2006, Multi-National

3     Corps Iraq had environmental SOPs that related to how

4     non-hazardous waste would be handled in theater, in the

5     war theater and it was included as a term and condition of

6     the contract.

7                 Surface burning at this time -- this is in 2006.

8     The first -- I can't say that this version, 14.2, is the

9     first one.    But we do see at this time surface burning as

10    one of the programs which might be approved by the

11    contract officer, but --

12                THE COURT:    Mr. Ledlie, the slide you've got on

13    the screen is 78 and my slides stop at 54.         Do you have

14    some more?

15                MR. LEDLIE:    Your Honor, I was not planning to

16    go back through the contract language with Your Honor

17    because I thought we had one -- I was planning on one hour

18    for this presentation.      Given the breadth of my

19    colleagues' presentation and the importance of the

20    contract language, which once again, Your Honor, we think

21    is critical to this case, it does set the discernible

22    standards that must be applied in this case.

23                THE COURT:    Well, that's fine.     Just give me the

24    slides later.     That's fine.

25                MR. LEDLIE:    Oh, yeah.




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1                 THE COURT:    If you don't have copies, we can

2     make copies.    But that's fine.

3                 MR. LEDLIE:    Yes, Your Honor.     We'll be happy to

4     do that.

5                 THE COURT:    Okay.   Thank you.

6                 MR. LEDLIE:    The surface burning, Your Honor,

7     had to be done at the direction of the ACO and it speaks

8     to the contractor providing new or operate an

9     uncontaminated existing burn pit site while minimizing the

10    environmental effects on the base camp.         They are the

11    subject matter experts.      If they got permission from an

12    ACO to do surface burning, now the what-not-how is do so

13    in a way that minimizes the environmental effects on the

14    base camp.

15                The contractor shall ensure the products of

16    combustion are reduced to give ash and non-combustible

17    components.    The contractor shall minimize any type of

18    smoke exposures to the camp population.

19                I know that Your Honor at this time has set

20    aside the violations issue for a later date.         But it is

21    very much part of our claim, Your Honor, and since the

22    contract required clear language as to minimization and if

23    you look at the case law, that is the type of standard

24    that is exactly what you would expect in a what-not-how

25    contract.    And what-not-how contracts are discernible and




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1     are justiciable.

2                 I know you've seen this one, Your Honor.

3     Mr. Baker covered it.      But in Task Order 139, now we're

4     going forward at 2008.      Time matters.    Conditions change.

5     The base sizes change.      There are differences going on on

6     the ground.    It's not a one-size-fits-all contract.        The

7     contract continues to adjust as the contractor and the

8     military adjust the standards that apply to KBR.          But

9     whatever standards are in place, Your Honor, we don't

10    second guess, KBR can't second guess and Your Honor can't

11    second guess.     They're set forth in black and white and

12    they are contained in the evidence in this case.          It sets

13    both performance standards and performance objectives,

14    Your Honor.

15                This is 139, Your Honor.      Your Honor has seen

16    the contracts and I'm not going to walk you through every

17    one of them again.     But I will point out that one of the

18    things that you'll see is that these contracts contain not

19    just these initial portions, but we talked about the

20    reference documents contained in the contracts.

21                And you heard the testimony that I referenced

22    earlier from Mr. Walsh that said, yeah, if you include a

23    reference document, environmental standard and SOP those

24    are terms and conditions in the contract.         Those do need

25    to be applied.     They are enforceable.     And one of the SOPs




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1     that we see is the Multi-National Corps SOP that

2     specifically relate to if you have a burn pit.          Okay.    And

3     this is -- it's a military SOP which is now being

4     incorporated into the contract document.         So when the

5     military has a burn pit, it says only wood and wooden

6     products, paper and paper products or canvas uniforms will

7     be accepted.

8                 So the military when it's running its own burn

9     pits, it has standards on what goes -- what kind of

10    materials can go in them and they elected as a decision of

11    sensitive military judgment to include that SOP as a

12    mandatory term of the contract that applied to KBR.

13                THE COURT:    It applied everywhere, didn't it?

14                MR. LEDLIE:    It applied -- in this instance, it

15    did because we see it in -- it's a military SOP which has

16    now been included as a reference in the contract.          So it

17    applied -- you're right.

18                THE COURT:    I understand.    But this same

19    contract language would be included in a contract for

20    similar work at a sleepy base in the middle of the

21    California desert with no battlefield activities going on.

22    Right?

23                MR. LEDLIE:    Absolutely not, Your Honor.      This

24    is a Multi-National Corps Iraq SOP.        This isn't a

25    California SOP.




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1                 THE COURT:    Well, don't they have the same SOP's

2     applying elsewhere?

3                 MR. LEDLIE:    In California, Your Honor, I don't

4     think you could run a burn pit anywhere.

5                 THE COURT:    I'll stipulate to that.

6                 MR. LEDLIE:    Once again though, if you're going

7     to be doing this, you know, there's a process, there's a

8     procedure.    You have to respect the contract process.         You

9     can't second guess it.      You can't say I don't think they

10    should have agreed to that.       That doesn't seem like what I

11    would have written if I was the contracting officer.          Your

12    Honor isn't the contracting officer and you have to

13    respect the sensitive military judgment that they made in

14    determining what was feasible for KBR and which KBR needed

15    to seek relief from if they didn't find it feasible

16    themselves.

17                So Mr. Baker did a far more robust job than I

18    have, Your Honor, on the contracts.        But Your Honor has

19    heard the evidence.       You understand that there are

20    discreet and discernible standards in those contracts.

21    They're not one-size-fits-all.       They were specific to

22    Iraq.   They were included.      Over time, they did change.

23    But they never permitted the unfettered use of burn pits

24    to burn anything and everything.       It just simply wasn't

25    what KBR's obligations ever were.        And the record is clear




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1     on that.

2                 And whether KBR could use a burn pit or what or

3     how they were permitted to use the burn pit or the terms

4     and conditions that applied to waste management are not

5     judgments that this court can second guess.

6                 Authorizations to use burn pits, there were

7     some.   We produced to Your Honor every one that we could

8     find and KBR did not come back with any additional ones

9     that I'm aware of.     If they did, they are what they are.

10    We don't question the wisdom of a contract officer if he

11    did grant KBR permission to use a burn pit at a given base

12    at a given time.

13                If they followed the standards that were also

14    required in that contract with respect to that use, then,

15    Your Honor, at the appropriate merits phase, we'll have a

16    problem because we don't second guess any military

17    judgments that were set down through the contracting

18    process.    But any suggestion that there was a blanket

19    across the board, all base, all time, all products, Your

20    Honor, it simply doesn't match the evidence in this case.

21    And we can't second guess the contracts and we can't

22    second guess the contracting process.        The contract

23    documents present ascertainable standards that do not

24    implicate the political question doctrine.

25                Before I move on, Your Honor, does the court




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1     have any questions for me about -- well, let me do one

2     thing before I -- interrupt me as you will, Your Honor.

3     But I would like to pull up a slide of -- a demonstrative

4     slide, Your Honor, of a KBR burn pit and we're going to

5     look -- and this is based primarily on Mr. Robbins'

6     testimony.    That he is represented here with a red hat.

7     He was overseeing the burn pit where he was stationed.              He

8     had some third country nationals, TCNs, that were assigned

9     that he was supervising doing the operations.

10                Your Honor, this is the complete contrast to

11    what we saw in Carmichael.       Inside this burn pit, we don't

12    see a permanent presence of a military officer giving

13    these third country nationals or Mr. Robbins' daily

14    instructions on exactly how to handle waste at that site.

15    That's not the way the process worked.        This was KBR's

16    site for KBR to manage their employees.

17                If you had and you'll see on the slide, Your

18    Honor.    I have DCMA up here.     If DCMA and ACO came out or

19    a QAR came out for an inspection for five to ten minutes

20    or half hour, they might go into the burn pit.          They would

21    be observing what was going on, but they would not be

22    directly supervising or giving instructions to the

23    personnel.    They would go back to KBR management and if

24    they had issues, they would make them known.         It was up to

25    KBR to deal with them, Your Honor.        It's not -- it's just




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1     not Carmichael.     It's not direct and plenary.      It's

2     contract management.

3                 And while DCMA had the true ability, the

4     contract officers to direct a contractor, to the extent

5     that there were any CORs or any coders or the other terms

6     that you've heard, Your Honor, those people could not even

7     give any instructions to modify or direct the contractor

8     on anything.    They were simply there to serve as the eyes

9     and ears of DCMA to provide input.        But they didn't have

10    the ability -- they certainly didn't have direct and

11    plenary control over KBR's personnel in the way that you

12    see in the convoy situation.       It's completely different.

13    Operational control of that site was granted to KBR to

14    perform their duties as tasked in the contract.          Night and

15    day difference, Your Honor.

16                DCMA performs contract administration.        But does

17    not directly control contractor employees or dictate how

18    KBR meets its performance standards.        In the convoy case,

19    the convoy commander does dictate exactly how that convoy

20    operation is going to work from when it starts to when it

21    ends.   And he communicates through a KBR personnel, true.

22    But he is the one in charge of that pit.         At this pit,

23    Your Honor, Mr. Robbins was in charge and he was

24    supervised by his KBR management.        The military if they

25    showed up for a surveillance audit, was there for a short




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1     while.    Did not give him any instructions or directions.

2     They looked at what was going on.        Maybe exchanged some

3     pleasantries.     And if they had issues, they would have

4     reported back to KBR's management.          That's not direct and

5     plenary control, Your Honor.        With that said, Your Honor,

6     does Your Honor have any questions?

7                 THE COURT:    No.    I think you very adequately

8     covered it.

9                 MR. LEDLIE:    Thank you, Your Honor.

10                THE COURT:    Thank you.

11                MR. LEDLIE:    While I'm doing that, Your Honor,

12    to the extent that I'm drawing anything on there, does it

13    help Your Honor at all or are you looking mainly at the

14    paper document?

15                THE COURT:    You mean if you are drawing on the

16    screen right now?

17                MR. LEDLIE:    Yeah.   I was.

18                THE COURT:    Go ahead.    That's fine.    I'll look

19    at it.

20                MR. LEDLIE:    I didn't know which version Your

21    Honor was looking at I guess.

22                THE COURT:    Well, of that document that's up

23    there?

24                MR. LEDLIE:    No.   It's fine, Your Honor.

25                THE COURT:    No.    If you want to put something on




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1     the overhead thing and mark it up or you can do it on the

2     screen, too.    That's fine.     We are a hi-tech courtroom.

3     You can do it any way you want.

4                 MR. LEDLIE:    I appreciate it.

5                 THE COURT:    You can do low-tech on that thing on

6     the right and hi-tech on the screen.

7                 MR. LEDLIE:    So to speak more to this, Your

8     Honor, though, there was an absence of plenary or direct

9     control that was the very structure of the LOGCAP's

10    contract as to functions within a FOB.        Functions within a

11    FOB, KBR was fully responsible for performing the function

12    or capability.     That's from Exhibit 38, Your Honor.

13                And KBR did maintain supervisory control over

14    all contractor personnel.      Task Order 59, Exhibit 76.

15                Exclusive supervisory authority and supervision

16    over their employees.      Contrast that to Carmichael, Your

17    Honor.    Contrast that to direct and plenary control.        It's

18    not.   The relationship of KBR and the U.S. Army was at all

19    times to be that of an independent contractor.

20                Your Honor is familiar with independent

21    contractors and that you can set a standard in a contract

22    and ask that contractor to go out and perform it.          But you

23    don't have the authority to go and interfere with how he's

24    doing that.    You manage a contractor through whether or

25    not he meets the terms and conditions and you change it




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1     with his agreement through accepted contracting

2     principles.    That's not Carmichael.

3                 In fact, contractors not in a convoy because in

4     a convoy situation, Your Honor, as the LOGCAP contract

5     recognizes, contractors are not lawyers.         They are not

6     equipped to deal with the threats that are engaged on a

7     route in insecure areas.      In those areas, they have to

8     rely on the military.      In fact to reserve their Geneva

9     Convention status and everything else, they can't protect

10    themselves in that way other than self-protection.          They

11    can't actively engage the enemy.       They have to rely on the

12    military.    But once they get on the base within their

13    area, they are given operational control over that site

14    and they're expected to be self-sufficient --

15                THE COURT:    Well, they are relying upon the

16    military for their safety and security, aren't they?

17                MR. LEDLIE:    Your Honor, they do rely on the

18    military for the security of the base itself.         And

19    certainly, if they came under mortar attack and the base

20    commander came out and said, you know what, I want you to

21    shut down the burn pit for now, go back to your -- go back

22    over here with my guys, they would have to listen to that.

23    Absolutely, Your Honor.

24                But in their day to day, 6 to 6 or 7 to 7,

25    outside of an unusual circumstance, as General Vines




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1     himself said, I'm not going to direct a contractor in the

2     performance of their work.       We don't do that.    We rely on

3     the contracting professionals -- we rely on KBR to manage

4     their employees.     And if there's an issue that needs to be

5     brought up otherwise, we rely on the contracting process.

6     That's the way the military works in wartime with

7     contractors because contractors are not direct reports to

8     the base commander.      They work for KBR.     They are not

9     expected to take individualized authoritative direction

10    from military officers.      In fact, it's prohibited by every

11    standard of contracting law.       Because if we did that, Your

12    Honor, we would be converting to be a government employee.

13    There's a large number of problems with that.         There would

14    be employment law issues.      There's a lot of reasons why we

15    don't allow that, Your Honor.

16                The army has worked with the LOGCAP program for

17    a long time.    They understand that.      The commanders

18    understand that.     The commanders that came here spoke to

19    their understanding that contractors are different.          We

20    didn't treat them as soldiers.       We didn't give them direct

21    supervision.    We didn't give them orders.       We relied on

22    their people to manage their folks and we relied on the

23    contracting -- we would plan with their management.          We

24    would tell them what's going on.       But that doesn't

25    constitute plenary or direct control.        That constitutes




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1     helping the contractor know what he's expected to do.           But

2     how to do that on a day to day basis, that's for the

3     contractor to manage once he knows what's coming.

4                 In fact, we don't tell the LOGCAP contractor how

5     to perform the mission.      We just tell them what the end

6     result has to be.     Exhibit 8.    It's the absence of direct

7     or plenary control.       The initial objective is to require

8     the contractor to be as self-sufficient as practical in

9     the wartime location.

10                And on most FOBs on most days as you heard from

11    the witnesses on the stand, the military was not all up in

12    KBR's business at the actual job site.         And if they were

13    there, they still respected the fact that KBR's personnel

14    worked for KBR and not for them.       KBR's subcontractors

15    they wouldn't really deal with at all.         They'd go back to

16    KBR's management if they had an issue and that's a

17    critical distinction between direct control and

18    contractual control.      One creates a political question.

19    One does not.     This is the latter.

20                We'll move on, Your Honor, to the combatant

21    activities exception questions on remand.         Unless Your

22    Honor has any other questions on --

23                THE COURT:    No.   That's fine.    That's fine.

24    Thank you.

25                MR. LEDLIE:    The first question, Your Honor,




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1     that you have phrased to us is whether -- or the Fourth

2     Circuit did -- whether the military retained command

3     authority over KBR's waste and water services.          Put

4     another way, the extent to which KBR was integrated into

5     the military chain of command.

6                 And there has been a suggestion that this

7     created -- that we're suggesting that there's a per se

8     rule that because the LOGCAP contract said maintain an

9     independent contractor status, that this test could never

10    be satisfied in the LOGCAP situation.        We know that's not

11    true.

12                In the Carmichael situation, they were over

13    there on a LOGCAP contract.       But they were in a very

14    specific mission at that time, a convoy, a military

15    convoy, a heavy militarized convoy.        And under the

16    contract, that fell under a special clause, force

17    protection and there was an unusual arrangement for that

18    limited purpose.     But on side the base, you don't see that

19    regularly day to day.

20                Yes, like I said, insurgents are storming the

21    fence.    Military is going to come in and they're going to

22    take control of that situation for the safety of everybody

23    on that base.     But the contractor on a day-to-day base

24    inside the site, they do not integrate into the military

25    chain of command.     The military has used them as a force




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1     multiplier.    They've moved those soldiers that might have

2     been performing waste disposal previously for the military

3     out.    They're not there anymore.     The contractor personnel

4     and the contractor management are there.         They've taken

5     over.

6                 But it's not true that in all situations,

7     contractors remain independent of the military.          Sometimes

8     the military doesn't follow that rule.        And you have to

9     look at Saleh as an example of a contractor that had lost

10    its status.    The contractor personnel had lost their

11    status as independent contractor personnel.         They were

12    being treated and they were assigned to work inside of a

13    military chain of command.

14                More specifically, the contractor employees were

15    actually teamed with military personnel who the military

16    personnel were themselves performing the specific task at

17    issue.

18                Interrogation.    So you have a military soldier

19    and an interpreter in a room together with a detainee

20    working as a team.     In this situation, they ultimately are

21    answering up to a military commander who has control of

22    the overall interrogation process.        So the sergeant and

23    the contractor work as a team.       And who sets that team's

24    performance?    Who is looking over them?       A military

25    officer.    That is what integration into a combatant




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1     activity over which the military retains command authority

2     looks like.    They're actually assigned to a military unit

3     and they're doing a job side by side with the soldier and

4     they're answering to a military commander who is giving

5     them authoritative direction.       It can happen.    It did

6     happen.    But that's not what we have here.

7                 The overall supervisor of the burn pit, if it

8     was a KBR burn pit was somebody like Mr. Robbins.          His

9     immediate supervisor was another KBR management person.

10    His ultimate supervisor was KBR management.         As you go up

11    the KBR chain of command, you hit KBR, KBR, KBR.

12                In Saleh, you didn't have that.       You had a

13    soldier and a contractor working together as a team, but

14    their work is being overseen by a superior military

15    officer and he's the one that decides what they're going

16    to do next, what they need to do different.         It's

17    completely different, Your Honor.

18                So the function of that is are they part of a

19    military unit?     A command is a military unit.      You have

20    command authority over the personnel in a unit.          If you

21    take a contractor and you put them inside of a military

22    unit and you put them as functionally the equivalent of a

23    soldier, you have a problem if you're a plaintiff because

24    you're going to run flat into the combatant activity

25    exception.    But that's not what we have here.




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1                 But it's not so clear and it's not so simple.

2     In Al Shimari, Your Honor, the military -- this was at Abu

3     Gharib prison.     And the military was unquestionably in

4     charge of the official command structure at Abu Gharib for

5     interrogations.     The military was short on interrogators

6     and they brought in some interrogator contractors and

7     these folks were assigned to the military command

8     structure at Abu Gharib and they actually had to submit

9     their interrogation plans to the military chain of command

10    for approval.     That's direct control, but it's also

11    integration into a combatant activity over which the

12    military is definitely exercising command authority.          They

13    are approving or disapproving the specific plans.          And

14    they were actually once again interrogated -- I'm sorry --

15    integrated into interrogation teams under direct military

16    command.    It's completely different than what we see at

17    the burn pit.

18                But the court found that even though the

19    military had command of the prison and even though the

20    interrogator personnel were required to submit these plans

21    and there were some guidance documents that they were

22    supposed to follow and there was military officers looking

23    over them during the day, that at night, the military

24    wasn't -- there was a command vacuum.        They were not

25    actually on the ground providing plenary or direct control




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1     or in this case integrating them into the command

2     structure at all times because the command structure

3     wasn't operating very well at all times.

4                 And in those circumstances, Your Honor, the

5     formal control that existed, even though they were

6     integrated into a true military chain of command was not

7     sufficient to create the need to trigger the combatant

8     activities exception because as a practical measure, you

9     look at what actually happened at the site when the events

10    at issue were happening.      And here they said there was a

11    formal structure, there was formal integration.          But at

12    night, there wasn't any commanders looking over this.            And

13    therefore, there was not actual control.

14                So Your Honor asked about formal versus actual

15    control.    This pattern of facts is very helpful to the

16    plaintiffs, Your Honor.      But we don't even get there.        We

17    don't even get there, Your Honor, because KBR was not

18    integrated into a military unit doing waste disposal.

19    They were the unit.      They were the civilian unit.      So

20    combatant activities, Your Honor, on which KBR bears the

21    burden.    But we see, Your Honor, there's at least a

22    genuine issue of material fact.       Far more than that, Your

23    Honor, it simply doesn't match the facts of this case.

24                Both in practice and in policy, that's made

25    clear that there is an absence of command authority in the




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1     waste and water issues here.

2                 I believe I made this point before, Your Honor,

3     but I want to make sure that it's clear.         When you do your

4     discerning analysis of combatant activities exception and

5     it speaks about a common mission, the mission is specific.

6     It's not war.     It's what's the task at hand.      In this

7     case, it was interrogations.       In our case, it's waste

8     management and water services at those bases where KBR is

9     the one doing it.

10                And so you can be integrated into the planning,

11    into the overall mission.      That's not the test.      If you're

12    going to do a discerning analysis -- a discriminating

13    analysis, you're going to look at the cases fairly.          You

14    find that you have to look at what's actually going on on

15    the ground.    And when you do that, Your Honor, it's not --

16    it's just not the case that the military was exercising

17    command authority.     They are exercising contractual

18    authority and there's a difference and every witness,

19    every general, every person said that.        Not only did they

20    say that, the documents say that.

21                Contractors on the Battlefield, a reference

22    doctrine included in the LOGCAP contract.         It must be

23    clearly understood that commanders do not have direct

24    control over contractor employees.        It couldn't be more

25    clear.    Contractor employees are not government employees.




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1     Only contractors directly manage and supervise their

2     employees.    Only contractors, Your Honor.       The

3     relationship is -- it goes on to state, the relationship

4     with the contractor does not extend through the contractor

5     supervisor to his employees.       Only the contractor can

6     directly supervise its employees.

7                  This is consistent with the holding in Harris.

8     The scope of preemption that includes contractors'

9     contractual violations is too broad to fit this preemption

10    because the conduct underlying these violations is

11    necessarily made independently of the military's

12    battlefield conduct and decisions.        This is the contracts

13    case.   This is governed by the contract and that contract

14    was managed through the contracting management arm of the

15    military that set forth terms and conditions.           By

16    definition, the military cannot retain command authority

17    nor operational control over contractors working on

18    performance-based contracts that describe the work in

19    terms of the required results rather than how the work is

20    to be accomplished.

21                Harris like this case was a performance-based

22    contract in which the independent contractor status of the

23    contractor was honored not just in the contract documents,

24    but in the field on the ground.

25                Among the witnesses that confirmed this was




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1     General Vines.     He said when asked the question, The

2     civilian contractors are not subject to your military

3     command and control through a chain of command.          Correct?

4                 That is correct.

5                 And do you agree that during your time in Iraq

6     that contractor employees are not under the direct

7     supervision of military personnel in your chain of

8     command?

9                 That is correct.

10                We didn't just ask them are they military -- are

11    they part of the military chain of command.         We asked them

12    the other question.      Are they under the direct supervision

13    of military personnel in your chain of command?

14                He said no, that is correct.

15                You agree that command and control of a civilian

16    contractor like KBR is tied to the terms and conditions of

17    the government contract?

18                General Vines agreed.

19                And that, meaning the terms and conditions of

20    the government contract is the exclusive measure of

21    command and control of the contractor as an entity?

22                I agree with that.

23                I believe we've covered this, but I want to make

24    sure I've got it a hundred percent correct, sir.          Were KBR

25    employees integrated into the official command authority




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1     of Multi-National Corps Iraq?       They were not.

2                 We didn't just ask the combat commander.        We

3     asked DCMA.       Are you just exercising contract management

4     or have you put these KBR personnel into your chain of

5     command?    Augusta Fehn said no.     She wasn't the only one.

6                 Colonel Steven Zamparelli, DCMA commander, 2003

7     to 2004.    So was KBR responsible under the LOGCAP for

8     supervising its employees?

9                 Yes.

10                And was KBR responsible for supervising its

11    subcontractors?

12                Yes.

13                And were KBR employees ever part of the

14    military's chain of command?

15                No.

16                And were KBR's subcontractors ever part of the

17    military chain of command?

18                No.

19                And would a contractor employee become

20    integrated into an assigned unit and rotate in and out of

21    theater with the unit, a military unit?

22                Not to my knowledge.     Not by direction of the

23    government, to my knowledge.

24                That's not the way that LOGCAP contractors were

25    treated.    That's because the LOGCAP is not a personal




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1     services contract.     The military can't enter into

2     arrangements with civilians where they will take

3     personnel, civilian personnel who take day-to-day

4     direction from the military.       But it's a particular kind

5     of contract, a personal services contract which under the

6     FAR, the LOGCAP is not.      The LOGCAP is a services contract

7     that by the Federal Acquisition Regulations is required to

8     adhere to a performance standard system as opposed to a

9     personal services.     And the reference to that, Your Honor,

10    is Exhibit 40, LOGCAP 101 and Operational Planners Guide.

11                A lot of witnesses, Your Honor, were deposed in

12    this case and in our brief, which you know is evidence in

13    this case, everything that's cited therein.         I don't have

14    time to chapter and verse, go through every point that KBR

15    made in their three-hour presentation.        I don't need to,

16    Your Honor, because the evidence is in our brief.

17                And I'm pointing you to some of it now, but you

18    need to look if you have any questions, just as you've

19    been clear to me that you were with KBR, that if there's

20    more to look at, you're happy to look at it.         Your Honor,

21    at the end of this presentation, I'm going to go through

22    on various points and help direct Your Honor in our brief

23    to the various paragraphs that might be helpful to Your

24    Honor in sorting this out.

25                But Mr. Steinbugl, Colonel Steinbugl.        Now under




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1     the LOGCAP, was KBR responsible for supervising its

2     employees?

3                 Yes.

4                 Was KBR responsible for training its employees?

5                 Yes.

6                 Was KBR also responsible for supervising

7     subcontractors of KBR?

8                 Yes.

9                 That's echoed by Mr. Charlie Williams.        KBR was

10    responsible for supervising its own employees?

11                Yes.

12                And was KBR responsible for supervising its

13    contractors?      Well, for managing.

14                Yes.   For managing its contractors and for

15    training.

16                And when you say provide supervision, does KBR

17    supervise its own employees?

18                Gerald Vincent said yes.

19                Colonel Walsh who we spoke of earlier.        As DCMA

20    commander, could you directly discipline the KBR employee?

21                No.

22                The KBR subcontractor, could you discipline

23    them?

24                No.

25                Did you personally evaluate or sign off on any




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1     particular employees -- KBR employees' performance of

2     their job duties under the LOGCAP III?

3                 No.

4                 If KBR was integrated into the military chain of

5     command of DCMA, which is a military command, Your Honor,

6     but he would be as we saw in the Saleh case and in the Al

7     Shimari case, looking at the performance of an individual

8     contractor and weighing in on that.        That's not the way

9     LOGCAP worked.

10                Did KBR -- Mr. Singleton.      Not just military

11    witnesses.    KBR's own witnesses.     Did anybody from KBR

12    report directly to DCMA as their supervisor?

13                No.    Nobody.

14                Did DCMA conduct training for any KBR employees?

15    No.

16                And I think we've already established that DCMA

17    didn't have the ability to fire any KBR employees.          Is

18    that correct?

19                Yes.

20                This is an independent contractor, Your Honor.

21    This is what it looks like.       DCMA relied primarily on KBR

22    to perform quality assurance and inspections.         DCMA had

23    limited personnel in theater.       That's not being critical.

24    That's pointing out that the control that was exercised

25    over KBR was not as KBR has suggested to this court.




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1                 There were limited amount of personnel.        There

2     were major -- as is identified in our brief, there were

3     major problems with the contract supervision system.          But

4     as in Al Shimari, that's simply pointing out that on the

5     ground, things were not as robust as the formal system

6     might suggest.     But that's okay.    That doesn't create a

7     combatant activities exception.       Far from it.

8                 Although DCMA was delegated contract

9     administration authority for LOGCAP, DCMA in fact relied

10    on the prime contractor, KBR, to perform quality assurance

11    inspections and repair in those facilities.

12                So we have a report here from the Inspector

13    General and he's obviously not speaking specific to burn

14    pits here, Your Honor.      I want to be clear about that.

15    This is Exhibit 52.      But this is the way the entire LOGCAP

16    program was set up.      KBR was directly responsible for

17    making sure that it met the performance standards.          It was

18    a requirement of the contract that they do that.

19                The standards are clear.      The lack of

20    conformance with them will be proven in this case, Your

21    Honor, and it has been through the witnesses that have

22    been allowed to testify that have been deposed so far.

23                And I'm not going to belabor this point.        It's

24    in our brief, Your Honor.      But the CORs, the suggestion

25    that the CORs were a meaningful and robust surveillance of




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1     the program, the CORs in theater did not adequately

2     monitor the contractor's performance.        That was the

3     finding, Exhibit 70 of the D.O.D. I.G. report.          LOGCAP

4     Civil Augmentation Program Support contract needs to

5     comply with the acquisition rules.

6                 The oversight of the LOGCAP support contract was

7     inadequate.    Not being critical of the military.        That

8     only comes into play if under a theory that the military

9     was itself negligent.

10                And I should address, Your Honor, briefly

11    although as we pointed out, it really wasn't teed up for

12    this hearing.     But as to both Al Shimari Factor 2 and

13    Taylor Factor 2, Your Honor -- I have to help my

14    colleague, Ms. Veldman, unless she already knows where I'm

15    going here because I do have a slide.        Second to the last

16    I think.

17                Under Taylor Factor 2, the National Defense

18    Interest factor which Al Shimari merely mirrors, Your

19    Honor.    Whether the plaintiffs' claims or KBR's defenses

20    require the court to question the military's judgments, it

21    isn't ripe.    So the court can't determine that yet.        KBR

22    has not, because of their jurisdictional motion, filed an

23    answer, alleged whatever their allegations are going to be

24    as to what defenses apply.       The court hasn't allowed

25    discovery in those areas.




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1                 Plaintiffs have asserted that Delaware law --

2     that the determination of this issue has to turn on a

3     choice of law analysis.      Plaintiffs have contended as a

4     general proposition that Delaware law applies to their

5     tort base claims.     And under Delaware law, the

6     contributory fault defense is not allowed with respect to

7     non-parties.    The United States government is not a party

8     to this action and Delaware law does not allow comparative

9     fault where the defendant's conduct is reckless which is

10    another of plaintiffs' allegations.        Similarly, Delaware

11    uses pure joint and several liability and KBR's defenses

12    do not apply to plaintiffs' contract claims in any event.

13                So that is an issue for another day, Your Honor.

14    But we did want to address it since Your Honor had asked

15    about it.    We do think that that needs a far more robust

16    record before Your Honor could take that up.         But that's

17    the answer to your questions there, Your Honor.

18                Going back to -- really this speaks to both lack

19    of direct or plenary control as well as lack of command

20    authority.    General Sanchez was quite clear that

21    individual military officials could not direct individual

22    contractor personnel.      He said that in this court as did

23    General Vines.     I did not have command authority over

24    KBR's employees.

25                I asked him, KBR's command and control is




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1     exercised through contract management, not command?

2                 That is correct.

3                 And the DCMA is a military organization?

4                 They are, sir.

5                 But through your declaration, I just want to

6     make clear that your command as the military commander,

7     you had command and control over your forces, your, the

8     forces assigned to you?

9                 That is correct.

10                But you did not have command and control over

11    KBR's employees?

12                That is correct.

13                Similarly, the contracting arm, Your Honor.

14    General Radin.     KBR was not in the military contracting

15    chain of command.     He's a two-star general, Commander of

16    U.S. Sustainment Command in charge of overseeing the

17    LOGCAP contract.

18                Did you have command and control authority over

19    KBR employees?

20                No.

21                As a two-star general commander of the United

22    States Sustainment Command in charge of overseeing the

23    LOGCAP III contract for funding and management, did you

24    possess, command and control authority over KBR's

25    subcontracted employees?




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1                 No.

2                 KBR was not in DCMA's chain of command.        Wes

3     Bennett said it perhaps most succinctly.         He was asked by

4     KBR, Did you also provide oversight of the KBR employees

5     to the extent they were providing a service that you

6     authorized?

7                 His answer:    I don't think my oversight was

8     specific to employees.      It was more general to the

9     performance of the contractor.       That's what contracting

10    personnel looked for.      Performance of the contract.

11                Within that structure, did you provide

12    supervision or guidance to KBR as an entity which

13    necessarily includes KBR's employees?        So now he's gone

14    from the specific of personnel to the entity.

15                And he says I wouldn't call anything I did

16    supervision.      I would call it -- I wouldn't categorize it

17    that way.    No.

18                I thought it was important for Your Honor to see

19    the video of Augusta Fehn because she explained exactly

20    how the contract management process worked in theater.

21    She was there in 2009.      The LOGCAP had been going on for

22    quite a while and she was clear that the LOGCAP III was a

23    performance-based contract.       The government control over

24    contractors is based in contract and based in DCMA

25    management.       It's not commander authority.    In order to be




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1     legal, any contract administration must come through the

2     DCMA side of the military, Your Honor.

3                 No one except the ACO, so CORs, mayors can

4     expressly direct a contractor to do anything.         I read Your

5     Honor the core regulations on Friday and you have that in

6     our brief as well.     The reason behind the policy

7     precluding combat commanders from telling contractors what

8     to do is to protect the public fisc.        The contract agency

9     is the one that is responsible for answering where the

10    dollars go and what was done.       It's important that the

11    system is -- has integrity, that the system has

12    accountability and that's the reason that the military has

13    one clear chain of command for contracting issues.          And

14    they understand that they are to exercise contract

15    management, not to convert these people into soldier

16    equivalents and exercise command authority.         These are

17    contracting professionals.       They know how to manage a

18    contract.

19                One last point, Your Honor, in case you missed

20    it in her testimony.      She said on lines 132, 10 through 13

21    and 136, 6 through 11, specifically, KBR was not

22    integrated into the command structure of the military and

23    KBR was not part of the military or DCMA chain of command.

24                There's no way that KBR can prevail on their

25    combatant activities exception with those types of facts




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1     in this record.

2                 The contractor, she also spoke to the citing

3     issue, Your Honor.     We've told Your Honor that, yes, with

4     the operational military, you asked whether they have

5     control over a base and they do make certain decisions,

6     but they also rely on contractors, subject matter experts

7     to provide them with recommendations to let them know if

8     something is going on there is going to create a hazard.

9                 Mr. Walsh, I provided Your Honor with that

10    testimony on Friday.      He said absolutely that's something

11    they would be expected to do.       I'm not aware of them ever

12    doing that.    Ms. Fehn said look, I'm aware of them maybe

13    complaining about something like that.        We'd listen to

14    them and we'd accommodate them.       That's the testimony.

15                So a subject matter expert, somebody that's an

16    expert in their field knows the conditions, knows risks,

17    they are in a better position as Ms. Fehn explained

18    because the folks, the war fighters, there's not an MOS in

19    today's military, Your Honor, for municipal waste

20    management.    There is a broad function that our core of

21    engineers personnel could handle, but we don't have

22    enough.    We do rely on contractors, but we rely on them to

23    help out our other military and let them know if there is

24    something that they need to be aware of.

25                She's also very clear about how you dictate




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1     tasks.    The military does not give step by step direction

2     in these types of matters.       They don't put them under

3     their direct and plenary control.        Rather this is an end

4     product we want, go get it done.       You should know how.

5                 Even Commander Hersh, who I don't think it's any

6     accident, Your Honor, that KBR would probably be able to

7     identify the most gung-ho QAR in history and Mr. Hersch

8     gave some very spirited testimony here and I appreciate

9     that and I'm sure that they were well familiar with him

10    from his time there.

11                But he knew his role.     His role was not to give

12    KBR employees instruction, guidance or direct orders.           As

13    gung-ho as he was, he understood there's a contract

14    process.    It has to be respected.      We can't question that,

15    KBR can't question that and this court can't question that

16    because the integrity of the independent contractor status

17    of KBR in these functions was maintained.

18                He never saw anyone actually operating the burn

19    pit.   He only went out once a week.       There was a good

20    reason why he only went out once a week.         But the fact

21    remains, to suggest that these folks were under any type

22    of direct and plenary control when the only person out

23    there to monitor their performance never even sees anybody

24    doing the job is interesting.

25                And he admits that he never gave KBR the




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1     authority to ignore the hazardous waste procedures.           Nor

2     did he have the authority to do so.        He confirmed that

3     these military bases had HAZMAT areas and that's where

4     that type of waste was supposed to go.

5                 Mike Mayo, KBR's witness, he agrees that the

6     relationship between the military and KBR was defined by

7     the contract.     He agreed that military commanders did not

8     have the authority to bypass the process.         Everybody

9     understood there's a formal process.        KBR understood it.

10    The military understood it.       The court needs to respect

11    that that was the process.

12                He agrees that military commanders, members of

13    the supported unit and LOGCAP support officers did not

14    have the authority to direct KBR's work or give KBR

15    orders.

16                He agrees that the majority of KBR's work force

17    was subcontractors and that KBR, not the military, was

18    responsible for the supervision of those subcontractors

19    and the military could not issue orders to KBR

20    subcontractors.     And he does not, by the way, have any

21    specific recollection of any burn pits and never had the

22    issue of waste management come to his attention.          So if

23    you're giving a discriminating analysis, that's a fact to

24    consider.

25                Roger Singleton.     Another witness we heard from,




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1     another witness that agrees that KBR had to follow the

2     terms of the contract.      And conversely, KBR could not do

3     anything outside the scope of the contract.         That's KBR'S

4     witness.    He admits that the military wanted KBR to

5     perform a new task.      They had to go through the

6     established LOGCAP process.

7                 You keep seeing the same testimony again and

8     again.    There's more examples of it in our brief, Your

9     Honor.    But even from the record you just heard in court

10    this week or last week, excuse me, you can see that

11    there's no hidden command authority going on here.          In

12    these tasks, on a day-to-day basis, across bases, across

13    two countries, KBR was managed as an independent

14    contractor unless urgent needs like convoys, like discreet

15    emergent conditions required the military to step in and

16    take a more active role for a limited duration.          That

17    happened.    But it didn't happen regularly and it

18    doesn't -- the fact that KBR traveled, Your Honor, there's

19    been a lot of testimony about convoys and the fact that at

20    times that KBR was under plenary control doesn't mean that

21    at all times they were under plenary control.         You have to

22    give it the discriminating analysis.

23                He agrees that KBR was responsible for assuring

24    that their own performance was in compliance with the

25    contracts.    He agreed that neither the supported -- I




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1     already read that.     He agreed that there were no military

2     personnel working with KBR in the burn pits.         This isn't

3     Saleh.    He agrees that no military commanders or military

4     security forces gave any instruction to KBR employees in

5     the burn pit as to how to do their job.

6                 Your Honor, I understand that Your Honor has

7     some reticence about this case.       I understand that you

8     think that the plaintiffs aren't allowed to go forward at

9     this juncture.     Based on your questions, I think that's

10    the way that the court is leaning.

11                THE COURT:    Don't assume anything from my

12    questions.

13                MR. LEDLIE:    Okay.   Well, Your Honor, I'm glad

14    to hear that because the operative law in this case only

15    gives the type of immunity that we're talking about or the

16    lack of justiciability for political question in a very,

17    very narrow context and the facts here just don't match

18    that.    And combatant activities exception once again is

19    KBR's burden and the facts here suggest that they are

20    nowhere close to meeting it.

21                Mr. Robbins' testimony is quite clear that the

22    military was not commanding him nor regularly a presence

23    in his tenure at the burn pit.

24                Once again, if you're looking at combatant

25    activities exception, Your Honor, this is the picture.




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1     You could pencil in a QAR coming by every once in a while

2     doing contract management, a contract officer maybe coming

3     by, a COR.    But this is not -- that's not them taking

4     control of that burn pit and making that a military

5     command.    That's them managing a contract and in the case

6     of the CORs and the mayors, it's really them just

7     surveilling it.     If they actually wanted to change

8     anything, they, too, had to go back to the contract

9     officer and the contract management process, Your Honor.

10    I think I've made my point.

11                On combatant activities exception, Your Honor,

12    before we get to the summary slides here, does Your Honor

13    have any questions about the operations of KBR, the

14    interaction between military command structures and KBR

15    command structures, anything that I can -- any questions

16    that the court has that I can address?

17                THE COURT:    No.   I think the record is pretty

18    well developed on that.

19                MR. LEDLIE:    Thank you, Your Honor.

20                THE COURT:    Thank you.

21                MR. LEDLIE:    So I know that the court has

22    indicated that he will not be ruling from the bench --

23                THE COURT:    You got that one right.

24                MR. LEDLIE:    And as a result, Your Honor, I

25    wanted to help direct the court to some areas that may




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1     address certain topics that the court may be looking at

2     that demonstrate that KBR was not under either the plenary

3     or direct control of the military nor were they integrated

4     into a combatant activity waste management or water

5     services that the military retained command authority

6     over.

7                 And some of the subpoints, Your Honor, is that

8     KBR was a private company and not part of any military

9     command.    Paragraphs 1, 6 and 32 of our brief, Your Honor,

10    would be instructive on that point.

11                KBR was hired to be a force multiplier and in

12    that hiring was expected to free the military from the

13    need to be jointly operating those operations.          Paragraph

14    3.   It would be managed through a contract, but they would

15    not be cooperating.

16                KBR was hired for its subject matter expertise.

17    They were experts in the field and should know how to meet

18    the performance standards.       Paragraph 9.

19                KBR at all times relative to this suit with

20    respect to waste and water was working under a

21    performance-based contract, Your Honor, as opposed to some

22    other arrangement like personal services.         Paragraph 8.

23                KBR was expected to be self-sufficient.

24    Paragraph 4.

25                KBR was at all times an independent contractor




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1     in the performance of their waste and water duties.

2     Paragraph 12.     Also paragraph 12, operational control over

3     its task services, Your Honor.

4                 KBR had exclusive supervisory authority and

5     responsibility over its employees and subcontractors.

6     Paragraph 13, Your Honor.

7                 KBR was responsible for ensuring its performance

8     complied with the contract.       Paragraph 16, Your Honor.

9                 KBR performed its work independent of the

10    military.    Paragraphs 13, 32, 33, 60 and 61, Your Honor.

11                KBR could decline work.      Paragraph 11.

12                KBR employees maintained separate offices and

13    housing on bases.     Paragraph 15, Your Honor.

14                KBR had its own management structure.        That's

15    among other places at paragraph 15.

16                KBR was not in the military chain of command.

17    Paragraphs 20, 27 and 28, Your Honor.

18                KBR was not directed or overseen by the combat

19    command, the operational arm of the military.         Paragraphs

20    19, 27, 28, 30 and 43, Your Honor.

21                KBR was not in the DCMA chain of command.

22    Paragraph 29.

23                And KBR only took direction from the contract

24    documents, from the contract officers and ACOs under the

25    standard operating procedure under established contracting




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1     law.   Paragraphs 19, 22, 26, 46 through 57 and 59, Your

2     Honor.

3                 That's a bit of a roadmap to some of the

4     evidence which plaintiffs believe should guide you in your

5     determination of the issues in this case.

6                 I would point out, Your Honor, one other point.

7     There's been a suggestion that things like recycling

8     weren't ever possible in Iraq.       But you heard the

9     testimony from Mr. Postlewaite that when he was over

10    there, there was recycling programs at places.          Composting

11    programs were employed early on.

12                I'd also show you, Your Honor, a document from

13    our brief.    6017.   We'll do the cover page and then --

14    Your Honor, this is a KBR Department of Logistics Document

15    15 January 2005.      Your Honor may remember it.     You know,

16    of course, we did do discovery on Balad.         This was one of

17    the Balad documents, Your Honor.       I can just read it to

18    Your Honor.    It's page 41 of Exhibit 6017, Your Honor.

19    And among other things, it notes that in 2005, KBR was in

20    the stages of construction of a compacting baling of metal

21    for disposal.     You also heard testimony from other

22    witnesses about KBR separating out metal from the waste.

23    But also a composting and bio-remediation program for food

24    waste, Your Honor.     This was feasible in the early stages

25    of the war and it was not employed and it should have been




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1     under the contract.

2                 My colleague, Mr. Baker, has pointed out rightly

3     that I haven't addressed Your Honor's water claims

4     question.    Mr. Baker is more of the water expert than I.

5     Would you like to -- I'll handle it, Your Honor.

6                 I believe we've covered this at length in our

7     brief.    The water claims, there's no evidence of plenary

8     control.    No evidence of integration.      Your Honor has the

9     slide where we give you --

10                THE COURT:    That's 54.    I'm looking at it.

11                MR. LEDLIE:    Is it 54, Gina?

12                THE COURT:    I think it's 54.    I've got it right

13    in front of me.     Thank you.

14                MR. LEDLIE:    Okay, Your Honor.     We would

15    basically say, Your Honor, one of the things that you need

16    to look at in the water claim is while it does set a

17    performance standard just like in waste, that KBR was --

18    had the responsibility for testing and ensuring the

19    quality of the water it received.        That was KBR's direct

20    responsibility.

21                The military did do some QA/QC.       Water is

22    extremely important in theater.        So they certainly did do

23    some testing on that.      But not all the water was tested by

24    the military.     In fact, KBR had the responsibility for

25    testing and ensuring the quality of the water it




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1     delivered.    Any preventative maintenance oversight was

2     limited to their -- to the end product, the deliverable,

3     not the process.

4                 And there has been noted as Exhibit 114 an army

5     I.G. report that found that KBR was not living up to their

6     contractual obligations.      There's no evidence that KBR was

7     ever directed or authorized to violate the performance

8     standards with respect to water services, Your Honor.

9                 THE COURT:    Was KBR responsible for the -- I

10    think I heard the witness correctly -- the reverse osmosis

11    canteens?

12                MR. LEDLIE:    The reverse osmosis purification.

13    ROWPUs.    Basically, yes.    They would treat water, Your

14    Honor, at certain bases at certain times.         And just as

15    with the burn pits, they didn't do all the water at all

16    bases.    There weren't issues with all water at all bases.

17    But there were several documented incidents where there

18    was a problem and KBR was --

19                THE COURT:    If I understood the testimony

20    correctly, the reverse osmosis water was not a popular

21    type of water among the soldiers and that's why we ended

22    up with a billion water bottles.

23                MR. LEDLIE:    I did hear General Sanchez relate

24    that story.    I believe that as time went on, Your Honor,

25    there actually came a time that they were treating the




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1     water and then bottling it in country.        So I think as in

2     all things in this case, you have to look at the direct

3     circumstances of the bases over time and it's not a

4     one-size-fits-all solution.        But I do think that we heard

5     that testimony, Your Honor.

6                 THE COURT:    Okay.

7                 MR. LEDLIE:    If I could have a minute, Your

8     Honor, to confer with colleague?

9                 THE COURT:    Yes.

10                (Pause.)

11                MR. LEDLIE:    There's also apparently with

12    respect to the water claim in our brief, Your Honor, a

13    D.O.D. report that also relates to that.         We'll certainly

14    identify that in our post-hearing briefing to Your Honor

15    to assist you --

16                THE COURT:    And you're going to give me some

17    extra slides that you didn't have?

18                MR. LEDLIE:    Yes.

19                THE COURT:    That's fine.    That's fine.    Okay.

20                MR. LEDLIE:    Any questions that Your Honor has

21    for the plaintiffs?

22                THE COURT:    No.    I've tried not to be pesky

23    today.    I mean, look, both sides have done an exhaustive

24    thorough presentation of your respective positions and I

25    admire both sides for the comprehensive presentations.              So




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1     it's because they were so comprehensive that I have not

2     that many questions.

3                 MR. LEDLIE:    Understood, Your Honor.

4                 THE COURT:    You've loaded me up with a lot.        All

5     right.    Are you finished now?

6                 MR. LEDLIE:    Yes, Your Honor.

7                 THE COURT:    Okay.    What I'd like to do is --

8     does KBR want to have a brief rebuttal, very brief?          No.

9     Not now.    Just answer yes or no.

10                MR. MATTHEWS:    No.

11                THE COURT:    No.   Okay.   Well, if that's the

12    case -- because I was going to say if you wanted to have

13    ten minutes of rebuttal, I'd give it to you.         But we have

14    to take a break first.      But fine with me.

15                MR. MATTHEWS:    Your Honor, all I was going to

16    say was that we think there are a number of things that

17    we'd like to address and clarify, but we think that the

18    ten-page submission is sufficient.

19                THE COURT:    All right.    Or you could just give

20    them the famous answer of General Anthony McAuliffe when

21    asked to surrender at the battle of the bulge.          Nuts.

22                MR. MATTHEWS:    As tempting as that is --

23                MR. LEDLIE:    Plaintiffs adopt that, Your Honor.

24                MR. MATTHEWS:    I did, Your Honor, if I can -- if

25    you'll indulge me just to express on behalf of the KBR




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1     team here our appreciation for the extraordinary amount of

2     time and dedication that has been given to this matter.

3     The court's questions reflected an obvious comprehension

4     of the issues and the fact as we all -- all litigants

5     appreciate that the bench was paying attention and we very

6     much do appreciate that and --

7                 THE COURT:    As I said, don't assume anything

8     about my views from my questions.        I'm just trying --

9                 MR. MATTHEWS:    I don't.

10                THE COURT:    -- to get clarification about

11    things.    I think this is the last time you all are going

12    to be in front of me.      Am I correct?

13                MR. LEDLIE:    We hope not, Your Honor.

14                THE COURT:    Well, at least for a while.      No.      I

15    just wanted to say no MDL is a fun case that judges look

16    forward to and they're all very lengthy and complicated

17    and I've told them don't you ever send me one of these

18    cases again because not at my age do I want to take on a

19    new MDL.    Hopefully, I can survive and outlive this MDL.

20                But no.   It's been a pleasure to preside over

21    this case.    The lawyering has been extraordinary.        I

22    appreciate all that.      While I've said you weren't always

23    good in the sandbox, you've been very professional and

24    done a great job advocating for your clients.         So I really

25    appreciate it all.




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1                 MR. MATTHEWS:    Thank you, Your Honor.

2                 THE COURT:    And now I have to take this matter

3     under advisement.     I look forward to your brief memos.

4     Yes?

5                 MR. BAKER:    I apologize, Your Honor.      One final

6     housekeeping matter and this will take thirty seconds.              On

7     Friday, we handed up an exhibit list and a box of

8     documents.    We were doing some QC over the weekend and we

9     discovered that the box wasn't exactly correct.          So we've

10    culled back the box already.       We have a new box for the

11    clerk and we have a new list and a --

12                THE COURT:    Just make sure that KBR knows what

13    you're substituting.

14                MR. BAKER:    We have given KBR our exhibit list

15    and our --

16                THE COURT:    All right.   That's fine.     I assume

17    they would have been screaming if they didn't like what

18    you did.    All right.    Well, we now have the correct

19    exhibits and my law clerk and I have a lot of work to do

20    and so pray for us.

21                MR. LEDLIE:    One last point, Your Honor.      I do

22    owe you a couple of slides and we'll get them very

23    shortly.

24                THE COURT:    And I've not been up here getting

25    distracted taking copious notes because I'm getting the




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1     transcript of this.      So every single citation you've given

2     me I will have chiseled in granite that Ms Bankins will

3     give me when she gets to it.

4                 But again I appreciate very much your doing this

5     and we can get out of here before this place gets hit with

6     a blizzard.    All right.    Well, thank you very much,

7     counsel.

8                 (Proceedings concluded.)

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1                      CERTIFICATE OF REPORTER

2

3                 I, Lisa K. Bankins, an Official Court Reporter

4     for the United States District Court for the District of

5     Maryland, do hereby certify that I reported, by machine

6     shorthand, in my official capacity, the proceedings had

7     and testimony adduced upon the hearing in the case of the

8     In Re: KBR, Inc., Burn Pit Litigation, Civil Action Number

9     RWT-09-md-2083, in said court on the 13th day of March,

10    2017.

11                I further certify that the foregoing 198 pages

12    constitute the official transcript of said proceedings, as

13    taken from my machine shorthand notes, together with the

14    backup tape of said proceedings to the best of my ability.

15                In witness whereof, I have hereto subscribed my

16    name, this 16th day of March, 2017.

17

18

19                                       Lisa K. Bankins

20                                       Lisa K. Bankins
                                         Official Court Reporter
21

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